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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

     UBIQUITI NETWORKS, INC.,


                               Plaintiff,

                         v.
                                                         Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;
                                                         JURY TRIAL DEMANDED
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and DMITRY
     MOISEEV.

                               Defendants.


                                            COMPLAINT

       Plaintiff Ubiquiti Networks, Inc. (“Plaintiff” or “Ubiquiti”) brings this action against

Defendants Cambium Networks, Inc. (“Cambium”), Cambium Networks, Ltd. (“Cambium

Networks”), Blip Networks, LLC (“Blip”), Winncom Technologies, Inc. (“Winncom”), Sakid

Ahmed, and Dmitry Moiseev and hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is a Complaint for injunctive relief and damages based on Cambium’s

intentional, commercially motivated, unauthorized access, reverse engineering and hacking of

Ubiquiti’s M-series wireless devices and trafficking in hacked firmware that deletes, modifies, and

makes unauthorized copies of portions of the Ubiquiti firmware on the Ubiquiti M-series devices,

eliminates Ubiquiti copyright notices to conceal Cambium’s infringement, eliminates firmware

restrictions Ubiquiti put in place to ensure operation in conformity with Federal Communications

Commission (“FCC”) requirements and licenses, and circumvents access control measures on the
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Ubiquiti M-series devices, all in violation of the Computer Fraud and Abuse Act (“CFAA”), the

Digital Millennium Copyright Act (“DMCA”), the Illinois Computer Crime Prevention Law, the

Copyright Act, various state laws and the Ubiquiti firmware license agreements. Cambium’s

promotion and distribution of the hacked firmware as a product called Elevate (the “Hacked

Firmware”) is based on flagrant misrepresentations and false advertising in violation of the

Lanham Act and state competition laws, and tortiously interferes with Ubiquiti’s license

agreements with Ubiquiti customers and Ubiquiti’s prospective customers and business

relationships. Once hacked with the Hacked Firmware, Ubiquiti M-series devices thereafter

violate FCC rules and regulations and FCC licenses for the equipment.

       2.     The sale and marketing of the Hacked Firmware was carried out through an

elaborate scheme of mail and wire fraud involving material misrepresentations and omissions

regarding the nature of the Hacked Firmware, willful copyright infringement, and

misappropriation of Ubiquiti’s time, money, brand recognition, and good will established with

existing and prospective customers.     Cambium, Cambium Networks, Sakid Ahmed—Vice

President of Engineering at Cambium Networks, Dmitry Moiseev—Project Engineer at Cambium

Networks, and Winncom (collectively, the “Hacking Enterprise”) conspired together and with co-

conspirator Blip to defraud Ubiquiti customers and ensure financial gain in connection with

marketing, sale, distribution, and use of the Hacked Firmware.

                                          PARTIES

       3.     Plaintiff Ubiquiti is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 685 Third Avenue, 27th Floor, New York, New

York 10017.




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       4.      Defendant Cambium is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 3800 Golf Road, Suite 360, Rolling Meadows,

Illinois 60008.

       5.      Defendant Cambium Networks is a British limited liability company with its

principal place of business in England. Cambium Networks is the parent company of Cambium.

       6.      Defendant Blip is an Illinois limited liability company, with its principal place of

business at 6 Sharp Rock Road, Ava, Illinois 62907-2528.

       7.      Defendant Winncom is an Ohio corporation, with its principal place of business at

28900 Fountain Parkway # B, Solon, Ohio 44139-4383.

       8.      Defendant Sakid Ahmed is the Vice President of Engineering at Cambium

Networks and a resident of Chicago, Illinois.

       9.      Defendant Dmitry Moiseev is a Project Engineer at Cambium Networks and a

resident of Hoffman Estates, Illinois.

                                 JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over Ubiquiti’s claims arising under the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030, et seq., the claims arising under the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. (“RICO”), the Lanham Act,

15 U.S.C. § 1125 et seq., and the Copyright Act, 17 U.S.C. § 101 et seq. pursuant to this Court’s

federal question jurisdiction under 28 U.S.C. § 1331. This Court also has supplemental jurisdiction

over all other claims asserted herein pursuant to 28 U.S.C. § 1367 because those claims are so

related to the claims brought under the federal statutes so as to form part of the same case or

controversy.

       11.     This Court has personal jurisdiction over Defendant Cambium. Cambium is

registered to do business in the State of Illinois and has a regular and established place of business


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in Illinois and this District at 3800 Golf Road, Suite 360, Rolling Meadows, Illinois 60008, and is

and has been doing business in Illinois and this District at all times relevant hereto.

       12.     This Court has personal jurisdiction over Defendants Sakid Ahmed and Dmitry

Moiseev, Illinois residents who live, work, are employed, and carried out acts described herein

within the Northern District of Illinois.

       13.     This Court has personal jurisdiction over Defendants because directly or through

intermediaries, they have committed acts within or directed at Illinois, causing harm herein and

giving rise to this action, and/or have established minimum contacts with Illinois such that the

exercise of jurisdiction would not offend traditional notions of fair play and substantial justice.

       14.     Venue is proper in this Court because Defendants Cambium, Ahmed, Moiseev, and

Blip reside or may be found in this District. See 28 U.S.C. §§ 1391(b) & (c).

       15.     Venue is also proper because a substantial part of the events and omissions giving

rise to the instant action occurred within this District. Unlawful and improper conduct including

the violations of the CFAA, copyright infringement, and fraudulent mailing and interstate wire

communications have occurred and originated within this District.

       16.     Venue is also proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391 because

Defendants are subject to personal jurisdiction in this District.

                                   FACTUAL ALLEGATIONS

                                     Ubiquiti and Its Products

       17.     Founded in June 2005, Ubiquiti is a next generation communications technology

company that designs and develops, among other things, proprietary wireless networking

technologies. Ubiquiti’s products and solutions have bridged the digital divide between rural and

urban markets by fundamentally changing the economics of deploying high performance

networking solutions in underserved and underpenetrated markets globally. Ubiquiti’s technology


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platforms focus on delivering industry-leading performance, compelling price-performing

characteristics and an unparalleled user experience. Ubiquiti has reduced high product and

network deployment costs and other business model inefficiencies to enable rapid market adoption

of its products and solutions in rural and emerging markets.

       18.     Ubiquiti has expended considerable time and resources to advertise and promote its

products and brand throughout the world. In addition to traditional advertising, Ubiquiti hosts a

Ubiquiti Network Community Forum for users of Ubiquiti products who spread information about

the products by word of mouth.

       19.     Over the last eight years, Ubiquiti has spent over 500 million dollars investing in

its proprietary products, developing its distribution network, and creating goodwill in the

marketplace.

       20.     Ubiquiti has received substantial unsolicited accolades and press for its successful

broadband product line. In 2007, Ubiquiti received significant attention when a group of Italian

amateur radio operators set a distance world record for point-to-point links in the 5.8 GHz spectrum

using Ubiquiti cards and antennas. Ubiquiti received the Wireless Internet Service Providers

Association (“WISPA”) Manufacturer of the Year awards in 2010, 2011, 2014, and 2016.

                                   Ubiquiti M-Series Devices

       21.     Ubiquiti’s extensive broadband product line includes Ubiquiti’s M-series devices:

the NanoStation M, NanoStation Loco M (collectively, “NanoStations”), which are wireless

“customer premises equipment” that permit outdoor throughput; the NanoBridge M-series, the

NanoBeam M-series and the PowerBeam M-series, which are all wireless bridges that wirelessly

rebroadcast packets received; and the AirGrid M-series and the Rocket M-series. The AirGrid M

is a broadband wireless device that combines antenna and radio using Ubiquiti’s proprietary




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Innerfeed technology. The Rocket M is a radio device with enhanced receivers that delivers

broadband connectivity through interchangeable antennas.

         22.     Ubiquiti launched AirMAX® and its M-series product line in 2009. AirMAX

incorporates proprietary radio frequency (RF) technology, antenna design, and firmware, which

simplify adoption and use of base stations, back haul equipment, and customer premises equipment

(CPE).

                               Ubiquiti M-Series Device Firmware

         23.     All Ubiquiti AirMAX® products run on Ubiquiti’s proprietary airOS® operating

system embodied in Ubiquiti’s firmware, and under Ubiquiti’s proprietary AirMAX® protocol.

The AirMAX® logo is present on the packaging of all Ubiquiti AirMAX® products. The airOS®

logo appears on screen when a user logs in to the web interface for Ubiquiti M-series devices using

the Ubiquiti username and password.

         24.     The user interface for a M-series device provides a path for upgrading the device

firmware. The Ubiquiti user interface is accessed at a designated IP address using a web browser.

On the first access to the user interface, the Ubiquiti customer is presented with the “Terms of

Use” and the “Ubiquiti Firmware User License Agreement.”

         25.     The unsigned versions of the Ubiquiti firmware include checks for determining

whether a firmware upgrade is compatible. Firmware that does not pass the checks is rejected and

not installed.

         26.     Ubiquiti introduced a “signed” version of the airOS® firmware for M-series

devices in 2017, including airOS firmware versions 5.6.15 and 6.0.3. The signed versions also

allow upgrading, but a more robust signature verification performed by the boot loader verifies

new firmware. Users may upgrade with a newer version of Ubiquiti firmware by downloading

and installing the newer version.


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                       Ubiquiti Product Packaging, Labeling, and Branding

       27.        All Ubiquiti AirMAX® product packaging for M-series devices is labeled with

Ubiquiti’s name and corporate address, Ubiquiti’s domain name (www.ubnt.com), the

UBIQUITI® trademark and Ubiquiti logo, and the AirMAX® trademark. Each Ubiquiti M-series

product is also branded with a trademark associated with that M-series device.

       28.        Ubiquiti owns registered trademarks used in branding the Ubiquiti M-series

products, including:      UBIQUITI® - Reg. No. 4,524,111; NANOSTATION® - Reg. No.

4,323,172; NANOBRIDGE® - Reg. No. 4,319,934; NANOBEAM® - Reg. No. 4,519,296;

ROCKET® - Reg. No. 4558,159.

       29.        Ubiquiti owns common law trademarks in other marks used to brand Ubiquiti M-

series devices.

       30.        Ubiquiti owns U.S. Copyright No. TXu001795146 for Ubiquiti firmware airOS

version 5.2.1 and U.S. Copyright No. TXu001795146 for Ubiquiti firmware airOS version 5.3.

See Exhibit A.

       31.        Ubiquiti also marks products with a unique identifying code called a Media Access

Control ID (“MAC ID”). The product packaging and the product labels also contain a unique FCC

Identification number approved by the FCC, SWX-M2, which can be used to find information

about the manufacturer and the product, including approved frequency ranges, via the FCC

website. The packaging and the labels also have the European Union “CE” mark, certifying

compliance with European Union safety, health, and environmental protection requirements.

       32.        In general, Ubiquiti designs and develops each of its products in-house, and uses

contract manufacturers to manufacture the products according to Ubiquiti’s proprietary designs.

Ubiquiti has stringent standards that contract manufacturers are required to meet, and closely




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monitors the quality of products that they produce to assure that they meet Ubiquiti’s high quality

standards.

       33.     Consumers have come to associate the Ubiquiti brand with its high quality

standards and cutting-edge technologies. This is the result of Ubiquiti’s extensive investment of

time, money, and resources into establishing consumer goodwill and brand recognition.

       34.     Ubiquiti uses a worldwide network of distributors to market and distribute its

products. Ubiquiti’s products are currently offered in the United States and in over 65 other

countries.

       35.     Ubiquiti primarily sells its M-series devices to wireless Internet service providers

(WISPs). WISPs purchase and deploy Ubiquiti M-series products and Ubiquiti access points with

which the Ubiquiti M-series products communicate over medium to long range distances to build

out wireless broadband networks that span wide geographic areas.

       36.     The Ubiquiti M-series devices are designed to be affixed by a WISP to structures,

such as a building, to establish fixed wireless networks. The Ubiquiti AirMAX® radio protocol

is used for wireless communications between Ubiquiti devices.

               The Ubiquiti Firmware License Agreements For Its M-Series Products

       37.     Ubiquiti M-series devices include a user interface for Ubiquiti customers to

configure Ubiquiti M-series devices. The user interface is accessed at a designated IP address

using a web browser. On the first access, the Ubiquiti customer is presented with the “Terms of

Use” and the “Ubiquiti Firmware User License Agreement” as shown below:




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The Ubiquiti customer is required to agree to both the Terms of Use and the Ubiquiti Firmware

License Agreement, via a checkbox. See Terms of Use and the Ubiquiti Firmware License

Agreement (Exhibit B).

       38.     The Ubiquiti Firmware License Agreement requires users to agree to its terms prior

to using Ubiquiti firmware and provides in pertinent part:

               This License Agreement strictly prohibits You from using the
               Ubiquiti Firmware on any device other than a Ubiquiti Device.
               You are also prohibited from removing or modifying any Ubiquiti
               copyright notice, trademark or user interface of the Ubiquiti
               Firmware or any Ubiquiti Device.

               The Ubiquiti Firmware is copyright-protected material under
               United States and international copyright and other applicable


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               laws. Unauthorized copying, use or modification of ANY PART of
               this firmware, or violation of the terms of this Agreement, will be
               prosecuted under the law.

               NOTICE
               This is an agreement between You and Ubiquiti Networks, Inc.
               (“Ubiquiti”). YOU MUST READ AND AGREE TO THE
               TERMS OF THIS FIRMWARE LICENSE AGREEMENT
               (“AGREEMENT”) BEFORE ANY UBIQUITI FIRMWARE CAN
               BE DOWNLOADED OR INSTALLED OR USED. BY
               CLICKING ON THE “ACCEPT” BUTTON OF THIS
               AGREEMENT, OR DOWNLOADING UBIQUITI FIRMWARE,
               OR INSTALLING UBIQUITI FIRMWARE, OR USING
               UBIQUITI FIRMWARE, YOU ARE AGREEING TO BE
               BOUND BY THE TERMS AND CONDITIONS OF THIS
               AGREEMENT. IF YOU DO NOT AGREE WITH THE TERMS
               AND CONDITIONS OF THIS AGREEMENT, THEN YOU
               SHOULD EXIT THIS PAGE AND NOT DOWNLOAD OR
               INSTALL OR USE ANY UBIQUITI FIRMWARE. BY DOING
               SO YOU FOREGO ANY IMPLIED OR STATED RIGHTS TO
               DOWNLOAD OR INSTALL OR USE UBIQUITI FIRMWARE.

       39.     The Ubiquiti Firmware License Agreement prohibits, among other things: copying,

modifying or reverse engineering the firmware; removing or modifying copyright notices or user

interfaces on Ubiquiti devices; and circumventing any software protection mechanisms, including

any mechanism used to restrict or control the functionality of the Ubiquiti firmware. The Ubiquiti

Firmware License Agreement provides in pertinent part:

               a. You may not, and shall not permit others to: . . .

               e. copy the Ubiquiti Firmware (except as expressly permitted
               above), or copy the accompanying documentation;

               f. modify, translate, reverse engineer, decompile, disassemble or
               otherwise attempt (i) to defeat, avoid, bypass, remove, deactivate,
               or otherwise circumvent any software protection mechanisms in
               the Ubiquiti Firmware, including without limitation any such
               mechanism used to restrict or control the functionality of the
               Ubiquiti Firmware, or (ii) to derive the source code or the
               underlying ideas, algorithms, structure or organization from the
               Ubiquiti Firmware (except that the foregoing limitation does not
               apply to the extent that such activities may not be prohibited under
               applicable law); or


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               g. distribute, rent, transfer or grant any rights in the Ubiquiti
               Firmware or modifications thereof or accompanying
               documentation in any form to any person without the prior written
               consent of Ubiquiti;

               h. remove any Ubiquiti copyright notice or Ubiquiti branding from
               the Ubiquiti Firmware or modify any user interface of the Ubiquiti
               Firmware or Ubiquiti Device.

       40.     The Ubiquiti Firmware License Agreement provides for automatic termination in

the event that the user violates the Firmware License Agreement, stating in pertinent part:

               Unauthorized copying of the Ubiquiti Firmware or failure to
               comply with the above restrictions will result in automatic
               termination of this Agreement and will make available to Ubiquiti
               other legal remedies. . . . Upon termination of this license for any
               reason You will destroy all copies of the Ubiquiti Firmware. Any
               use of the Ubiquiti Firmware after termination is unlawful.

       41.     Ubiquiti allows its customers to download Ubiquiti firmware updates for use on

Ubiquiti M-series devices from the Ubiquiti website, by first agreeing to the terms of an End User

License Agreement (EULA). See EULA (Exhibit C).

       42.     The EULA applicable to any Ubiquiti firmware downloaded from the Ubiquiti

website, like the Firmware License Agreement, also prohibits removing or modifying copyright

notices or user interfaces on Ubiquiti devices, and prohibits unauthorized copying, modification

or removal of any part of the Ubiquiti firmware. The EULA also prohibits reverse engineering

and circumventing any software protection mechanisms, including any mechanism used to restrict

or control the functionality of the Ubiquiti firmware. Violations of the EULA result in automatic

termination of the EULA. Ubiquiti’s Terms of Use, Firmware License Agreement, and EULA

applicable to Ubiquiti firmware are collectively referred to as Ubiquiti’s “Firmware License

Agreements.”




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Cambium’s Creation of Hacked Firmware Targeting Ubiquiti M-Series Devices, Hacking,
                          Unlawful Conduct, and Fraud

       43.     On information and belief, prior to November 30, 2016, Cambium acquired one or

more Ubiquiti M-series wireless devices and at least one version of Ubiquiti’s Air/OS firmware

for the unauthorized purposes of reverse engineering the Ubiquiti firmware for M-series devices,

accessing proprietary Ubiquiti information embedded in the firmware, copying portions of the

firmware, modifying the firmware and user interfaces and developing and trafficking in Hacked

Firmware targeting Ubiquiti M-series devices, and capitalizing on Ubiquiti’s product development

investment and customer goodwill. The Hacked Firmware does all of the following without

authorization and in violation of Ubiquiti firmware license agreements:

       44.     The Hacked Firmware deletes portions of the Ubiquiti firmware and Ubiquiti user

interfaces from Ubiquiti M-series devices.

       45.     The Hacked Firmware selectively modifies and copies portions of Ubiquiti

firmware.

       46.     The Hacked Firmware makes unauthorized access to portions of the firmware that

remain on Ubiquiti M-series devices after the hack.

       47.     The Hacked Firmware replaces the original radio software on Ubiquiti M-series

devices with different, unauthorized radio software that causes the devices to stop operating in

conformity with FCC requirements and equipment authorizations.

       48.     The Hacked Firmware circumvents access control measures on M-series devices.

       49.     On information and belief, Cambium reverse engineered the Ubiquiti firmware

stored on M-series devices, in order to study the structure and proprietary aspects of the Ubiquiti

firmware to create Hacked Firmware capable of circumventing Ubiquiti’s access control

mechanisms, including mechanisms used to verify firmware as permissible on M-series devices.



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       50.     The Hacked Firmware removes proprietary Ubiquiti notices on Ubiquiti M-series

devices.

       51.     The Hacked Firmware changes the user interfaces for M-series devices and makes

unauthorized use of Ubiquiti trademarks in the user interfaces.

       52.     The Hacked Firmware renders the Ubiquiti M-series devices incapable of

communicating with other Ubiquiti access points using Ubiquiti’s radio software and instead

causes the hacked Ubiquiti M-series devices only to communicate with Cambium access points.

       53.     Cambium instructs Ubiquiti licensees and customers to download the Hacked

Firmware, open the Ubiquiti user interface on Ubiquiti M-series devices used for configuration,

and to install the Hacked Firmware on M-series devices in violation of Ubiquiti firmware license

agreements.

       54.     Cambium directs Ubiquiti’s licensees using Ubiquiti M-series products to install

the Hacked Firmware on Ubiquiti M-series products by following the ePMP Elevate Quick Start

Guide (Exhibit D), excerpted below, as well as by following an online video:




Figure 1 – Elevate firmware update instructions from ePMP Elevate Quick Start Guide v3.2 (p. 5)

(Ex. D)




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       55.     Cambium formats the Hacked Firmware to be accepted by Ubiquiti’s firmware

update process and to hack M-series devices and the installed firmware in violation of Ubiquiti’s

Firmware License Agreements.        Incorrectly formatted firmware is rejected by the Ubiquiti

firmware.

       56.     After a Ubiquiti M-series device is hacked with the Hacked Firmware, the device’s

entire Ubiquiti user interface is replaced with a Cambium User Interface. This violates the Ubiquiti

Firmware License Agreement.

       57.     Most Ubiquiti trademarks and logos are removed in the hacked User Interface

However, Cambium still uses the M-series device trademarks, such as NANOSTATION®, within

the hacked User Interface when a NanoStation M5 device has been taken over by the Hacked

Firmware.

       58.     Each page of the Ubiquiti User Interface contains a Ubiquiti copyright notice.

Cambium’s replacement User Interface removes these notices and instead contains only

Cambium Networks copyright notices. The removal of the Ubiquiti copyright notice is a

violation of the Ubiquiti Firmware License Agreements.

       59.     Cambium’s installation of the Hacked Firmware on Ubiquiti M-series devices, and

such installation on M-series devices by others at Cambium’s urging, is a violation of FCC rules.

       60.     Installation of the Hacked Firmware on Ubiquiti M-series devices modifies the

Ubiquiti firmware and causes the Ubiquiti M-series devices to transmit with characteristics that

are not allowed by the FCC equipment authorization and FCC rules, or the original Ubiquiti

firmware, in violation of the Ubiquiti Firmware License Agreement.

       61.     Cambium admits that its firmware exceeds the original transmission thresholds:

               Known problems or limitations (System Release 3.4)

               Tracking Description / Workaround


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                ...

                14458 [ePMP Elevate 2.4, XM] Cambium Elevate operating Tx
                Power exceeds original nonCambium software-configured Tx
                Power by 1.5 – 3 dBm”

See Cambium Release Notes v. 3.5.1 (Exhibit E)

             Cambium’s Unlawful Promotion and Distribution of Hacked Firmware

       62.      In selling the Hacked Firmware, Cambium misleads and induces customers to make

two significant modifications to two separate Ubiquiti products: (1) the Ubiquiti Firmware and

(2) the Ubiquiti M-Series devices. See generally Exhibit F (Transcription of Portions of November

30, 2016 ePMP Elevate Webinar).

       63.      Cambium describes the Hacked Firmware, which it refers to as ePMP Elevate, as

“an innovative software solution” that allows customers to “increase performance without

replacing       installed     hardware.”            (Exhibit      G)      (emphasis      added),

https://www.cambiumnetworks.com/products/access/epmp-elevate/.

       64.      According to Cambium, the ePMP Elevate software is intended to allow fixed

wireless broadband networks to gain capabilities of the Cambium Networks’ ePMP platform

including frequency reuse enabled by GPS Synchronization and Smart Beamforming.

       65.      As a commercial benefit and cost savings, Cambium promotes the Hacked

Firmware as a means to use the existing infrastructure licensed by other companies. The ePMP™

Elevate software product is designed to be used “even on non-Cambium Networks 802.11n-based

hardware.” (Exhibit H). According to Cambium, “Saving the cost and time of a total network

replacement, an operator simply installs an ePMP Access Point and loads ePMP Elevate software

onto their deployed subscriber modules.” (Ex. G).

       66.      As material omissions, Cambium fails to tell customers that the use of the Hacked

Firmware makes modifications to M-series devices and Ubiquiti firmware that violates Ubiquiti


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firmware license agreements, violates FCC requirements and rules, and violates Ubiquiti’s

intellectual property rights.

        67.     The Ubiquiti Firmware is modified—portions remain, portions are modified,

portions are removed and portions are copied—when the Cambium Hacked Firmware is installed.

        68.     Cambium officials highlight that the Hacked Firmware modifies the Ubiquiti M-

series devices and firmware, and they promote the modification as a commercial benefit. For

example, in the ePMP Portfolio Overview (Exhibit I), Cambium’s promotional literature notes that

the ePMP Elevate software product can “leverage an existing 802.11-based installed network and

add synchronization without the cost of replacing the entire network.” (Ex. I, Page 7). The

Ubiquiti® XW/XM (including the trademark) is also listed as a supported product. (Id.).

        69.     Exhibit J shows a comparison between the user interface for the Ubiquiti

PowerBeam M series product taken from the AirOS user guide and the user interface for an

“Elevated” Ubiquiti product. The Ubiquiti user interface has a copyright notice on the bottom and

features “Genuine Product” along with trademarks for the product name, AirOS and a design. The

Cambium user interface eliminates the Ubiquiti copyright notice and replaces it with a Cambium

copyright notice. It also makes unauthorized use of the Ubiquiti product name, in this instance the

NanoBeam M5.

        70.     On or about November 30, 2016, Cambium began publicly promoting the Hacked

Firmware under the name “Elevate” and “ePMP Elevate” for large scale distribution through a

webinar, its website, and other avenues.

        71.     Cambium has continued to heavily promote the Hacked Firmware in the United

States and throughout the world with additional webinars directed at WISPs, and marketing and

distribution of literature and web pages through third party distributors, including distributors used




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by both Cambium and Ubiquiti. Cambium has marketed the Hacked Firmware at industry

conferences attended by WISPs, Cambium, and Ubiquiti and through live educational seminars

directed at distributors and WISPs and demonstrating hacking Ubiquiti M-series devices using the

Hacked Firmware.

                           Summary of Cambium’s Illicit Conduct

       72.     Cambium’s development, promotion and distribution of the Hacked Firmware

violates the Ubiquiti Firmware License Agreements. Through Cambium’s widespread promotion

and distribution of the Hacked Firmware, Cambium willfully, and with full knowledge of

Ubiquiti’s proprietary rights, induces third parties, including Ubiquiti customers, to violate the

Ubiquiti Firmware License Agreements and to violate Ubiquiti’s copyrights and misappropriate

Ubiquiti’s proprietary information embedded in the firmware by installing and using Hacked

Firmware on Ubiquiti M-series devices.

       73.     The Hacked Firmware, when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device, makes unauthorized copies of and modifies the

configuration portion of Ubiquiti’s firmware present on Ubiquiti M-series devices in violation of

the Ubiquiti Firmware License Agreements.

       74.     The Hacked Firmware, when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device, deletes the Ubiquiti kernel, including Ubiquiti

radio control software, and the AIRMAX® technology platform on Ubiquiti M-series devices, in

violation of the Ubiquiti Firmware License Agreements.

       75.     The Hacked Firmware, when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device, deletes the Ubiquiti file system software on

Ubiquiti M-series devices in violation of the Ubiquiti Firmware License Agreements.




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        76.    As described herein, the Hacked Firmware preserves other portions of the Ubiquiti

firmware present on M-series devices and makes unauthorized use of the Ubiquiti firmware after

the Hacked Firmware is installed and running on Ubiquiti M-series devices.

        77.    The Hacked Firmware, when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device, preserves and makes unauthorized use of

Ubiquiti’s binary, proprietary calibration portion of the firmware present on the Ubiquiti M-series

devices in violation of the Ubiquiti Firmware License Agreements.

        78.    As described herein, the Hacked Firmware, when installed by Cambium, a

Cambium distributor or a Ubiquiti customer on a Ubiquiti M-series device, deletes and replaces

the user interfaces on Ubiquiti M-series devices with a completely different, hacked user interface

in violation of the Ubiquiti Firmware License Agreements.

        79.    The Hacked Firmware when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device eliminates all Ubiquiti copyright notices from the

user interface on M-series devices, in violation of the Ubiquiti Firmware License Agreements.

        80.    The Hacked Firmware when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device replaces Ubiquiti copyright notices in a hacked

user interface on M-series devices with Cambium copyright notices, notwithstanding the presence

of Ubiquiti firmware on the hacked device.

        81.    The Hacked Firmware when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device includes Ubiquiti trademarks in the hacked user

interface.

        82.    The Hacked Firmware, when installed by Cambium, a Cambium distributor or a

Ubiquiti customer on a Ubiquiti M-series device, completely replaces the radio software and




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thereafter permits the entry of radio transmission values through the hacked user interface that

exceed radio restrictions implemented on the M-series devices and defeats Ubiquiti radio controls

all in violation of the Ubiquiti Firmware License Agreement and FCC Rules and Regulations.

       83.     Cambium intentionally misleads and induces distributors and Ubiquiti customers

to willfully and intentionally breach Ubiquiti’s copyrights in its firmware by making unauthorized

copies of copyrighted portions of Ubiquiti’s firmware and by copying, installing or re-installing

copies Ubiquiti’s copyrighted firmware on M-series devices without authorization for the sole

purpose of facilitating the hacking of Ubiquiti M-series devices by installing or reinstalling the

Hacked Firmware.

       84.     Cambium’s Hacked Firmware is a product of unauthorized reverse engineering of

the Ubiquiti firmware stored on M-series devices and incorporates features capable of

circumventing Ubiquiti’s access control mechanisms, including mechanisms used to verify

firmware as permissible on M-series devices.

       85.     The Hacked Firmware includes replacement radio software that changes the radio

of M-series devices such that operation of the modified devices is impermissible under the FCC’s

Rules and Regulations.

       86.     Cambium traffics in Hacked Firmware that it directs distributors and Ubiquiti

customers to install on Ubiquiti M-series devices to circumvent the access control protection

mechanisms of the Ubiquiti firmware. This allows the Hacked Firmware to copy and gain

unauthorized access to proprietary calibration and configuration information preserved on the M-

series devices after the hacking.




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       87.      Cambium’s Hacked Firmware thereafter changes the radio on Ubiquiti M-series

devices and causes the Ubiquiti M-series devices to transmit at power levels and with frequencies

that violate FCC rules and equipment authorizations.

       88.      In early 2017, Ubiquiti introduced “signed” versions of the Ubiquiti AirOS

firmware on newly produced M-series devices, and made these signed versions available for

download for M-series devices, including AirOS firmware versions 5.6.15 and 6.0.3. These

firmware versions are more difficult to hack than prior versions. Yet, Cambium has provided its

end users with instructions on ways to attempt to hack the signed AirOS firmware versions.

       89.      Cambium traffics in Hacked Firmware and instructions to Ubiquiti customers that

circumvent additional access controls on signed versions of Ubiquiti firmware for M-series

devices.     Cambium’s instructions are premised on intentional, unauthorized copying of

copyrighted Ubiquiti firmware in order to defeat the signed versions of Ubiquiti firmware for M-

series devices, followed by additional hacking of the Ubiquiti M-series devices with the Hacked

Firmware to circumvent access control mechanisms within the Ubiquiti firmware, and copy and

gain unauthorized access to proprietary calibration and configuration information preserved on the

M-series devices after the hacking.

       90.      Cambium’s promotion of and trafficking in Hacked firmware is willful, wanton,

fraudulent, and has been deliberately designed and carried out to damage Ubiquiti’s customer

relationships, unfairly compete with Ubiquiti and migrate Ubiquiti customers to Cambium

customers.

       91.      Cambium and those distributors, customers and other agents that Cambium has

misled and induced to commit willful breaches and violations of the Ubiquiti Firmware License

Agreements described herein each exceeded the limited, authorized access that Ubiquiti provides




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to use the firmware on Ubiquiti M-series devices. As a result, Cambium and/or its agents hacking

of the Ubiquiti firmware in Ubiquiti M-series devices in furtherance of creating the Hacked

Firmware immediately and automatically terminated the Ubiquiti Firmware License Agreements

for Cambium and/or its agents. Cambium’s and/or its agents intentional and willful acts to access

and continue to access protected devices, Ubiquiti M-series devices and Ubiquiti websites used in

interstate commerce and communications, to hack, copy, modify, remove, and make unauthorized

use of Ubiquiti’s firmware and M-series devices were all without authorization and in violation of

the Computer Fraud and Abuse Act and the Illinois Computer Crime Prevention Law.

       92.     Cambium has provided information and firmware to facilitate users switching from

signed AirOS firmware versions to the Hacked Firmware. See Postings on Cambium Community

Forum, Exhibit K.

      Cambium’s False and Misleading Statements to Promote the Hacked Firmware

       93.     On and around November 30, 2016, Cambium made announcements on its website

and released a webinar announcing the general availability of the Hacked Firmware as a

replacement for Ubiquiti’s native firmware.       The lead speakers during the webinar were

Defendants Sakid Ahmed and Dmitry Moiseev. The webinar directs viewers to the Cambium

website to download the Hacked Firmware and provides instructions on how to navigate the

Ubiquiti web user interfaces driven by Ubiquiti firmware on M-series Ubiquiti devices in order to

replace the Ubiquiti firmware with Cambium’s Hacked Firmware.

       94.     During the webinar Defendants Ahmed and Moiseev—Cambium representatives—

directly targeted Ubiquiti customers—claiming that the Hacked Firmware would “support . . . XW-

based Ubiquiti hardware (2013-current) [,and] XM-based Ubiquiti hardware (2013 and prior)”

totaling 17 supported Ubiquiti models.




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       95.     During the webinar, Defendants Ahmed and Moiseev touted that Cambium would

“continue to develop ePMP Elevate” in order to provide “[s]upport for more Ubiquiti subscriber

modules.”

       96.     During the webinar, Defendants Ahmed and Moiseev also held a live demonstration

providing step-by-step instructions to Ubiquiti customers on how to install the Hacked Firmware.

Defendants Ahmed and Moiseev demonstrated in real time Cambium’s improper hacking of the

Ubiquiti product.

       97.     During the webinar, Cambium also showed its so-called “lab” wherein Cambium

had on display the Ubiquiti M-series devices.

       98.     During the webinar, Defendants Ahmed and Moiseev answered nearly a dozen live

questions from the audience specifically regarding Ubiquiti, including pertaining to the alteration

of Ubiquiti hardware and the supposed ability to reverse changes made to the Ubiquiti firmware

through installation of the Hacked Firmware.

       99.     During the webinar, Defendants Ahmed and Moiseev referred customers with

warranty questions to the hardware manufacturers, which include Ubiquiti.

       100.    The webinar was conducted by Defendant Sakid Ahmed, Vice President of

Engineering, along with Cambium employees involved in product design and development for the

Hacked Firmware, including Dmitry Moiseev.

       101.    Defendants Ahmed and Moiseev’s statements to the public implied that Ubiquiti

endorsed the Hacked Firmware—a false and misleading fact.

       102.    Cambium and its representatives have made numerous misrepresentations during

the webinar.




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       103.    For instance, during the webinar, Cambium representatives stated that “Once

you’ve uploaded ePMP Elevate . . . old manufacturers’ firmware is not operating in any form.”

(Exhibit F), Webinar, at 49:56-50:03. This is false. Various parameters and other portions of the

Ubiquiti M-series firmware code remain operative after the Hacked Firmware is installed.

       104.    There were also numerous false statements by omission made during the webinar.

       105.    For instance, Cambium never disclosed during the webinar or in any promotional

materials for the Hacked Firmware the following critical facts:

               •      that use of the ePMP Elevate Software violates the terms of
                      the Ubiquiti licensing agreements;

               •      that the changes made with the Cambium Firmware alters
                      the device to be non-FCC compliant;

               •      that use of the ePMP Elevate Software violates the
                      licensing terms, which also voids the warranty; and

               •      that use of the ePMP Elevate Software infringes Ubiquiti’s
                      intellectual property.

       106.    The individual Defendants routinely have publicly touted the purported benefits of

the Hacked Firmware in an effort to attract Ubiquiti customers.

       107.    So too has Cambium Network’s President and Chief Executive Officer, Atul

Bhatnagar, who was quoted in a December 7, 2016 article and a November 30, 2016 blog post on

the Cambium Website touting the purported benefits of the Hacking ePMP Elevate Firmware. See

https://appdevelopermagazine.com/4690/2016/12/7/cambium-networks-jailbreaks-first-wireless-

broadband-network/ (quoting Mr. Bhatnagar as emphasizing the fact that ePMP Elevate is

compatible with various types of hardware: “ePMP Elevate is a software solution that is hardware

agnostic[.]” “Network operators with radio hardware from one or multiple vendors can now

operate one network with a common management system without replacing installed CPE

hardware.”); see also https://www.cambiumnetworks.com/blog/cambium-networks-announces-


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new-epmp-elevate-platform-adding-new-capabilities-to-existing-wireless-broadband-networks/

(stating same).

       108.       Cambium promoted its Quick Start Guide during its November 30, 2016 webinar

targeting Ubiquiti customers stating that Cambium “strongly recommends” viewers read the Quick

Start Guide.

       109.       On information and belief, on or about November 30, 2016, Cambium released an

ePMP Portfolio Overview, which identifies the Hacked Firmware as a product called “elevate”

and uses the Ubiquiti trademark to refer to the devices on which Cambium’s Hacked Firmware

should be installed.

       110.       On information and belief, on or around November 30, 2016, Cambium released a

Quick Start Guide instructing Ubiquiti customers on steps to download the Hacked Firmware from

the Cambium website and install it through the web user interfaces driven by Ubiquiti firmware

on M-series devices. The Quick Start Guide contained numerous material misrepresentations.

       111.       For instance, in its Quick Start Guide, Cambium stated that “[a]fter the upgrade,

the ePMP Elevate subscribers retain only their configured IP Address and Device Name. All other

parameters, including configured access points SSIDs, frequency configuration, VLAN, etc. may

be configured over-the-air after upgrade to ePMP Elevate.” ePMP Elevate Quick Start Guide v3.2

(Nov. 2016) (Ex. D) at pg. 5. This statement is literally false. Multiple Ubiquiti parameters are

copied, maintained, and used by ePMP Elevate, the Hacked Firmware.

       112.       Cambium also made misleading and/or false representations in its Quick Start

Guide regarding the impact of the Hacked Firmware on FCC Standards:

                  FCC Standards:

                  Caution! The user must ensure that deployed ePMP products
                  operate in accordance to local regulatory limits. ePMP and ePMP



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                 Elevate-compatible devices may not share regulatory certifications
                 in all regions.

                 Some 3rd-party radio devices were originally FCC-certified and
                 labeled to operate in the 5.8 GHz frequency range only. An ePMP
                 Elevate upgrade enables 3rd-party radios to operate within the U-
                 NII-1 through U-NII-4 frequency band range 5150 – 5980 MHz.
                 To ensure FCC regulatory compliance for ePMP Elevate-upgraded
                 radio devices:

                 1. A new label must be applied to the device with the updated
                 FCC ID clearly visible. 3rd-party radio manufacturers support FCC
                 label requests online (labels are shipped directly).

                 2. FCC-allowed transmit power in the 5.8 GHz band has been
                 reduced with the latest regulatory guidelines. ePMP Elevate
                 adheres to these FCC power limits, and an upgrade to ePMP
                 Elevate software may introduce a reduction of the device’s
                 operating transmit power to adhere to regulatory limits (as a
                 result of the ePMP access point’s transmit power control
                 mechanism).

ePMP Elevate Quick Start Guide v3.2 (Nov. 2016) (Ex. D) at pg. 2 (emphasis added).

       113.      These statements regarding compliance with FCC standards are false and/or

misleading. The statement that “a reduction of the device’s operating transmit power” may

“adhere to regulatory limits” is false and/or misleading. These statements imply customers can

comply with FCC standards using the Hacked Firmware on Ubiquiti’s M-series devices, when this

is inaccurate.

       114.      On information and belief, Cambium’s promotion of its Hacked Firmware to

Ubiquiti customers with Ubiquiti M-series devices contains false and misleading information

about the nature of the Hacked Firmware and its impact after installation on Ubiquiti M-series

devices.

       115.      On information and belief, Cambium promotes the Hacked Firmware, for example,

by falsely stating that after installing the Hacked Firmware on a Ubiquiti M-series device the

original firmware is no longer present or operating in any form.


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       116.   On information and belief, Cambium also falsely promotes the Hacked Firmware

to Ubiquiti customers by stating that the original device manufacturer provides a hardware

warranty for the Ubiquiti M-series devices that have been hacked by the installation of Cambium’s

Hacked Firmware.

       117.   On information and belief, Cambium also falsely and misleadingly promotes the

installation and use of Hacked Firmware to Ubiquiti customers with Ubiquiti M-series devices by

stating that after hacking Ubiquiti M-series devices by installing Cambium’s Hacked Firmware,

that the hacker can ensure FCC compliance by having a third party manufacturer, who is not the

source of the Hacked Firmware, generate and apply a new FCC label to the device.

       118.   On information and belief, Cambium’s false and misleading promotion of the

Hacked Firmware for use with Ubiquiti M-series devices was carried out in order to capitalize on

the goodwill and brand recognition that Ubiquiti developed—through the investment of

resources—in the marketplace Cambium directly targeted existing Ubiquiti customers in an effort

to damage these customers’ brand loyalty and recognition of the Ubiquiti name and high quality

standards associated therewith.

       119.   On information and belief, Cambium’s false and misleading promotion of the

Hacked Firmware for use with Ubiquiti M-series devices was carried out for commercial reasons

to sell new Cambium access points with which to interface a customer’s installed base of Ubiquiti

M-series products after those Ubiquiti M-series products have been hacked with the Hacked

Firmware.

       120.   Cambium’s website contains a “Community” forum where members of the

public—including potential and current Ubiquiti customers—may post questions and comments.




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          121.   During its November 30, 2016 webinar, Cambium encouraged listeners to use the

Cambium Community forum, noting that its employees were “active” users of the Community

forum.

          122.   Cambium personnel, posting under a Cambium account displaying the Cambium

logo, frequently post on the Community.Cambiumnetworks.com website on various message

boards.

          123.   Numerous of the message boards directly target Ubiquiti customers by referencing

and commenting on Ubiquiti products.

          124.   On one message board thread entitled “Ubiquiti LB23 does not respond after

installing Elevate”, Luis—who is identified on the board as a Cambium Employee—responded to

provide the customer advice on altering the Hacked Firmware. This demonstrates Cambium’s

direct efforts to target and interfere with Ubiquiti’s relationships with its existing customers.

          125.   On one message board thread entitled “Turning UBNT to ePMP Subscribers” a

Cambium employee, Defendant Sakid Ahmed—who was identified as the “Moderator” of the

board—posted statements regarding Cambium’s supposed power performance in order to

encourage customer to install the Cambium Hacked Firmware.

          126.   In a post dated December 25, 2017, Defendant Dmitry—noted as an “occasional

contributor”—posted on a message board instructing a user on how to use ePMP with Ubiquiti

power supplies.

 Cambium’s Instructions to Ubiquiti Customers Induce Breach of the Ubiquiti Firmware
            License Agreements and Installation of the Hacked Firmware

          127.   Cambium’s promotional videos and Quick Start Guide, among other forms of

promotion, instruct Ubiquiti customers to install the Hacked Firmware on their Ubiquiti M-series

devices through the Ubiquiti M-series web interface. In some cases, Cambium instructs Ubiquiti



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customers to download and install certain versions of Ubiquiti firmware prior to hacking a Ubiquiti

M-series device by installing the Cambium Hacked Firmware.

       128.    The Ubiquiti M-series devices and the use of Ubiquiti firmware on the M-series

devices are covered by Ubiquiti Firmware License Agreements.

       129.    In addition to Cambium’s own breaches of Ubiquiti license Agreement by creating,

using and distributing the Hacked Firmware, Cambium’s instructions to Ubiquiti customers to

hack the Ubiquiti M-series devices by installing the Hacked Firmware causes the customer to

breach the Ubiquiti license agreements and is a further breach by Cambium.

       130.    Cambium’s use of Ubiquiti’s name and trademarks in promotion conveys that

manufactures like Ubiquiti will honor hardware warranties after hacked firmware is installed by a

customer. On information and belief, Cambium’s statements that no firmware from Ubiquiti

remains on the Ubiquiti device after installation, and that obtaining an FCC label from a third party

manufacturer will ensure FCC compliance are all intentional, calculated, false and/or unauthorized

statements by Cambium, who as a manufacturer of similar hardware, should know better. These

calculated misrepresentations and unauthorized uses of Ubiquiti’s name and trademarks

deliberately aim to deceive and induce customers into hacking their existing installed base of

Ubiquiti M-series devices with Cambium’s Hacked Firmware for the purpose of selling more

Cambium access points and hardware and migrating Ubiquiti customers to Cambium hardware.

                    The Hacking Enterprise and Its Racketeering Activity

       131.    Cambium sits at the helm of the Hacking Enterprise—an association-in-fact—

consisting of Cambium, Cambium Networks, Sakid Ahmed, Dmitry Moiseev, and distributor

Winncom.      At all relevant times, the Hacking Enterprise constituted an association-in-fact

enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c).




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          132.   At all relevant times, the Hacking Enterprise was engaged in interstate and

international commerce and involved in activities affecting interstate and international commerce.

          133.   Although functioning as independent legal entities, Cambium, Cambium Networks,

and Winncom joined together with Defendants Moiseev and Ahmed for the common purpose of

ensuring financial gain for themselves through misleading Ubiquiti customers.

          134.   The purpose of the Hacking Enterprise was to carry out a scheme to obtain money

by persuading Ubiquiti customers to leave for Cambium based on material misrepresentations and

omission, and sell Cambium equipment by competing unfairly against Ubiquiti.

          135.   Cambium led this Hacking Enterprise, with Winncom and Defendants Moiseev and

Ahmed assisting in attracting customers.

          136.   Cambium Networks helped fund the Hacking Enterprise, by providing monetary

support to Cambium and having Cambium carry out all distribution to Winncom in the United

States.

          137.   Defendants Ahmed and Moiseev marketed the Hacked Firmware to the public

through promotional and instructional videos and, on information and belief, designed the Hacked

Firmware.

          138.   The members of the Hacked Enterprise came together with the specific purpose of

ensuring financial gain via misleading and inducing consumers to purchase and install the Hacked

Firmware among other illicit business and profit gaining purposes. On information and belief, the

members of the Hacking Enterprise exchanged numerous emails, phone calls, and communications

to strategize regarding the launch of the Hacked Firmware and the best ways to attract Ubiquiti

customers and ensure commercial success of the Hacked Firmware and attraction and long-term

success of the Hacked Firmware.




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       139.    Each member of the Hacking Enterprise was recruited by Cambium, and Cambium

provided each member of the Hacking Enterprise financial incentives and/or direct financial

benefit for participation in the Hacking Enterprise.

       140.    The Hacking Enterprise carried out its goal of ensuring financial gain by engaging

in various acts of willful copyright infringement and mail and wire fraud to induce customers to

partially remove Ubiquiti firmware by installing the Hacked Firmware, copying portions of the

Ubiquiti firmware, and circumventing signed versions of Ubiquiti firmware without authorization

to ensure that Ubiquiti M-series devices would no longer be compatible with a Ubiquiti network

using Ubiquiti protocols and would instead be used with newly purchased Cambium networking

equipment compatible with the Hacked Firmware.

       141.    The Hacking Enterprise trafficked in and made material misrepresentations and

omissions regarding the Hacked Firmware specifically to defraud and induce end users and

customers into breaching the Firmware License Agreement and to make changes to the Ubiquiti

M-series device.

       142.    The scheme of the Hacking Enterprise has been going on since at least November

30, 2016, at which point in time Cambium, with the knowledge and encouragement of its parent

corporation Cambium Networks and through its Vice President of Engineering Sakid Ahmed, as

well as employee Dmitry Moiseev, in conjunction Winncom, began promoting the Hacked

Firmware and offering it for sale on the internet to consumers.

       143.    The Hacking Enterprise carried out its goal of obtaining financial gain at the

expense of customers and Ubiquiti through a pattern of racketeering activity.

       144.    First, the Hacking Enterprise members conspired together to concoct a scheme to

mislead and induce customers to purchase and install the Hacked Firmware.




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       145.   The scheme began with Cambium, working with the funding and encouragement

of its parent Cambium Networks, entering into partnerships with Blip and Winncom to traffic in

and promote the Hacked Firmware.

       146.   On information and belief, in exchange for offering positive statements regarding

the use of the Hacked Firmware, Blip and Winncom were able to take advantage of Cambium’s

special discount offered to customers that “spread the word” regarding the Hacked Firmware.

       147.   The Hacking Enterprise accomplished its promotion of the Hacked Firmware and

inducement of third-party purchases and installation in various ways.

       148.   For instance, Blip and the Hacking Enterprise conspired together to issue various

public comments regarding purported benefits that Blip gained from installation of the Hacked

Firmware.

       149.   On November 29, 2016, Cambium posted on its website a “Resource” which touted

that Blip’s use of the Hacked Firmware “dramatically improved performance.”

       150.   Cambium also quoted from co-conspirator Blip’s co-owner, Ian Ellison, in product

release announcements that touted the benefits of the Hacked Firmware.

       151.   Cambium’s citation to the benefits Blip purportedly incurred in using the Hacked

Firmware was done in order to specifically target customers of Ubiquiti. And, on information and

belief, the members of the Hacking Enterprise were all aware of Cambium’s intent to advertise the

purported benefits to Blip from using the Hacked Firmware.

       152.   Winncom posted on its website numerous advertisements touting the supposed

benefits of the Hacked Firmware, including seven separate “EPMP Case Studies” describing the

Hacked Firmware.




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       153.    Winncom has held seminars for Cambium—in an effort to assist the Hacking

Enterprise—at its goal of attracting customers. One such seminar, which included a product

demonstration of the Hacked Firmware was held on October 7, 2017 at a WISPApalooza event.

       154.    Sakid Ahmed and Dmitry Moiseev attended the WISPApalooza event on behalf of

Cambium in an effort to work with Winncom to spread false and misleading information regarding

the Hacked Firmware and to lure away Ubiquiti customers.

       155.    Winncom also served as a “Connected Partner” for Cambium, receiving various

benefits to “reward” Winncom for furthering the Hacking Enterprise’s scheme.

       156.    On February 17, 2012, Cambium Networks posted on its website, a press release

touting a new “Connected Partner Program” of which Winncom was a partner distributor.

       157.    Winncom’s advertisement of the case studies discussing the Hacked Firmware was

done in order to specifically target Ubiquiti customers and induce purchases and use of the Hacked

Firmware.

       158.    The Hacking Enterprises’ misleading advertisements and tutorials were provided

to consumers to mislead them and induce them to install the Hacked Firmware on Ubiquiti M-

series devices, notwithstanding that doing so would violate FCC rules and the Ubiquiti Firmware

License Agreements, in order to damage Ubiquiti M-series devices and their licensed firmware by

rendering them unable to communicate with other Ubiquiti devices using Ubiquiti protocols, and

in order for Cambium to sell Cambium equipment with which the newly installed Hacked

Firmware on Ubiquiti M-series devices is compatible.

       159.    Ubiquiti has been directly and proximately harmed by the Hacking Enterprises’

false advertisements and statements because customers are misled and induced to violate Ubiquiti




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Firmware License Agreements, Ubiquiti intellectual property rights and FCC rules by hacking the

Ubiquiti product they purchased with the Hacked Firmware.

       160.   Although the full extent of wire and mail fraud carried out by the Hacking

Enterprise in furtherance of their scheme to mislead consumers and sell the Hacked Firmware

remains to be determined, the following are examples of fraudulent statements members of the

Hacked Enterprise made using the U.S. Mail and/or interstate wires:

       •      The Cambium website’s advertisement of a “Resource Guide” which discusses
              purported benefits Blip gained from installation of the Hacked Firmware, without
              disclosing the true nature of the Hacked Firmware.

       •      Cambium’s running of “field experience” webinars wherein Cambium discussed
              Blip’s experience using the Hacked Software, without disclosing the true nature
              of the Hacked Firmware.

       •      Cambium’s launching and showing of various promotional videos on its website
              that discuss purported “benefits” of the Hacked Firmware and instruct Cambium
              Customers to install the Hacked Firmware on their Ubiquiti M-series devices
              through the Ubiquiti M-series web interface, without disclosing the true nature of
              the Hacked Firmware.

       •      Cambium’s issuance of a press release on November 30, 2016 touting the Hacked
              Firmware’s benefit and Blip’s experience, without disclosing the true nature of
              the Hacked Firmware.

       •      Cambium’s November 30, 2016 webinar designed to target Ubiquiti customers
              and provide a step-by-step procedure for hacking the Ubiquiti M-series Firmware,
              which prominently featured Defendants Ahmed and Moiseev, which contained
              numerous material misrepresentations and omissions described in paragraphs 93-
              105, 108, infra and Exhibit F.

       •      Winncom’s hosting of a ePMP course on October 7th-9th, 2017 at WSIPApalooza
              2017—an event attended by Defendants Ahmed and Moiseev—wherein
              Winncom in connection with Cambium hosted a session regarding “hardware
              installation” which, upon information and belief, involved Winncom providing a
              how-to tutorial to WISPs who ultimately sold the Hacked Firmware to customers,
              without disclosing the true nature of the Hacked Firmware.

       •      Winncom’s advertising campaign regarding it ePMP course at WISPApalooza in
              advance of the event in October 2017, which failed to disclose the true nature of
              the Hacked Firmware. See http://www.winncom.com/en/news/15358.




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       •      Winncom’s staging of a promotion via its website in the Russian language
              whereby licenses to Elevate were provided free of charge to potential customers
              to induce hacking of the Ubiquiti Firmware. Specifically, on a Winncom affiliate
              website, Winncom advertised that: Cambium Networks is launching a campaign
              to help owners of wireless networks built on Ubiquiti equipment upgrade their
              network by replacing old equipment with the base station of the ePMP1000 series
              or ePMP 2000. When purchasing new ePMP equipment, you get an Elevate
              license as a gift !!!" See http://winncom.ru/news/license-epmp-elevate (Exhibit
              L).

       •      Cambium’s issuance of promotional videos and a Quick Start Guide, which
              instruct Cambium Customers to install the Hacked Firmware on their Ubiquiti M-
              series devices through the Ubiquiti M-series web interface, which failed to
              disclose the true nature of the Hacked Firmware. Upon information and belief,
              the promotional videos and Quick Start Guide were released via the Cambium
              website on or about November 30, 2016.

       •      Defendants Ahmed and Moiseev made numerous posts on Cambium’s message
              boards disseminating false and misleading information regarding the Hacked
              Firmware and providing encouragement to customers installing the Hacked
              Firmware.

       •      With the knowledge and encouragement of Winncom, and Cambium Networks,
              Cambium hosted a video webinar featuring Defendants Ahmed and Moiseev in
              late 2016 wherein Cambium made false statements regarding the Hacked
              Firmware. These materially false statements and omissions are outlined in detail
              in paragraphs 93-105 of the instant Complaint.

       •      Cambium’s publication of a Quick Start Guide containing materially false
              statements and omissions described herein at paragraphs 110-113 of the instant
              Complaint.

       161.   Each of these statements were made through the wires and/or the US mails with the

intent to defraud and induce consumers to install the Hacked Firmware.

       162.   On information and belief, Cambium also used the U.S. Mail to send promotional

advertisements which encouraged customers to use the Hacked Firmware on the Ubiquiti devices.

       163.   On information and belief, Cambium used the U.S. Mail to send invoices for the

Hacked Firmware to customers throughout the United States, including in this District.




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         164.   On information and belief, in furtherance of the Hacking Enterprise, the Hacking

Enterprise members communicated with each other via e-mail communications and over the

phone.

         165.   On information and belief, income in furtherance of the Hacking Enterprise’s

scheme as received via wires when customers paid on-line to purchase the Hacked Firmware.

         166.   The advertisements, promotions, and web videos on the Cambium site were

broadcast to and viewed by consumers throughout the United States.

         167.   The advertisements on the Winncom website was viewed and transmitting via the

wires to consumers throughout the United States.

                                   FIRST CLAIM FOR RELIEF
                (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                    (Asserted Against Cambium)

         168.   Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

                            A.      CFAA § 1030(a)(2)(C) Violations

         169.   Section 1030(a)(2)(C) of the CFAA prohibits a person from intentionally accessing

a protected computer without or in excess of authorization and obtaining information from a

protected computer.

         170.   Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.

         171.   Cambium has itself, and has aided and abetted others, to intentionally install the

Hacked Firmware on Ubiquiti M-series devices in violation of multiple provisions of the Ubiquiti

Firmware License Agreements, and by so doing makes unauthorized access to among other things,

Ubiquiti M-series devices and licensed firmware including configuration and calibration




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information on the Ubiquiti M-series devices (the protected computers) in order to damage and

take control of the Ubiquiti M-series devices for Cambium’s commercial purposes.

       172.    By virtue of this conduct, Cambium has violated and has conspired with others to

violate the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(2)(C), by intentionally accessing

Ubiquiti M-series devices, which consist of protected computers used for interstate commerce or

communications, without authorization or by exceeding authorized access to the Ubiquiti M-series

devices, and by accessing configuration and calibration information in order to take control of the

Ubiquiti M-series devices for Cambium’s commercial purposes.

       173.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Firmware, which underlies its Firmware License Agreements with customers of Ubiquiti M-series

devices, impaired and altered and no longer compatible with other Ubiquiti devices using

Ubiquiti’s wireless protocols.

       174.    Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

       175.    Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       176.    Ubiquiti is entitled to damages for Cambium’s violation of Section 1030(a)(2)(C)

of the CFAA in an amount to be determined at trial.

       177.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, as provided by 18 U.S.C. § 1030(g).




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                              B.     CFAA § 1030(a)(4) Violations

       178.    Section 1030(a)(4) of the CFAA prohibits a person from knowingly, and with intent

to defraud, accessing a protected computer without authorization or in excess of authorized access

and by means of such conduct furthering the intended fraud and obtaining anything of value, unless

the object of the fraud and the thing obtained consists only of the use of the computer and the value

of such use is not more than $5,000 in any 1-year period.

       179.    Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.

       180.    Cambium developed the Hacked Firmware intentionally and to perform hacks of

Ubiquiti M-series devices that violate the Ubiquiti Firmware License Agreements in multiple

ways, including removing copyrighted portions and copying copyrighted portions all during

unauthorized access and installation of the Hacked Firmware on a protected computer, the Ubiquiti

M-series device.

       181.    Cambium itself and by conspiring with others has intentionally defrauded Ubiquiti

customers, including with misrepresentations by Cambium as to the nature of the Hacked

Firmware, into breaching the Ubiquiti Firmware License Agreements and hacking their Ubiquiti

M-series devices in furtherance of Cambium’s profit making scheme.

       182.    Cambium’s above described conduct has resulted in loss and damage to Ubiquiti’s

reputation and by having the Ubiquiti Firmware, which underlies its Firmware License

Agreements with customers of Ubiquiti M-series devices, impaired and altered and no longer

compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols, all of which greatly

exceeds $5,000.




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          183.   Indeed, on information and belief, the Hacked Firmware has been installed on

hundreds of Ubiquiti M-series devices in the United States alone and Cambium itself charges an

annual “license” fee of $35 per year for each installation of Hacked Firmware.

          184.   The configuration information and binary data obtained by Cambium from each

unauthorized access to a Ubiquiti M-series device, and the impairment of the Ubiquiti firmware

on those devices which render the M-series devices inoperable with other Ubiquiti devices using

Ubiquiti protocols, is a scheme to defraud Ubiquiti and its customers that consists of more than

the mere use of Ubiquiti M-series devices.

          185.   By its above described conduct, Cambium has violated § 1030(a)(4) of the CFAA,

by knowingly and with intent to defraud, accessing Ubiquiti M-series devices, which consist of

protected computers used for interstate commerce or communications, without authorization, or

by exceeding their authorized access, and by means of such access furthering the intended fraud

and obtaining configuration information and binary data necessary to operate each M-series

device.

          186.   Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti Firmware

which underlies its Firmware License Agreements with customers impaired and altered and no

longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

          187.   Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

          188.   Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct




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       189.    Ubiquiti is entitled to damages for Cambium’s violation of § 1030(a)(4) of the

CFAA in an amount to be determined at trial.

       190.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief, as provided by

18 U.S.C. § 1030(g).

                            C.      CFAA § 1030(a)(5)(A) Violations

       191.    Section 1030(a)(5)(A) of the CFAA prohibits knowingly causing the transmission

of a program, information, code, or command, and as a result of such conduct, intentionally causing

damage without authorization, to a protected computer.

       192.    Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.

       193.    Cambium transmits and aids and abets third parties, including Ubiquiti’s customers

in the installation of the Hacked Firmware on Ubiquiti M-series devices in violation of the access

restrictions pursuant to Ubiquiti Firmware License Agreements, causing damage to the Ubiquiti

M-series devices including the removal of large portions of the Ubiquiti firmware, which results

in the Ubiquiti M-series devices being impaired and no longer able to connect to other Ubiquiti

devices using Ubiquiti’s wireless protocols. The code and information transmitted cause the

unauthorized access and the damage to Ubiquiti and the Ubiquiti M-series devices.

       194.    Cambium’s Hacked Firmware directly and intentionally damages Ubiquiti and the

Ubiquiti M-series devices. It alters the code on these devices and changes the composition of these

devices in direct violation of the governing Ubiquiti Firmware Licensing Agreements.

       195.    By its above described conduct, Cambium has violated the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030(a)(5)(A), by knowingly causing the transmission of a program,


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information, code or command, including causing the transmission of the Hacked Firmware, and

as a result of such conduct, intentionally causing damage without authorization to a protected

computer.

       196.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Firmware, which underlies its Firmware License Agreements with customers, impaired and altered

and no longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

       197.    Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

       198.    Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       199.    Accordingly, Ubiquiti is entitled to damages for Cambium’s violation of Section

1030(a)(5)(A) of the CFAA in an amount to be determined at trial.

       200.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, and other equitable relief, as provided

by 18 U.S.C. § 1030(g).

                            D.      CFAA § 1030(a)(5)(B) Violations

       201.    Section 1030(a)(5)(B) of the CFAA prohibits a person from intentionally accessing

a protected computer without authorization, and as a result of such conduct, recklessly causing

damage.

       202.    Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.


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       203.    Cambium transmits and aids and abets third parties, including Ubiquiti’s customers

in the installation of the Hacked Firmware on Ubiquiti M-series devices in violation of the access

restrictions pursuant to Ubiquiti Firmware License Agreements, causing damage to the Ubiquiti

M-series devices including the removal of large portions of the Ubiquiti Firmware, which results

in the Ubiquiti M-series devices being impaired and no longer able to connect to other Ubiquiti

devices using Ubiquiti’s wireless protocols. The code and information transmitted cause the

unauthorized access and the damage to Ubiquiti and the Ubiquiti M-series devices.

       204.    Cambium’s conduct is intentional, and its Hacked Firmware recklessly, and with

full knowledge of Cambium, causes the damage to the Ubiquiti M-series devices described above

in direct violation of the governing Ubiquiti Firmware Licensing Agreements.

       205.    Cambium intentionally ignores the restrictions set forth in the Ubiquiti Firmware

Licensing Agreements with malice and disregard, demonstrating its reckless behavior in

transmitting and aiding and abetting third parties, including Ubiquiti’s customers, in the

installation of the Hacked Firmware on Ubiquiti M-series devices in violation of the access

restrictions pursuant to License Agreements.

       206.    Thus, Cambium has violated the Computer Fraud and Abuse Act, 18 U.S.C. §

1030(a)(5)(B), by intentionally accessing one or more M-series devices, which consist of protected

computers, without authorization, and as a result of such conduct, recklessly causing damage.

       207.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Firmware, which underlies its Firmware License Agreements with customers, impaired and altered

and no longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.




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        208.   Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

        209.   Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

        210.   Accordingly, Ubiquiti is entitled to damages for Cambium’s violation of Section

1030(a)(5)(B) of the CFAA in an amount to be determined at trial.

        211.   Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief, as provided by

18 U.S.C. § 1030(g).

                            E.      CFAA § 1030(a)(5)(C) Violations

        212.   Section 1030(a)(5)(C) of the CFAA prohibits a person from intentionally accessing

a protected computer without authorization, and as a result of such conduct, causing damage and

loss.

        213.   Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.

        214.   Cambium transmits and aids and abets third parties, including Ubiquiti’s customers

in the installation of the Hacked Firmware on Ubiquiti M-series devices in violation of the access

restrictions pursuant to Ubiquiti Firmware License Agreements, causing damage to the Ubiquiti

M-series devices including the removal of large portions of the Ubiquiti Firmware, which results

in the Ubiquiti M-series devices being impaired and altered and no longer able to connect to other




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Ubiquiti devices using Ubiquiti’s wireless protocols. The code and information transmitted cause

the unauthorized access and the damage to Ubiquiti and the Ubiquiti M-series devices.

       215.    Cambium intentionally developed the Hacked Firmware to directly damage

Ubiquiti and the Ubiquiti M-series devices for commercial advantage. It removes and alters

firmware code on these devices and changes the composition of these devices in direct violation

of multiple provisions of the governing Ubiquiti Firmware Licensing Agreements.

       216.    Thus, Cambium has violated the Computer Fraud and Abuse Act, 18 U.S.C. §

1030(a)(5)(C), by intentionally accessing one or more M-series devices, which consist of protected

computers, and, as a result of the intentional access causing the damage and loss described herein.

       217.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Firmware, which underlies its Firmware License Agreements with customers, impaired and altered

and no longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

       218.    Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

       219.    Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       220.    Accordingly, Ubiquiti is entitled to damages for Cambium’s violation of Section

1030(a)(5)(C) of the CFAA in an amount to be determined at trial.

       221.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,




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entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief, as provided by

18 U.S.C. § 1030(g).

                             F.     CFAA § 1030(a)(6)(A) Violations

       222.      Section 1030(a)(6)(A) of the CFAA prohibits a person from knowingly and with

intent to defraud trafficking in any password or similar information through which a protected

computer may be accessed without authorization, if such trafficking affects interstate or foreign

commerce.

       223.      Cambium traffics in—sells and transports to customers and third-party sellers—the

Hacked Firmware and additional programs, videos and guides instructing third parties how to hack

and gain unauthorized access to Ubiquiti M-series devices.

       224.      Through the Hacked Firmware and additional materials, consumers learn how and

are able to hack and gain unauthorized access to Ubiquiti’s M-series Devices.

       225.      The Hacked Firmware and alteration of the M-series Devices caused by installation

of the Hacked Firmware, which itself facilitates unauthorized access, affects interstate commerce,

as the Hacked Firmware is being distributed by Cambium and used throughout the United States

and the world.

       226.      By the above described conduct, Cambium has violated the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030(a)(6)(A), by knowingly and with intent to defraud trafficking in

information by distributing Hacked Firmware and additional programs, videos and guides

instructing third parties how to hack and gain unauthorized access to Ubiquiti M-series devices,

which trafficking and access has affected and continues to affect interstate commerce and

communications and foreign commerce.




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       227.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Firmware, which underlies its Firmware License Agreements with customers, impaired and altered

and no longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

       228.    Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

       229.    Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       230.    Accordingly, Ubiquiti is entitled to damages for Cambium’s violation of Section

1030(a)(6)(A) of the CFAA.

       231.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief, as provided by

18 U.S.C. § 1030(g).

                                G.      CFAA § 1030(b)Violations

       232.    Section 1030(b) of the CFAA prohibits a person from conspiring to violate any

other subsection of the CFAA.

       233.    Cambium has violated the CFAA by conspiring to commit the 18 U.S.C. § 1030(a)

offenses listed above.

       234.    Cambium has conspired with Ubiquiti licensees of M-series device firmware to

intentionally make unauthorized access by installing the Hacked Firmware, and other third parties,

including Blip, who traffic in the Hacked Firmware, related software, guides and videos for




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Ubiquiti M-series devices and directly or indirectly facilitate unauthorized access to the Ubiquiti

M-series devices and installation of the Hacked Firmware on Ubiquiti M-series devices.

        235.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti Firmware

which underlies its Firmware License Agreements with customers impaired and altered and no

longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

        236.    Cambium’s Hacked Firmware has been provided by Cambium and third parties

authorized by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are

protected computers.

        237.    Ubiquiti has spent in excess of $100,000 investigating the nature of the Hacked

Firmware and the damage it causes to Ubiquiti Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

        238.    Accordingly, Ubiquiti is entitled to damages for Cambium’s violation of Section

1030(b) of the CFAA.

        239.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, and other equitable relief, as provided

by 18 U.S.C. § 1030(g).

           H.      Allegations Applicable to All CFAA Violations Asserted Herein

        240.    Ubiquiti has been informed and believes and thereon alleges that the actions of

Cambium are knowing, deliberate, willful and in utter disregard of Ubiquiti’s rights under the

CFAA.

        241.    Ubiquiti has standing to bring the Computer Fraud and Abuse Act claims set forth

above, and is entitled to remedies at law and equity pursuant to 18 U.S.C. § 1030(g) because




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Cambium’s conduct has caused a loss to Ubiquiti during any one (1) year period aggregating far

more than $5,000 in value as specified in 18 U.S.C. § 1030(c)(4)(A)(i)(I).

       242.     Ubiquiti has suffered loss and has spent in excess of $100,000 investigating the

Hacked Firmware in response to learning of Cambium’s promotion and distribution of its Hacked

Firmware to Ubiquiti M-series device customers in order to determine the nature of the Hacked

Firmware and determine its response to Cambium’s unauthorized access and trafficking.

       243.     In addition to the loss and damage to Ubiquiti, Cambium’s Hacked Firmware

changes the radio characteristics of the Ubiquiti M-series devices, and the Hacked Firmware

exceeds radio restrictions in place on the M-series devices and that form the basis of Ubiquiti’s

FCC equipment authorization for the M-series devices. As modified with the Hacked Firmware,

the M-series devices violate FCC rules and may constitute a threat to public safety.

                              SECOND CLAIM FOR RELIEF
                          (Violations of §§ 1201(a)(1), 1201(a)(2) and
                        1202(b) of the Digital Millennium Copyright Act)
                                  (Asserted against Cambium)

       244.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

                             A.        DMCA § 1201(a)(1) Violations

       245.     Section 1201(a)(1) of the DMCA provides that no person shall circumvent a

technological measure that effectively controls access to a work protected under this title.

       246.     Ubiquiti’s Firmware for its M-series products is subject to protection under the

copyright laws of the United States.

       247.     Access to Ubiquiti’s Firmware is subject to the Firmware License Agreement and

is controlled by technological measures, namely signature protected firmware in the case of




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Ubiquiti Firmware versions 5.6.15 and later and software for detecting unauthorized firmware for

Ubiquiti Firmware versions 5.6.14 and lower.

           248.   Cambium, individually and acting in concert and with third parties, has violated

Ubiquiti’s rights under 17 U.S.C. § 1201(a)(1) by directly circumventing access control measures

that effectively control the ability to update or alter the firmware on Ubiquiti M-series devices by

using the Hacked Firmware, which passes through Ubiquiti’s access control measures for detecting

unauthorized firmware, and allows the Hacked Firmware to install on Ubiquiti M-series devices

and thereafter make unauthorized access and use of portions of Ubiquiti’s copyrighted Firmware

to take control of Ubiquiti M-series devices. The Hacked Firmware after installation disables

Ubiquiti’s access control measures.

           249.   The conduct described above has cost Ubiquiti an amount to be determined at trial

and constitutes a violation of 17 U.S.C. § 1201.

           250.   The conduct described above was willful and undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to the Hacked Firmware

and Cambium hardware to interface with hacked Ubiquiti M-series devices. An award of statutory

damages is necessary to dissuade Defendants and others from the use of the Hacked Firmware.

           251.   Accordingly, pursuant to 17 U.S.C. § 1203, Ubiquiti is entitled to and hereby

demands statutory damages in the maximum amount of $2,500 for each of the violations of the

statute.

           252.   Ubiquiti is also entitled to an award of attorneys’ fees and costs as provided under

17 U.S.C. § 1203.




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       253.    Cambium’s conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law. Pursuant to 17 U.S.C. § 1203, Ubiquiti is also

entitled to an award of attorneys’ fees and costs.

                              B.       DMCA § 1201(a)(2) Violations

       254.    Section 1201(a)(2) of the DMCA provides that no person shall traffic in any

technology, product, service, device, component, or part thereof, that, among other things, is

primarily designed or produced for the purpose of circumventing a technological measure that

effectively controls access to a work protected under this title.

       255.    Ubiquiti’s Firmware for its M-series products is subject to protection under the

copyright laws of the United States.

       256.    Access to Ubiquiti’s Firmware is subject to the Firmware License Agreement and

is controlled by technological measures, namely signature protected firmware in the case of

Ubiquiti Firmware versions 5.6.15 and later and software for detecting unauthorized firmware for

Ubiquiti Firmware versions 5.6.14 and lower.

       257.    Cambium, individually and collectively, have directly, or acting in concert with a

third party, violated Ubiquiti’s rights under 17 U.S.C. § 1201(a)(2) by offering to the public,

services and the Hacked Firmware to circumvent Ubiquiti’s technological measures.

       258.    Such services include in-person educational seminars demonstrating hacking

Ubiquiti M-series devices with Hacked Firmware to circumvent Ubiquiti’s technological

measures; disseminating quick start guides and on-line videos demonstrating how to circumvent

technological measures on Ubiquiti M-series devices and install the Hacked Firmware; and

disseminating instructions on how to defeat Ubiquiti’s signature protected firmware on Ubiquiti

Firmware      versions     5.6.15      and   later    on     Cambium’s    community      website




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community.cambiumnetworks.com          (See   https://community.cambiumnetworks.com/t5/ePMP-

Elevate/Issues-elevating-Ubiquiti-devices-with-firmware-higher-than-5-6/td-p/78837).

       259.    Cambium traffics in such services and the Hacked Firmware, which are used to

disable Ubiquiti’s technological measures and make Ubiquiti M-series devices and Ubiquiti

Firmware that remains on the Ubiquiti M-series devices available for unauthorized access, copying

and use thereafter.

       260.    The conduct described above has cost Ubiquiti an amount to be determined at trial

and constitutes a violation of 17 U.S.C. § 1201.

       261.    The conduct described above was willful and undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to the Hacked Firmware

and Cambium hardware to interface with hacked Ubiquiti M-series devices. An award of statutory

damages is necessary to dissuade Defendants and others from the use of the Hacked Firmware.

       262.    Accordingly, pursuant to 17 U.S.C. § 1203, Ubiquiti is entitled to and hereby

demands statutory damages in the maximum amount of $2,500 for each violation of the DMCA.

       263.    Ubiquiti is also entitled to an award of attorneys’ fees and costs as provided under

17 U.S.C. § 1203.

       264.    Cambium’ conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law.

                                  C.      DMCA § 1202(b) Violations

       265.    Section 1202(b) of the DMCA provides, among other things, that no person shall,

without authorization of the copyright owner or the law intentionally remove or alter any copyright

management information, or distribute copyright management information knowing that the

copyright management information has been removed or altered without authority, knowing or




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having reasonable grounds to know that it will induce, enable, facilitate, or conceal an

infringement.

       266.     Ubiquiti’s Firmware for its M-series products is subject to protection under the

copyright laws of the United States.

       267.     Access to Ubiquiti’s Firmware is subject to the Firmware License Agreement and

is controlled by technological measures, namely signature protected firmware in the case of

Ubiquiti Firmware versions 5.6.15 and later and software for detecting unauthorized firmware for

Ubiquiti Firmware versions 5.6.14 and lower.

       268.     Ubiquiti’s Firmware also includes user interface software that allows users to

interface with Ubiquiti M-series devices and allows users to upload new firmware to Ubiquiti M-

series devices. The user interface software within the Ubiquiti Firmware includes copyright

management information that is presented to the user on each page of the user interface that

identifies Ubiquiti as the copyright owner of the Ubiquiti Firmware for each M-series device.

       269.     Cambium, individually and collectively, have directly, or acting in concert with a

third party, violated Ubiquiti’s rights under 17 U.S.C. § 1202(b) by distributing Hacked Firmware

directly and through distributors to Ubiquiti customers that circumvents Ubiquiti’s technological

measures, removes Ubiquiti’s user interface software including its copyright management

information, and replaces the copyright management information with a new statement that

Cambium is the copyright owner.

       270.     Cambium’s conduct has been willful. Despite the fact that Ubiquiti firmware

remains on the Ubiquiti M-series device even after it is hacked with the Hacked Firmware by

Defendants or a Ubiquiti customer at the urging of Cambium, Cambium has removed the Ubiquiti

copyright management information in order to conceal Cambium’s infringement of Ubiquiti’s




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copyrights in the Ubiquiti Firmware, knowing that this will induce and/or facilitate infringement

of the Ubiquiti Firmware as the user interacts with the Hacked Firmware on hacked Ubiquiti M-

series devices.

           271.   The conduct described above has cost Ubiquiti an amount to be determined at trial

and constitutes a violation of 17 U.S.C. § 1202.

           272.   The conduct described above was willful and undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to the Hacked Firmware

and Cambium hardware to interface with hacked Ubiquiti M-series devices. An award of statutory

damages is necessary to dissuade Defendants and others from the use of the Hacked Firmware.

           273.   Accordingly, pursuant to 17 U.S.C. § 1203, Ubiquiti is entitled to and hereby

demands statutory damages in the maximum amount of $2,500 for each of the violations of the

statute.

           274.   Ubiquiti is also entitled to an award of attorneys’ fees and costs as provided under

17 U.S.C. § 1203.

           275.   Cambium’s conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law.

                                    THIRD CLAIM FOR RELIEF
           (Violation of the Illinois Computer Crime Prevention Law, 720 Il. C.S. 5/17-51)
                                      (Asserted Against Cambium)

           276.   Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

           277.   Ubiquiti’s M-series devices are computers which operate using Ubiquiti Firmware

licensed by Ubiquiti to M-series device customers.




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       278.     Cambium transmits and aids and abets third parties, including Ubiquiti’s customers,

in the installation of the Hacked Firmware on Ubiquiti M-series devices in violation of the access

restrictions pursuant to Ubiquiti Firmware License Agreements, causing damage to the Ubiquiti

M-series devices and the licensed Ubiquiti Firmware, including destroying large portions of the

Ubiquiti Firmware, which results in the Ubiquiti M-series devices being impaired, no longer

compliant with FCC rules and regulations and no longer able to connect to other Ubiquiti devices

using Ubiquiti’s wireless protocols.

       279.     Cambium’s conduct is intentional, and without permission of Ubiquiti, and its

Hacked Firmware causes the damage to the Ubiquiti M-series devices and Ubiquiti Firmware

described above in direct violation of the governing Ubiquiti Firmware Licensing Agreements.

       280.     Ubiquiti has sustained damage by, inter alia, having the Ubiquiti M-series devices

and Firmware, which underlie its Firmware License Agreements with customers, impaired and

altered and no longer compatible with other Ubiquiti devices using Ubiquiti’s wireless protocols.

       281.     Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened injuries,

entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief.



                                FOURTH CLAIM FOR RELIEF
                (Willful violation of the Copyright Act, 17 U.S.C. §§ 101, et seq.)
                                   (Asserted Against Cambium)

       282.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       283.     Ubiquiti owns copyrights in the Ubiquiti Firmware and has registered the

copyrights. As the owner of the copyrights, Ubiquiti maintains exclusive rights to, inter alia,




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distribute and reproduce the Ubiquiti Firmware. Ubiquiti licenses the Ubiquiti Firmware on a non-

exclusive basis to its customers for use with Ubiquiti M-series devices.

       284.    Cambium has directly infringed and will continue to infringe Ubiquiti’s copyrights

in the Ubiquiti Firmware by violating the Ubiquiti Firmware License Agreement and making

unauthorized copies and use of Ubiquiti Firmware for Ubiquiti M-series devices.

       285.    Cambium has directly infringed and will continue to infringe Ubiquiti’s copyrights

in the Ubiquiti Firmware by hacking into Ubiquiti M-series devices by loading the Hacked

Firmware onto M-series devices and causing the Ubiquiti M-series devices to execute the Hacked

Firmware. The Hacked Firmware destroys the integrity of the Ubiquiti Firmware, creates an

unauthorized derivative work of the Ubiquiti firmware, and makes unauthorized copies of the

Ubiquiti firmware, all in violation of the copyright act.

       286.    Such acts of direct infringement include Cambium’s development of the Hacked

Firmware, Cambium’s demonstration of hacking a Ubiquiti M-series device in instructional videos

posted on the Internet, and on information and belief Cambium’s demonstration of the

infringement by hacking Ubiquiti M-series devices in live classes.

       287.    Cambium has contributed to and induced the infringement of Ubiquiti’s copyrights

in the Ubiquiti firmware by third parties, including Cambium’s distributors and Ubiquiti

customers, by one or more of the following actions: making the Hacked Firmware available for

download, marketing and promoting the Hacked Firmware to Ubiquiti’s M-series device

customers, selling and distributing “licenses” to use the Hacked Firmware on Ubiquiti M-series

products, distributing a “Quick Start Guide” instructing Ubiquiti M-series device users how to

hack their device with the Hacked Firmware, and providing online videos, customer support and




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live demonstrations encouraging and teaching Ubiquiti customers how to hack Ubiquiti M-series

devices with Hacked Firmware.

       288.    The infringing conduct described above has damaged Ubiquiti in an amount to be

determined at trial and constitutes violations of 17 U.S.C. § 501. Ubiquiti is entitled to recover,

under the Copyright Act, actual damages it has sustained and any gains, profits and advantages

obtained by Defendants as a result of their acts of infringement alleged above.

       289.    The conduct described above was willful, was undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to the Hacked Firmware

and Cambium hardware to interface with hacked Ubiquiti M-series devices.

       290.    Ubiquiti has registered copyrights for the Ubiquiti Firmware that predate the course

of Defendants’ infringing conduct. Ubiquiti seeks a determination of statutory damages in the

maximum amount of $150,000.00 per work infringed in view of the willful and commercially

motivated infringement by Cambium pursuant to 17 U.S.C. § 504.

       291.    Under the Copyright Act, Ubiquiti is entitled to recover costs, including attorneys’

fees pursuant to 17 U.S.C. § 505, for Defendants’ acts of infringement.

       292.    Cambium’s conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law.

       293.    Cambium’s Hacked Firmware, unless impounded and destroyed, will also continue

to make unauthorized use of the Ubiquiti firmware in hacked Ubiquiti M-series devices and will

cause continuing damage to Ubiquiti.




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                                FIFTH CLAIM FOR RELIEF
         (False Advertising under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B))
                                  (Asserted Against Cambium)

       294.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       295.     Cambium has disseminated through its promotional materials for the Hacked

Firmware, including but not limited to guides and online instructional webinar videos, false and

misleading statements concerning Ubiquiti, and the nature and propriety of the Hacked Firmware

in violation of § 43(a) of the Lanham Act. Cambium’s false and misleading statements include,

but are not limited to, statements concerning the amount of firmware from Ubiquiti left on Ubiquiti

M-series devices and its use after being hacked with Cambium’s Hacked Firmware, statements

that a hardware warranty may be available after Hacked Firmware is installed, and statements that

FCC compliance on a Ubiquiti M-series device modified with the Hacked Firmware can be

ensured by asking the third party manufacturer to apply a new FCC label. These statements

constitute false and deceptive advertising and are likely to mislead, and/or have misled, consumers

and distributors about the nature, characteristics and quality of the Hacked Firmware. Cambium’s

false and misleading statements are intended to conceal Cambium’s copyright infringement, sell

licenses to the Hacked Firmware and Cambium products to interface with hacked Ubiquiti M-

series devices, and attack the reputation, goodwill and market position of Ubiquiti.

       296.     Cambium has willfully, knowingly, and intentionally made and continues to make

false descriptions in advertising, and unless enjoined by this Court, will continue to deceive,

mislead, and confuse consumers and distributors into believing that, among other things,

Cambium’s creation and dissemination of Hacked Firmware for Ubiquiti M-series devices is

lawful, supported by warranty coverage from Ubiquiti, and yields hacked Ubiquiti M-series




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devices that are FCC complaint. Cambium’s false and deceptive advertising and promotion of its

Hacked Firmware is intentionally and specifically targeted at Ubiquiti M-series devices as part of

a deceptive sales strategy to migrate Ubiquiti customers away from Ubiquiti products to Cambium

products with which the hacked Ubiquiti M-series devices are compatible.

       297.     As a direct and proximate cause of Cambium’s unlawful acts and practices,

including those set forth above, Cambium has caused, is causing, and unless enjoined by this Court,

will continue to cause immediate and irreparable harm to Ubiquiti, for which there is no adequate

remedy at law, and for which Ubiquiti is entitled to injunctive relief. Cambium’s acts, as described

herein, are, and unless enjoined, will continue to be, in violation of Section 43(a) of the Lanham

Act.

       298.     As a direct and proximate cause of Cambium’s unlawful acts and practices,

including those set forth above, Cambium has caused, is causing, and unless enjoined by this Court,

will continue to cause Ubiquiti to suffer damages to its business, reputation, and goodwill, and the

loss of sales and profits Ubiquiti would have made but for Cambium’s acts.

       299.     Cambium has acted in bad faith and has willfully engaged in false advertising with

the intent to injure Ubiquiti and deceive the public. Thus, in addition to the injunctive relief and

damages requested herein, Ubiquiti is entitled to costs and attorneys’ fees pursuant to 25 U.S.C. §

1117(a).

                                 SIXTH CLAIM FOR RELIEF
                                      (Breach of Contract)
                                  (Asserted Against Cambium)

       300.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.




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        301.    Cambium has freely entered into Ubiquiti’s Firmware License Agreements by

using Ubiquiti M-series devices and downloading Ubiquiti firmware and a valid and binding

contract has been formed between Cambium and Ubiquiti as set forth in the Ubiquiti Firmware

License Agreements.

        302.    There was valuable consideration exchanged in connection with the Firmware

License Agreements. Specifically, Cambium was granted a limited license to use the Ubiquiti

Firmware on M-series devices in exchange for Cambium’s agreement to comply with the terms of

use.

        303.    The Firmware License Agreements expressly prohibited Cambium from

“remov[ing] or alter[ing] any Ubiquiti copyright, trademark or other proprietary rights notices

from the Software or Content” including the user interface of the Ubiquiti Firmware or any

Ubiquiti Device. See Ex. B at 1, 2 and Ex. C at 3.

        304.    The Firmware License Agreements further provided that Cambium “may not and

shall not permit others to,” inter alia,

                c.     copy the Ubiquiti Firmware (except as expressly permitted
                above), or copy the accompanying documentation;

                d.      modify, translate, reverse engineer, decompile, disassemble
                or otherwise attempt (i) to defeat, avoid, bypass, remove,
                deactivate, or otherwise circumvent any software protection
                mechanisms in the Ubiquiti Firmware, including without limitation
                any such mechanism used to restrict or control the functionality of
                the Ubiquiti Firmware, or (ii) to derive the source code or the
                underlying ideas, algorithms, structure or organization from the
                Ubiquiti Firmware (except that the foregoing limitation does not
                apply to the extent that such activities may not be prohibited under
                applicable law); or

                e.     distribute, rent, transfer or grant any rights in the Ubiquiti
                Firmware or modifications thereof or accompanying
                documentation in any form to any person without the prior written
                consent of Ubiquiti.



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              f.     remove any Ubiquiti copyright notice or Ubiquiti branding
              from the Ubiquiti Firmware or modify any user interface of the
              Ubiquiti Firmware or Ubiquiti Device.

       305.   The Firmware License Agreements provided that Cambium not do the following:

              remove or alter any copyright, trademark or other proprietary
              rights notices from the Software or Content, or use them in
              contravention of any such applicable notices;

              reverse engineer, decompile, translate, disassemble or otherwise
              attempt to (i) derive the source code or the underlying ideas,
              algorithms, structure or organization of any Software (except that
              the foregoing limitation does not apply to the extent that such
              activities may not be prohibited under applicable law); or (ii)
              defeat, avoid, bypass, remove, deactivate, or otherwise circumvent
              any software protection mechanisms in the Software, including,
              without limitation, any such mechanism used to restrict or control
              the functionality of the Software;

              use the Software in violation of any third-party rights or any local,
              state, national or international law or regulation, including, without
              limitation, any local country regulations related to operation within
              legal frequency channels, output power and Dynamic Frequency
              Selection (DFS) requirements;

       306.   Cambium breached the foregoing provisions of the Firmware License Agreements

by the conduct described herein.

       307.   Specifically, Cambium engaged in unauthorized copying and use of the proprietary

features of the Ubiquiti Firmware.

       308.   Cambium’s Elevate Firmware Update replaced numerous sections of the Ubiquiti

Firmware and used the Ubiquiti Firmware code in the resulting Elevate Firmware Update.

       309.   Cambium also modified the Ubiquiti Firmware and attempted to defeat, avoid,

bypass, remove, deactivate, or otherwise circumvent any software protection mechanisms in the

Ubiquiti Firmware, including mechanisms use to control the functioning of the Ubiquiti Firmware.




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       310.     Cambium also reverse engineered the Ubiquiti Firmware in order to create the

Cambium Elevate Firmware. The Cambium Elevate Firmware makes unauthorized copies and

use of various components of the Ubiquiti Firmware.

       311.     Cambium’s actions resulted in the unauthorized modification of the Ubiquiti

Firmware.

       312.     Cambium’s actions of illicit copying and modification of the Ubiquiti Firmware

were in violation of, inter alia, the copyright laws of the United States.

       313.     Cambium’s breaches of the End User Agreement are material and eviscerate the

limited use that Ubiquiti granted.

       314.     Cambium’s breaches have proximately and directly caused damage to Ubiquiti.

Users no longer have functioning Ubiquiti Firmware on their devices after installation of the

Cambium Hacked Firmware.

                               SEVENTH CLAIM FOR RELIEF
                               (Tortious Interference With Contract)
                                   (Asserted Against Cambium)

       315.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       316.     The Firmware License Agreements are binding and enforceable contracts.

       317.     Cambium had actual knowledge of the Firmware License Agreements and freely

entered into them by virtue of Cambium’s use of Ubiquiti M-series devices and firmware as

described above.

       318.     Cambium’s false and misleading advertisement and promotion of the Hacked

Firmware used to induce end users to install the Hacked Firmware on Ubiquiti M-series devices




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constitute intentional acts taken with knowledge that users would be induced into violating the

terms of their Firmware License Agreements with Ubiquiti.

       319.     Cambium configured the Hacked Firmware to make changes to the Ubiquiti

Firmware knowing that these changes would breach the express terms of Ubiquiti’s Firmware

License Agreements with end users.

       320.     Cambium’s interference with the Firmware License Agreements between Ubiquiti

and end users has harmed Ubiquiti by having induced and continuing to induce end users to violate

the terms of their Firmware License Agreements with Ubiquiti and causing damage to M-series

devices rendering them no longer compatible with Ubiquiti protocols used to communicate with

other Ubiquiti devices, causing, inter alia, lost sales, infringement and reputational harm.

                                EIGHTH CLAIM FOR RELIEF
                                     (Unfair Competition)
                                  (Asserted Against Cambium)

       321.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       322.     Ubiquiti has invested considerable money and time into developing the Ubiquiti

Firmware.

       323.     Cambium has reverse engineered the Ubiquiti Firmware to reap the benefits of

Ubiquiti’s substantial investment of time and money and to free-ride on Ubiquiti’s costly

investment.

       324.     Cambium also unfairly benefits from Ubiquiti’s investment into development of

the Ubiquiti Firmware insofar as the Cambium Elevate Firmware makes use of and alters elements

from the Ubiquiti Firmware.




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       325.     Cambium, through its videos targeting Ubiquiti customers and posting on message

boards targeting Ubiquiti customers, has propagated false and misleading promotional materials

for the Hacked Firmware and maliciously interfered with Ubiquiti’s customer relationships in an

effort to mislead and induce those customers become customers of Cambium.

       326.     Cambium’s reverse engineering and use of Ubiquiti’s firmware in connection with

the launch of the Cambium’s Hacked Firmware for Ubiquiti M-series devices also constitutes

unfair competition.

       327.     Cambium’s Hacked Firmware is a competing product to Ubiquiti’s firmware for

M-series devices that is promoted with misleading statements and that after installation damages

Ubiquiti firmware on M-series devices.

       328.     Cambium and Ubiquiti are competitors in wireless devices and in the dissemination

of firmware for wireless devices.

       329.     Cambium’s alteration of the Ubiquiti firmware damages and otherwise dilutes the

quality of the Ubiquiti Firmware and harms Ubiquiti and its customers who purchased the Ubiquiti

product.

       330.     Cambium’s unfairly competitive behavior has proximately and directly caused

damage to Ubiquiti.

                                  NINTH CLAIM FOR RELIEF
                 (Intentional Interference with Prospective Economic Advantage)
                                    (Asserted Against Cambium)

       331.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       332.     Ubiquiti had a reasonable opportunity to obtain business advantage from customers

and prospective customers who would purchase and make use of the Ubiquiti firmware.




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       333.     Cambium was aware of Ubiquiti’s relationship with current customers and

expectations of obtaining business from its existing and other customers.

       334.     Indeed, Cambium specifically advertised the Hacked Firmware using deceptive and

misleading descriptions to Ubiquiti customers and prospective customers.

       335.     Cambium intentionally and unjustifiably interfered with Ubiquiti’s relationships

with current and prospective customers.

       336.     Cambium unjustifiably misled and induced customers of Ubiquiti to install the

Hacked Firmware in violation of Ubiquiti Firmware License Agreements, altering the Ubiquiti

firmware on Ubiquiti M-series devices so that customers of Ubiquiti could no longer use the

hacked M-series devices to communicate with other Ubiquiti devices using Ubiquiti wireless

protocols, but instead could communicate with Cambium products.

       337.     Cambium induced customers to terminate and not enter into certain business

relationships with Ubiquiti for the sale of Ubiquiti devices to communicate with the installed base

of hacked Ubiquiti M-series running the Hacked Firmware.

       338.     Ubiquiti has thus lost both current and prospective customers and sales as a result

of Cambium’s deceptive and misleading actions and has been damaged as a result.

                               TENTH CLAIM FOR RELIEF
          (Infringement of Registered Trademarks, § 32 Lanham Act, 15 U.S.C. § 1114)
                                  (Asserted Against Cambium)

       339.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       340.     Cambium, without authorization from Ubiquiti, is using in interstate commerce for

the purpose of promoting the downloading and use of Cambium’s Hacked Firmware on Ubiquiti’s

M-series devices, the following Ubiquiti registered trademarks: UBIQUITI®, NANOSTATION®,




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NANOBEAM®, NANOBRIDGE®, ROCKET®, and POWERBEAM®, in violation of § 32 of

the Lanham Act.

       341.     Cambium’s conduct is likely to have caused and will continue to cause confusion,

mistake and deception among consumers as to the source, origin, sponsorship or approval by

Ubiquiti of Cambium’s Hacked Firmware for Ubiquiti’s M-series devices.

       342.     Cambium’s conduct is willful and an intentional violation of Ubiquiti’s rights under

§ 32 of the Lanham Act, 15 U.S.C. § 1114.

                            ELEVENTH CLAIM FOR RELIEF
         (False Designation of Origin, § 43(a) Lanham Act, 15 U.S.C. § 1125(a)(1)(A))
                                 (Asserted Against Cambium)

       343.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       344.     Cambium, without authorization from Ubiquiti, is using Ubiquiti trademarks,

including UBIQUITI®, NANOSTATION®, NANOBEAM®, NANOBRIDGE®, ROCKET®,

and POWERBEAM®, for the purpose of promoting the downloading and use of its Hacked

Firmware on Ubiquiti’s M-series devices, in violation of § 43(a) of the Lanham Act.

       345.     Cambium’s conduct is likely to have caused and will continue to cause confusion,

mistake and deception among consumers as to the source, origin, sponsorship or approval by

Ubiquiti of Cambium’s Hacked Firmware for Ubiquiti’s M-series devices.

       346.     Cambium’s conduct is willful and an intentional violation of Ubiquiti’s rights under

§ 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).




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                               TWELFTH CLAIM FOR RELIEF
                             (Common Law Trademark Infringement)
                                 (Asserted Against Cambium)

       347.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       348.     Cambium, without authorization from Ubiquiti, is using Ubiquiti trademarks,

including UBIQUITI, NANOSTATION, NANOBEAM, NANOBRIDGE, ROCKET, and

POWERBEAM, for the purpose of promoting the downloading and use of its Hacked Firmware

on Ubiquiti’s M-series devices, in violation of § 43(a) of the Lanham Act.

       349.     Cambium’s conduct is likely to have cause and will continue to cause confusion,

mistake and deception among consumers as to the source, origin, sponsorship or approval by

Ubiquiti of Cambium’s Hacked Firmware for Ubiquiti’s M-series devices.

       350.     Cambium’s conduct is willful and an intentional violation of Ubiquiti’s common

law trademark rights.

                            THIRTEENTH CLAIM FOR RELIEF
                              (Common Law Misappropriation)
                                (Asserted Against Cambium)

       351.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       352.     Ubiquiti invested considerable time and money into developing its Ubiquiti

firmware, Ubiquiti M-series devices, and its brand recognition.

       353.     Cambium misappropriated the Ubiquiti firmware, by distributing Hacked Firmware

that still uses Ubiquiti firmware, deceiving customers regarding the nature of the Hacked

Firmware, and inducing such customers to alter the Ubiquiti firmware on Ubiquiti M-series




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devices with the Hacked Firmware in violation of the Ubiquiti Firmware License Agreements at

little or no cost to Cambium.

       354.     Cambium has also improperly traded and attempted to induce business for itself by

misusing the Ubiquiti name deceiving customers regarding the nature of the Hacked Firmware to

induce customers to hack Ubiquiti M-series devices and purchase and install Cambium products.

       355.     As a direct and proximate result of Cambium’s misappropriation of Ubiquiti’s

firmware, Ubiquiti M-series devices, and its brand recognition, Cambium has obtained new

customers and a free ride from the use of Ubiquiti’s firmware because Cambium bore little or no

expense in acquiring customers and inducing those customers to alter and continue to use portions

of the Ubiquiti firmware.

       356.     As a direct and proximate result of Cambium’s misappropriation of Ubiquiti’s

firmware, Ubiquiti M-series devices, and its brand recognition, Ubiquiti has suffered damages,

including reputational harm, loss of business, and commercial damage in the marketplace.



                           FOURTEENTH CLAIM FOR RELIEF
  (Violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c))
                                  (Asserted Against Cambium)

       357.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       358.     Cambium, Cambium Networks, Winncom, Dmitry Moiseev, and Sakid Ahmed

comprise the Hacking Enterprise. The Hacking Enterprise is an association-in-fact enterprise

engaged in activities that affect interstate commerce.

       359.     Cambium oversees the Hacking Enterprise running its day-to-day operations, with

Winncom serving Cambium’s needs within the Hacking Enterprise.




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        360.    Winncom reports to Cambium regarding its distribution and sales.

        361.    Cambium, in turn, keeps Cambium Networks apprised of the Hacking Enterprises’

activities, profits, and distributions thereof.

        362.    Cambium agreed to and did conduct and participate in the conduct of the Hacking

Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose of

intentionally defrauding consumers into installing the Hacked Firmware, which in turn ensured

financial gains for the Hacking Enterprise members above and beyond those which the members

would have received had then been engaging solely in lawful activities.

        363.    To the extent known at this time and to be further developed through discovery of

information exclusively within the possession, custody, control and knowledge of the Hacking

Enterprise members, that pattern includes related acts of mail fraud and wire fraud, including, but

not limited to the activities described in paragraphs 93-105, 110-126, 160, supra.

        364.    Cambium was involved in each of these racketeering acts, specifically orchestrating

and arranging for the racketeering acts to occur through the Hacking Enterprise.

        365.    The acts set forth above, which happened over a period of years, constitute a pattern

of racketeering activity pursuant to 18 U.S.C. § 1961(5).

        366.    Because the Hacking Enterprise directly targeted Ubiquiti customers, Ubiquiti has

lost customers as a result of the Hacking Enterprises’ activities.

        367.    Given false and misleading statements and material omissions made by the

members of the Hacking Enterprise through the wires and mail, Ubiquiti has lost consumer good

will in the market place and its brand reputation has been harmed.

        368.    As a direct and proximate result of Cambium’s racketeering activities and

violations of 18 U.S.C. § 1962(c), Ubiquiti has been injured in its business and property in that:




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Ubiquiti has lost customers and customers were induced to breach the terms of the Ubiquiti’s

Firmware Licensing Agreements, Ubiquiti’s M-series devices and licensed firmware have been

damaged by eliminating their compatibility with other Ubiquiti networking devices using Ubiquiti

protocols, and Ubiquiti’s licensed intellectual property rights have been violated, in each case

through installation of the Hacked Firmware.

       369.     Thus, Ubiquiti prays that the Court compensate Ubiquiti for Cambium’s

racketeering activities and grant Ubiquiti legal relief to remedy Cambium’s RICO violations.

       370.     As a result of Cambium’s RICO violations, Ubiquiti has lost sales and prospective

sales to consumers, in an amount to be determined at trial. Specifically, customers of Ubiquiti

have—at the direction and bequest of Cambium and after hearing Cambium’s false and inaccurate

statements—installed the Hacked Firmware altering their Ubiquiti devices rendering them unable

able to communicate with other Ubiquiti products using Ubiquiti protocols.

       371.     Cambium should be ordered to pay to Ubiquiti damages for Cambium’s RICO

violations which have resulted in the concrete financial losses outlined herein.

       372.     Ubiquiti is entitled to treble damages for the RICO violations alleged herein

                            FIFTEENTH CLAIM FOR RELIEF
  (Violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(d))
  (Asserted Against Cambium Networks, Blip, Winncom, Sakid Ahmed, and Dmitry Moiseev)

       373.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       374.     In commission of the racketeering acts set forth herein, each member of the

Hacking Enterprise and co-conspirator Blip conspired to violate the RICO statute in violation of

18 U.S.C. § 1962(d).




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        375.   Specifically, the Hacking Enterprise members and co-conspirator Blip worked

together to ensure financial gain at the expense of Ubiquiti’s copyrights, trademarks, and customer

base.

        376.   The members of the Hacking Enterprise worked together to exceed the permissible

and ordinary scope of a manufacturer-distributor relationship. So too did co-conspirator Blip work

with Cambium to exceed the ordinary scope of a manufacturer-distributor relationship.

        377.   The members of the Hacking Enterprise conspired together to promote false

advertisement to customers through webinars and in person demonstrations involved the Hacked

Firmware.

        378.   Each of the members of the Hacking Enterprise as well as co-conspirator Blip were

aware of the fraudulent nature and scope of the Hacking Enterprise and agreed to assist the Hacking

Enterprise in carrying out its fraudulent acts.

        379.   Each of the members of the Hacking Enterprise agreed to the commission of, or

participate in, at least two of the racketeering acts described herein. So too did Blip.

        380.   Indeed, each of the members of the Hacking Enterprise was aware of the Hacking

Enterprise and received direct personal financial gain from the activities of the Hacking Enterprise.

Likewise, Blip received direct financial benefit as a result of the Hacking Enterprise’s activities.

        381.   Each of the members of the Hacking Enterprise and co-conspirator Blip intended

to and in fact did further the purposes of the Hacking Enterprise.

        382.   Each of the members of the Hacking Enterprise and co-conspirator Blip engaged in

the RICO conspiracy in order to further their own personal interests and ensure financial health

for themselves individually.




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       383.    Each of the members of the Hacking Enterprise and co-conspirator Blip wanted to

harm Ubiquiti’s goodwill and customer standing in the market place.

       384.    Each of the members of the Hacking Enterprise was aware of Cambium’s control

and worked together to further that control. Blip likewise aided Cambium in its control of the

Hacking Enterprise and profit seeking motive.

       385.    Cambium took the control of the Enterprise.

       386.    Cambium Networks placed Cambium at the helm and allowed Cambium to run the

U.S. sales and operations of the Hacked Firmware.

       387.    Dmitry Moiseev and Sakid Ahmed advertised the Hacked firmware, monitored web

boards pertaining to the Hacked Firmware, and answered individual questions from users

regarding the Hacked Firmware.

       388.    Blip and Winncom conspired with Cambium to ensure Cambium’s position of

control in the Hacking Enterprise and supported Cambium’s efforts to market the Hacked

Firmware.

       389.    Cambium Networks provided financial support to Cambium to ensure its position

as the leader of the Hacking Enterprise and also authorized discounts and personal financial gains

for Blip and Winncom.

       390.    The members of the Hacking Enterprise knew that their actions were part of a

pattern of racketeering activity and agreed to commit their actions in furtherance of the scheme

described herein. This conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation

of 18 U.S.C. § 1962(d).

       391.    Blip likewise worked with Cambium to ensure Cambium’s role as the lead of the

Hacking Enterprise, and knew that Cambium was carrying out a pattern of racketeering activity




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along with various other members of the Hacking Enterprise and agreed to have Cambium commit

its racketeering activities along with co-conspirators in furtherance of the scheme described herein.

This conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. §

1962(d).

        392.    Each of the members of the Hacking Enterprise and co-conspirator Blip were aware

that Cambium was directly targeting Ubiquiti customers and making misleading claims implying

that the Hacked Firmware was appropriately used with Ubiquiti products.

        393.    The Hacking Enterprise is an enterprise engaged in and whose activities affect

interstate commerce.

        394.    As a direct and proximate result of the Hacking Enterprise’s conspiracy, conspiracy

with Blip, and RICO violations flowing therefrom, Ubiquiti has been injured in its business and

property in that Ubiquiti has lost customers, had its copyrights and trademarks violated by the

Hacking Enterprise, and had its M-series devices converted to ones that are no longer FCC

complaint and not compatible with Ubiquiti protocols used to communicate with other products

sold by Ubiquiti.

        395.    Thus, Ubiquiti prays that the Court remedy the co-conspirators racketeering

activities and grant Ubiquiti legal relief.

        396.    As a result of the co-conspirators’ RICO violations, Ubiquiti has lost sales and

prospective sales to consumers, in an amount to be determined at trial. Specifically, customers of

Ubiquiti have—at the direction and bequest of Cambium and after hearing Cambium’s false and

inaccurate statements—installed the Hacked Firmware converting their Ubiquiti devices to ones

no longer compliant with FCC rules and not compatible with Ubiquiti protocols used to

communicate with other products sold by Ubiquiti.




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        397.    Ubiquiti is entitled to damages for the Hacking Enterprise’s RICO violations,

carried out with the knowing assistance of co-conspirator Blip, which have resulted in the concrete

financial losses outlined herein in the form of lost profits and customers.

        398.    Ubiquiti is entitled to treble damages for the RICO violations alleged herein.

                                     RELIEF REQUESTED

        WHEREFORE, Ubiquiti Networks, Inc. requests judgment against Defendants and seeks

relief, as follows:

        A.      That judgment be entered for Ubiquiti and against Defendants on all Counts;

        B.      That this Court find that Cambium violated the Computer Fraud and Abuse Act;

        C.      That this Court find that Cambium has willfully engaged in false advertising in the

promotion of its Hacked Firmware for Ubiquiti M-series devices;

        D.      That this Court find that Cambium breached its contract with Ubiquiti by violating

the Ubiquiti Firmware License Agreements associated with the Ubiquiti Firmware and Ubiquiti

M-series devices;

        E.      That Cambium, its officers, directors, agents, employees, affiliates, subsidiaries,

and all other persons acting in concert with them, be temporarily, preliminarily, and permanently

enjoined from directly or indirectly creating, distributing or promoting Hacked Firmware.

        F.      That Cambium be required to account for all gains, profits, and advantages derived

from their acts of hacking, false advertising, and infringement and for their other violations of law;

        G.      That Ubiquiti be awarded its actual damages and any profits attributable to

Defendants’ causing damage and loss to Ubiquiti by virtue of its hacking and distribution of

Hacked Firmware targeting Ubiquiti M-series devices to Ubiquiti’s customers, false advertising

directed to Ubiquiti’s customers, tortious interference and unfair competition directed towards




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Ubiquiti’s customers and other trademark infringement, copyright infringement and violations of

state and federal law.

       H.      That Defendants be required to deliver for impounding during the pendency of this

action, and for destruction, all copies, reproductions, or derivative works of Ubiquiti Firmware or

Hacked Firmware in Cambium’s possession, custody or control and other promotional material

targeting Hacked Firmware for Ubiquiti products;

       I.      That Defendants be required to retrieve and destroy all copies of the Hacked

Firmware provided to distributors, customers and other agents and cancel all “licenses” to the

Hacked Firmware.

       J.      That Defendants be required to delete permanently from Defendants’ computers

and information technology systems all electronic copies of Ubiquiti Firmware and the Hacked

Firmware;

       K.      That Defendants be required to delete permanently, from any website that they own

or control, all copies or reproductions of the Hacked Firmware and related promotional materials;

       L.      The Court award actual, exemplary and treble damages for the RICO violations.

       M.      That Ubiquiti be awarded reasonable attorneys’ fees and costs incurred in

connection with this action, including, but not limited to, reasonable attorneys’ fees and costs

incurred in connection with Defendants’ violation of the Computer Fraud and Abuse Act, the

Illinois Computer Crime Prevention Law, the Lanham Act, the Copyright Act, and the RICO Act.

       N.      That a jury hear Ubiquiti’s claims; and,

       O.      That this Court grant any such other and further relief as it deems just and proper.




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Dated: August 7, 2018                   Respectfully submitted,

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   LSZbfZeZ ^Rj& Z_ Zed d`]V R_U RSd`]feV UZdTcVeZ`_& TYR_XV eYV eVc^d `W eYZd <LC7 Wc`^ eZ^V e` eZ^V& Rd
   Z_UZTReVU Sj eYV UReV Re eYV V_U `W eYZd <LC7( @W P`f `S[VTe e` R_j dfTY TYR_XV& P`fc d`]V cVT`fcdV hZ]]
   SV e` TVRdV fdZ_X eYV J`WehRcV( 9`_eZ_fVU fdV `W eYV J`WehRcV W`]]`hZ_X R_j dfTY TYR_XV hZ]] Z_UZTReV
   P`fc RT\_`h]VUXV^V_e `W dfTY TYR_XV R_U RXcVV^V_e e` SV S`f_U Sj eYV _Vh eVc^d R_U T`_UZeZ`_d(

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             hVSdZeVd Y`deVU Sj LSZbfZeZ `c Zed RWr]ZReVd& $,% dVcgZTVd RTTVddZS]V `c U`h_]`RURS]V eYc`fXY eYV
             JZeVd& $-% d`WehRcV eYRe ^Rj SV U`h_]`RUVU e` P`fc d^RceaY`_V `c eRS]Ve e` RTTVdd dVcgZTVd R_U
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             D`SZ]V 7aad Zd X`gVc_VU Sj eYV KVc^d `W JVcgZTV( P`fc afcTYRdV `W eYV Gc`UfTe $ViT]fUZ_X eYV
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             T`_ecRTe hZeY LSZbfZeZ R_U `_]j ZW P`f RcV Z_ T`^a]ZR_TV hZeY eYV eVc^d `W eYZd <LC7 R_U R]]
             Raa]ZTRS]V ]Rhd R_U cVXf]ReZ`_d( @W P`f RcV RTTVaeZ_X eYV eVc^d `W eYZd <LC7 `_ SVYR]W `W R_
             V_eZej `c Z_UZgZUfR]& P`f cVacVdV_e R_U hRccR_e eYRe P`f YRgV Wf]] ]VXR] RfeY`cZej e` SZ_U dfTY
             V_eZej `c Z_UZgZUfR] e` eYZd <LC7( P`f RcV Wf]]j cVda`_dZS]V W`c R_j 7feY`cZkVU LdVcod T`^a]ZR_TV
             hZeY eYZd <LC7(
          U( @W P`f RcV R_ 7feY`cZkVU LdVc& P`f cVacVdV_e R_U hRccR_e eYRe P`f RcV `gVc eYV RXV `W +- $`c
             VbfZgR]V_e ^Z_Z^f^ RXV Z_ eYV [fcZdUZTeZ`_ hYVcV P`f cVdZUV `c RTTVdd `c fdV eYV J`WehRcV%& R_U
             Z_ eYV VgV_e P`f RcV SVehVV_ eYV RXV `W +- $`c VbfZgR]V_e ^Z_Z^f^ RXV Z_ eYV [fcZdUZTeZ`_
             hYVcV j`f cVdZUV `c RTTVdd `c fdV eYV J`WehRcV% R_U eYV RXV `W ^R[`cZej Z_ eYV [fcZdUZTeZ`_
             hYVcV P`f cVdZUV `c RTTVdd `c fdV eYV J`WehRcV& eYRe P`f hZ]] `_]j fdV eYV J`WehRcV f_UVc eYV
             dfaVcgZdZ`_ `W R aRcV_e `c ]VXR] XfRcUZR_ hY` RXcVVd e` SV S`f_U Sj eYZd <LC7( 7_j fdV `c
             RTTVdd e` eYV J`WehRcV Sj Z_UZgZUfR]d f_UVc eYV RXV `W +- $`c VbfZgR]V_e ^Z_Z^f^ RXV Z_ eYV
             [fcZdUZTeZ`_ hYVcV j`f cVdZUV `c RTTVdd `c fdV eYV JVcgZTVd% Zd decZTe]j ac`YZSZeVU R_U R gZ`]ReZ`_
             `W eYZd <LC7(

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          R( 0F@BJOB +N>JP( JfS[VTe e` P`fc T`^a]ZR_TV Re R]] eZ^Vd hZeY eYV eVc^d R_U cVdecZTeZ`_d dVe W`ceY
             Z_ eYZd <LC7& LSZbfZeZ XcR_ed P`f& f_UVc Zed cZXYed Z_ R_U e` eYV J`WehRcV& R h`c]UhZUV& _`_'
             dfS]ZTV_dRS]V& _`_'ecR_dWVcRS]V& _`_'ViT]fdZgV& cVg`TRS]V& ]Z^ZeVU ]ZTV_dV e` U`h_]`RU R_U fdV
             eYV J`WehRcV Z_ `S[VTe T`UV W`c^ `_]j& d`]V]j Z_ T`__VTeZ`_ hZeY eYV Gc`UfTe eYRe P`f `h_ `c
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                Z( KYV J`WehRcV& Zed T`_eV_ed& WVRefcVd R_U Wf_TeZ`_R]Zej $Z_T]fUZ_X& hZeY`fe ]Z^ZeReZ`_& R]] fdVc
                   Z_eVcWRTVd& Z_W`c^ReZ`_& d`WehRcV& T`UV& eVie& XcRaYZTd& Z^RXVd& gZUV` R_U RfUZ`& R_U eYV
                   UVdZX_& dV]VTeZ`_ R_U RccR_XV^V_e eYVcV`W% $T`]]VTeZgV]j& eYV p'KJPBJPq% RcV ac`eVTeVU Sj
                   L_ZeVU JeReVd R_U Z_eVc_ReZ`_R] T`ajcZXYe& ecRUV^Rc\& aReV_e& ecRUV dVTcVe R_U `eYVc
                   Z_eV]]VTefR] ac`aVcej `c ac`acZVeRcj cZXYed ]Rhd(
               ZZ( P`f dYR]] _`e UZcVTe]j `c Z_UZcVTe]j U` R_j `W eYV W`]]`hZ_X4
                    +( fdV eYV J`WehRcV `_ R_j UVgZTV `eYVc eYR_ R Gc`UfTe eYRe Zd `h_VU `c T`_ec`]]VU Sj P`f
                       `c P`fc SfdZ_Vdd `cXR_ZkReZ`_5
                    ,( dV]]& `WWVc W`c dR]V& ]VRdV& ]ZTV_dV& dfS]ZTV_dV `c UZdecZSfeV eYV J`WehRcV `c R_j 9`_eV_e Z_
                       R_j W`c^ hZeY`fe eYV acZ`c hcZeeV_ T`_dV_e `W LSZbfZeZ5
                    -( T`aj& cVac`UfTV& Sc`RUTRde& ecR_d^Ze& cVafS]ZdY& UZdecZSfeV& ^`UZWj& acVaRcV UVcZgReZgV
                       h`c\d `W& aVcW`c^& afS]ZT]j aVcW`c^ `c UZda]Rj eYV J`WehRcV `c R_j 9`_eV_e Z_ R_j hRj
                       hZeY`fe eYV acZ`c hcZeeV_ T`_dV_e `W LSZbfZeZ R_U Zed Raa]ZTRS]V ]ZTV_d`cd5
                    .( cV^`gV `c R]eVc R_j T`ajcZXYe& ecRUV^Rc\ `c `eYVc ac`acZVeRcj cZXYed _`eZTVd Wc`^ eYV
                       J`WehRcV `c 9`_eV_e& `c fdV eYV^ Z_ T`_ecRgV_eZ`_ `W R_j dfTY Raa]ZTRS]V _`eZTVd5
                    /( cVgVcdV V_XZ_VVc& UVT`^aZ]V& ecR_d]ReV& UZdRddV^S]V `c `eYVchZdV ReeV^ae e` $Z% UVcZgV
                       eYV d`fcTV T`UV `c eYV f_UVc]jZ_X ZUVRd& R]X`cZeY^d& decfTefcV `c `cXR_ZkReZ`_ `W R_j
                       J`WehRcV $ViTVae eYRe eYV W`cVX`Z_X ]Z^ZeReZ`_ U`Vd _`e Raa]j e` eYV VieV_e eYRe dfTY
                       RTeZgZeZVd ^Rj _`e SV ac`YZSZeVU f_UVc Raa]ZTRS]V ]Rh%5 `c $ZZ% UVWVRe& Rg`ZU& SjaRdd&
                       cV^`gV& UVRTeZgReV& `c `eYVchZdV TZcTf^gV_e R_j d`WehRcV ac`eVTeZ`_ ^VTYR_Zd^d Z_ eYV
                       J`WehRcV& Z_T]fUZ_X& hZeY`fe ]Z^ZeReZ`_& R_j dfTY ^VTYR_Zd^ fdVU e` cVdecZTe `c T`_ec`]
                       eYV Wf_TeZ`_R]Zej `W eYV J`WehRcV5
                    0( fdV eYV J`WehRcV Z_ gZ`]ReZ`_ `W R_j eYZcU'aRcej cZXYed `c R_j ]`TR]& deReV& _ReZ`_R] `c
                       Z_eVc_ReZ`_R] ]Rh `c cVXf]ReZ`_& Z_T]fUZ_X& hZeY`fe ]Z^ZeReZ`_& R_j ]`TR] T`f_ecj
                       cVXf]ReZ`_d cV]ReVU e` `aVcReZ`_ hZeYZ_ ]VXR] WcVbfV_Tj TYR__V]d& `feafe a`hVc R_U
                       ;j_R^ZT =cVbfV_Tj JV]VTeZ`_ $;=J% cVbfZcV^V_ed5
                    1( gZ`]ReV R_j RTT`^aR_jZ_X fdVc `c eVTY_ZTR] ^R_fR]d& ecRZ_Z_X ^ReVcZR]d& daVTZrTReZ`_d `c
                       `eYVc U`Tf^V_eReZ`_ aVceRZ_Z_X e` R_j J`WehRcV& hYVcV Z_ UZXZeR] `c acZ_eVU W`c^Re5
                    2( V_XRXV Z_ R_j ?ZXY IZd\ 7TeZgZeZVd $Rd UVr_VU Z_ JVTeZ`_ $M%$S%$ZZ%%5
                    3( cV]VRdV eYV cVdf]ed `W R_j aVcW`c^R_TV `c Wf_TeZ`_R] VgR]fReZ`_ `W R_j `W eYV J`WehRcV e`
                       R_j eYZcU aRcej hZeY`fe acZ`c hcZeeV_ Raac`gR] `W LSZbfZeZ W`c VRTY dfTY cV]VRdV5 `c
                   +*( TcVReV R dfSdeR_eZR]]j dZ^Z]Rc d`WehRcV e` eYV J`WehRcV& `c R_j T`^a`_V_e eYVcV`W(

              ZZZ( P`f RcV cVda`_dZS]V W`c `SeRZ_Z_X& ac`aVc]j Z_deR]]Z_X R_U ^RZ_eRZ_Z_X eYV J`WehRcV R_U R_j
                   `eYVc dVcgZTVd `c ac`UfTed _VVUVU W`c RTTVdd e` R_U fdV `W eYV J`WehRcV& R_U W`c aRjZ_X R]]
                   TYRcXVd cV]ReVU eYVcVe`(

            T( 7EFNA 4>NPU 6KCPS>NB(
                Z( 9VceRZ_ d`WehRcV Z_T]fUVU Z_& UZdecZSfeVU hZeY `c U`h_]`RUVU Z_ T`__VTeZ`_ hZeY eYV
                   J`WehRcV ^Rj T`^acZdV eYZcU aRcej ac`acZVeRcj d`WehRcV ac`UfTed eYRe RcV dfS[VTe e`
                   dVaRcReV ]ZTV_dV eVc^d $p7EFNA 4>NPU 6KCPS>NBq%( 7]] dfTY KYZcU GRcej J`WehRcV ^Rj Z_T]fUV

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                    d`WehRcV `c d`WehRcV T`^a`_V_ed eYRe RcV UVcZgVU& Z_ hY`]V `c Z_ aRce& Wc`^ d`WehRcV eYRe Zd
                    UZdecZSfeVU Rd WcVV d`WehRcV& `aV_ d`fcTV d`WehRcV `c f_UVc dZ^Z]Rc ]ZTV_dZ_X `c UZdecZSfeZ`_
                    ^`UV]d $p3LBJ 6KQN@B 6KCPS>NB&q e`XVeYVc hZeY KYZcU GRcej J`WehRcV& p)TPBNJ>H 6KCPS>NBq%(
                ZZ( P`fc fdV `W <ieVc_R] J`WehRcV Zd dfS[VTe Z_ R]] TRdVd e` eYV Raa]ZTRS]V ]ZTV_dVd Wc`^ eYV
                    <ieVc_R] J`WehRcV ac`gZUVc& hYZTY dYR]] eR\V acVTVUV_TV `gVc eYV cZXYed R_U cVdecZTeZ`_d
                    XcR_eVU Z_ eYZd <LC7 d`]V]j hZeY cVdaVTe e` dfTY <ieVc_R] J`WehRcV( P`f dYR]] T`^a]j hZeY
                    eYV eVc^d `W R]] Raa]ZTRS]V KYZcU GRcej J`WehRcV R_U FaV_ J`fcTV J`WehRcV ]ZTV_dVd& ZW R_j(
                    9`ajcZXYed e` FaV_ J`fcTV J`WehRcV RcV YV]U Sj eYVZc cVdaVTeZgV T`ajcZXYe Y`]UVcd
                    Z_UZTReVU Z_ eYV T`ajcZXYe _`eZTVd Z_ eYV T`ccVda`_UZ_X d`fcTV r]Vd( KYV J`WehRcV ^Rj
                    Z_T]fUV d`WehRcV UVgV]`aVU Sj eYV FaV_JJC Gc`[VTe W`c fdV Z_ eYV FaV_JJC K``]\Ze
                    $Yeea4))hhh(`aV_dd](`cX)%(
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                    JL9? <OK<IE7C JF=KN7I<& @E9CL;@E> N@K? I<JG<9K KF =LE9K@FE7C@KP F=
                    JL9? <OK<IE7C JF=KN7I<( LSZbfZeZ U`Vd _`e ac`gZUV R_j hRccR_ej& ^RZ_eV_R_TV&
                    eVTY_ZTR] `c `eYVc dfaa`ce W`c R_j <ieVc_R] J`WehRcV( 7TT`cUZ_X]j& LSZbfZeZ Zd _`e
                    cVda`_dZS]V W`c P`fc fdV `W R_j <ieVc_R] J`WehRcV `c R_j aVcd`_R] Z_[fcj& UVReY& ac`aVcej
                    UR^RXV $Z_T]fUZ_X& hZeY`fe ]Z^ZeReZ`_& e` P`fc Y`^V%& `c `eYVc YRc^ `c ]`ddVd RcZdZ_X Wc`^ `c
                    cV]ReZ_X e` P`fc fdV `W R_j <ieVc_R] J`WehRcV(

            U( -JPBHHB@PQ>H 4NKLBNPU 3SJBNOEFL$ 7N>AB 6B@NBPO# 7]] T`ajcZXYed& ecRUV dVTcVed& aReV_ed&
               ecRUV^Rc\d& ecRUV dVTcVed R_U `eYVc Z_eV]]VTefR] ac`aVcej R_U ac`acZVeRcj cZXYed Z_ R_j
               [fcZdUZTeZ`_ h`c]UhZUV $T`]]VTeZgV]j& p-JPBHHB@PQ>H 4NKLBNPU 5FDEPOq% Z_ R_U e` eYV J`WehRcV R_U
               eYV 9`_eV_e RcV eYV d`]V ac`aVcej `W LSZbfZeZ `c Zed ]ZTV_d`cd( P`f U` _`e YRgV `c cVTVZgV R_j
               eZe]V `c Z_eVcVde Z_ `c e` eYV J`WehRcV& eYV 9`_eV_e& `c eYV @_eV]]VTefR] Gc`aVcej IZXYed T`_eRZ_VU
               eYVcVZ_ eYc`fXY P`fc fdV `W eYV J`WehRcV `c `eYVchZdV( <iTVae Rd ViacVdd]j XcR_eVU e` P`f
               f_UVc eYV ]Z^ZeVU ]ZTV_dV dVe W`ceY Z_ JVTeZ`_ @@$R% `W eYZd <LC7& LSZbfZeZ U`Vd _`e XcR_e R_j
               ViacVdd `c Z^a]ZVU cZXYe e` P`f f_UVc R_j `W Zed @_eV]]VTefR] Gc`aVcej IZXYed( P`f WfceYVc
               RT\_`h]VUXV R_U RXcVV eYRe eYV J`WehRcV T`_eRZ_d eYV gR]fRS]V ecRUV dVTcVed R_U ac`acZVeRcj
               Z_W`c^ReZ`_ `W LSZbfZeZ R_U Zed RWr]ZReVd( P`f RXcVV e` Y`]U dfTY ecRUV dVTcVed R_U ac`acZVeRcj
               Z_W`c^ReZ`_ Z_ T`_rUV_TV R_U P`f RT\_`h]VUXV eYRe R_j RTefR] `c eYcVReV_VU ScVRTY `W eYZd
               `S]ZXReZ`_ hZ]] T`_deZefeV Z^^VUZReV& ZccVaRcRS]V YRc^ W`c hYZTY ^`_VeRcj UR^RXVd h`f]U SV
               R_ Z_RUVbfReV cV^VUj& R_U eYRe Z_[f_TeZgV cV]ZVW Zd R_ Raac`acZReV cV^VUj W`c dfTY ScVRTY(
            V( 7N>ABI>NGO# 7]] ecRUV^Rc\d& dVcgZTV ^Rc\d& ecRUV _R^Vd R_U ]`X`d R_U eYV X``UhZ]] Rdd`TZReVU
               eYVcVhZeY $p1>NGOq% Z_T]fUVU `c UZda]RjVU Z_ eYV J`WehRcV `c 9`_eV_e RcV eYV ViT]fdZgV
               ac`aVcej `W LSZbfZeZ `c eYVZc cVdaVTeZgV Y`]UVcd( P`f RcV _`e aVc^ZeeVU e` fdV R_j `W eYV DRc\d
               hZeY`fe eYV Raa]ZTRS]V acZ`c hcZeeV_ T`_dV_e `W LSZbfZeZ `c dfTY cVdaVTeZgV Y`]UVcd(

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          R( LSZbfZeZ ^Rj& Wc`^ eZ^V e` eZ^V R_U Re Zed d`]V `aeZ`_& ac`gZUV aReTYVd& SfX riVd& T`ccVTeZ`_d&
             faUReVd& faXcRUVd& dfaa`ce R_U ^RZ_eV_R_TV cV]VRdVd `c `eYVc ^`UZrTReZ`_d e` eYV J`WehRcV&

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             Z_T]fUZ_X TVceRZ_ <ieVc_R] J`WehRcV& hYZTY ZeV^d dYR]] SV UVV^VU aRce `W eYV J`WehRcV R_U
             <ieVc_R] J`WehRcV YVcVf_UVc( PFL ?<I<8P 9FEJ<EK KF 7EP JL9? 7LKFD7K@9
             LG;7K<J( KYVdV ^Rj SV Rfe`^ReZTR]]j Z_deR]]VU hZeY`fe ac`gZUZ_X R_j RUUZeZ`_R] _`eZTV e` P`f
             `c cVTVZgZ_X P`fc RUUZeZ`_R] T`_dV_e( @W P`f U` _`e T`_dV_e& P`fc cV^VUj Zd e` de`a fdZ_X eYV
             J`WehRcV( E`ehZeYdeR_UZ_X eYV W`cVX`Z_X& LSZbfZeZ hZeYY`]Ud eYV cZXYe e` cVbfZcV P`f e` Z_deR]]
             R_j aReTYVd& SfX riVd& T`ccVTeZ`_d& faUReVd& faXcRUVd& dfaa`ce R_U ^RZ_eV_R_TV cV]VRdVd `c
             `eYVc ^`UZrTReZ`_d Z_ `cUVc e` RTTVdd R_U fdV eYV J`WehRcV(

   -9# 7BNI >JA 7BNIFJ>PFKJ# KYZd <LC7 hZ]] cV^RZ_ Z_ Wf]] W`cTV R_U VWWVTe d` ]`_X Rd P`f T`_eZ_fV e`
       RTTVdd `c fdV eYV J`WehRcV& `c f_eZ] eVc^Z_ReVU Z_ RTT`cUR_TV hZeY eYZd <LC7( P`f ^Rj UZdT`_eZ_fV
       P`fc fdV `W R_U RTTVdd e` eYV J`WehRcV Re R_j eZ^V( LSZbfZeZ hZ]] Rfe`^ReZTR]]j eVc^Z_ReV eYZd <LC7
       Re R_j eZ^V hZeY`fe _`eZTV e` j`f ZW j`f WRZ] e` T`^a]j hZeY R_j eVc^ `W eYZd <LC7( P`f ^Rj
       eVc^Z_ReV Ze Re R_j eZ^V fa`_ hcZeeV_ _`eZTV e` LSZbfZeZ Re ]VXR]6fS_e(T`^( La`_ R_j dfTY
       eVc^Z_ReZ`_& eYV ]ZTV_dVd XcR_eVU Sj eYZd <LC7 hZ]] Z^^VUZReV]j eVc^Z_ReV R_U j`f RXcVV e` de`a R]]
       RTTVdd R_U fdV `W eYV Gc`UfTe& J`WehRcV R_U U`Tf^V_eReZ`_ R_U UVdec`j eYV J`WehRcV R_U
       U`Tf^V_eReZ`_& e`XVeYVc hZeY R]] T`aZVd R_U ^VcXVU a`ceZ`_d Z_ R_j W`c^( KYV ac`gZdZ`_d eYRe Sj
       eYVZc _RefcV T`_eZ_fV R_U dfcgZgV hZ]] dfcgZgV R_j eVc^Z_ReZ`_ `W eYZd <LC7& Z_T]fUZ_X eY`dV dVe
       W`ceY Z_ eYZd JVTeZ`_d @@$U%& @@$V% R_U 7ceZT]Vd @M '@O(

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           K?< JF=KN7I< @J C@9<EJ<; p7J'@Jq 7E; p7J 7M7@C78C<q& N@K? 7CC =7LCKJ( L8@HL@K@
           ;F<J EFK D7B< 7EP N7II7EK@<J FI I<GI<J<EK7K@FEJ F= 7EP B@E;& N?<K?<I
           <OGI<JJ& @DGC@<;& JK7KLKFIP FI FK?<IN@J<& N@K? I<JG<9K KF 7EP JF=KN7I<&
           @E9CL;@E>& N@K?FLK C@D@K7K@FE& N7II7EK@<J F= D<I9?7EK78@C@KP& 799LI79P&
           HL7C@KP F= J<IM@9< FI I<JLCKJ& 7M7@C78@C@KP& J7K@J=79KFIP HL7C@KP& C79B F=
           M@ILJ<J& K@KC<& =@KE<JJ =FI 7 G7IK@9LC7I LJ< FI EFE'@E=I@E><D<EK& KF K?<
           <OK<EK 7LK?FI@Q<; 8P C7N( 7EP JK7K<D<EKJ FI I<GI<J<EK7K@FEJ 78FLK K?<
           JF=KN7I< 7E; @KJ =<7KLI<J FI =LE9K@FE7C@KP 7E; 7EP 9FDDLE@97K@FE N@K?
           PFL @J =FI @E=FID7K@FE GLIGFJ<J FECP& 7E; ;F<J EFK 9FEJK@KLK< 7 N7II7EKP
           FI I<GI<J<EK7K@FE( N@K?FLK C@D@K@E> K?< =FI<>F@E>& L8@HL@K@ <OGI<JJCP ;F<J
           EFK N7II7EK K?7K K?< 9FEK<EK& FG<I7K@FE& FLKGLK FI @DGC<D<EK7K@FE F=
           K?< JF=KN7I< N@CC4 $@% D<<K PFLI I<HL@I<D<EKJ5 $@@% 8< LE@EK<IILGK<;& <IIFI'
           =I<<& 799LI7K<& I<C@78C< FI 9FDGC<K<5 $@@@% 8< 9FDG7K@8C< N@K? PFLI ?FD<
           E<KNFIB& 9FDGLK<I FI DF8@C< ;<M@9<5 $@M% FI K?7K L8@HL@K@ FI 7EP K?@I;
           G7IKP N@CC I<JFCM< 7EP G7IK@9LC7I JLGGFIK I<HL<JK FI =@O 7EP <IIFIJ FI
           K?7K JL9? I<JFCLK@FE N@CC D<<K PFLI I<HL@I<D<EKJ FI <OG<9K7K@FEJ( PFL
           J?7CC 8<7I K?< <EK@I< I@JB 7J KF K?< HL7C@KP 7E; K?< G<I=FID7E9< F= K?<
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                   7CFE< FI N?<E @EK<I=79<; N@K? GIF;L9KJ FI K?@I;'G7IKP GIF;L9KJ FI
                   J<IM@9<J& 7I< EFK 9<IK@=@<; =FI <D<I><E9P I<JGFEJ<& 7E; 7I< EFK 7 K?@I;'
                   G7IKP DFE@KFI<; <D<I><E9P EFK@=@97K@FE JPJK<D( DF8@C< FI FK?<I
                   EFK@=@97K@FEJ I<>7I;@E> K?< JK7KLJ F= K?< JF=KN7I< 7I< EFK 7
                   JL8JK@KLK< =FI 7 K?@I;'G7IKP DFE@KFI<; <D<I><E9P EFK@=@97K@FE JPJK<D(
                   PFL 7>I<< K?7K PFL N@CC EFK I<CP FE K?< JF=KN7I< =FI <D<I><E9P
                   I<JGFEJ< FI 7EP FK?<I C@=< J7=<KP FI 9I@K@97C GLIGFJ<J(
               ZZ( E<@K?<I K?< JF=KN7I< EFI 7EP GIF;L9K @J ;<J@>E<;& D7EL=79KLI<; FI
                   @EK<E;<; =FI K?< FG<I7K@FE F= EL9C<7I =79@C@K@<J& 7@I KI7==@9 9FEKIFC&
                   <D<I><E9P I<JGFEJ<& <D<I><E9P 7E; J7=<KP J<IM@9<J& ?<7CK?97I<
                   =79@C@K@<J& ?FJG@K7CJ& C@=< JLGGFIK JPJK<DJ FI 7EP D@JJ@FE 9I@K@97C
                   <EM@IFED<EK& N?<I< K?< LJ< FI =7@CLI< F= K?< JF=KN7I< 9FLC; C<7; KF
                   ;<7K?& G<IJFE7C @EALIP FI <EM@IFED<EK7C ;7D7>< $9FCC<9K@M<CP& p,-+,
                   5-6/ %'7-9-7-)6q%( PFL 7>I<< K?7K PFL N@CC EFK LJ< K?< JF=KN7I< =FI 7EP
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            T( (>P> 6PKN>DB# LSZbfZeZ Zd _`e cVda`_dZS]V `c ]ZRS]V W`c eYV UV]VeZ`_ `W `c WRZ]fcV e` de`cV `c
               ac`TVdd R_j Z_W`c^ReZ`_ `c `eYVc T`_eV_e ac`gZUVU Sj P`f `c ecR_d^ZeeVU Z_ eYV T`fcdV `W fdZ_X
               eYV J`WehRcV( P`f RcV d`]V]j cVda`_dZS]V W`c dVTfcZ_X R_U SRT\Z_X fa dfTY dfS^ZddZ`_d(
            U( 9BNOFKJO# P`f RT\_`h]VUXV R_U RXcVV eYRe eYV J`WehRcV ac`gZUVU e` P`f f_UVc eYZd <LC7 ^Rj
               SV Z_ pSVeRq `c eVde W`c^& `c `eYVchZdV _`e Z_eV_UVU `c T`^a]VeVU W`c T`^^VcTZR] fdV R_U ^Rj
               eYVcVW`cV T`_eRZ_ Vcc`cd& SfXd `c dZ^Z]Rc f_deRS]V TYRcRTeVcZdeZTd _`e ejaZTR] `W T`^^VcTZR]]j
               cV]VRdVU ZeV^d( JfTY TYRcRTeVcZdeZTd ^Rj _VXReZgV]j RWWVTe eYV `aVcReZ`_ `W acVgZ`fd]j Z_deR]]VU
               d`WehRcV `c VbfZa^V_e( P`f RcV RUgZdVU e` dRWVXfRcU Z^a`ceR_e UReR& e` fdV TRfeZ`_ R_U _`e e`
               cV]j Z_ R_j hRj `_ eYV T`ccVTe Wf_TeZ`_Z_X `c aVcW`c^R_TV `W eYV d`WehRcV R_U RTT`^aR_jZ_X
               ^ReVcZR]d( P`f RT\_`h]VUXV eYRe eYV J`WehRcV ^Rj SV ac`gZUVU e` P`f Wc`^ eZ^V e` eZ^V Rd R
               ac`XcR^ aRceZTZaR_e d`]V]j W`c eYV afca`dV `W ac`gZUZ_X LSZbfZeZ hZeY WVVUSRT\ `_ eYV J`WehRcV
               R_U eYV ZUV_eZrTReZ`_ `W UVWVTed(

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           7==@C@7K<J& F==@9<IJ& <DGCFP<<J& ;@I<9KFIJ& J?7I<?FC;<IJ& 7><EKJ FI
           C@9<EJFIJ 8< C@78C< LE;<I 7EP K?<FIP F= C@78@C@KP $N?<K?<I @E 9FEKI79K&
           KFIK& JK7KLKFIP FI FK?<IN@J<% =FI 7EP ;7D7><J N?7KJF<M<I& @E9CL;@E>&
           N@K?FLK C@D@K7K@FE& ;@I<9K& @E;@I<9K& @E9@;<EK7C& JG<9@7C& 9FEJ<HL<EK@7C FI
           <O<DGC7IP ;7D7><J& @E9CL;@E>& N@K?FLK C@D@K7K@FE& ;7D7><J =FI CFJJ F=
           DFE<P& I<M<EL<J& GIF=@KJ& >FF;N@CC& LJ<& ;7K7 FI FK?<I @EK7E>@8C< CFJJ<J
           $<M<E @= JL9? G7IK@<J N<I< 7;M@J<; F=& BE<N F= FI J?FLC; ?7M< BEFNE F=
           K?< GFJJ@8@C@KP F= JL9? ;7D7><J%& I<JLCK@E> =IFD K?@J <LC7 FI K?<
           @EJK7CC7K@FE& D7@EK<E7E9<& G<I=FID7E9<& =7@CLI< FI @EK<IILGK@FE FI LJ< F=

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               N@K?FLK C@D@K7K@FE& E<>C@><E9<%& <M<E @= L8@HL@K@ ?7J 8<<E 7;M@J<; F= K?<
               GFJJ@8@C@KP F= JL9? ;7D7><J( @=& EFKN@K?JK7E;@E> K?<J< K<IDJ& L8@HL@K@ FI
               7EP F= @KJ JLGGC@<IJ 7I< =FLE; KF 8< C@78C<& K?< C@78@C@KP F= L8@HL@K@ FI @KJ
               JLGGC@<IJ FI K?<@I I<JG<9K@M< 7==@C@7K<J& F==@9<IJ& <DGCFP<<J& ;@I<9KFIJ&
               J?7I<?FC;<IJ& 7><EKJ FI C@9<EJFIJ KF PFL FI KF 7EP K?@I; G7IKP @J C@D@K<;
               KF FE< ?LE;I<; ;FCC7IJ $#+**%( K?@J C@D@K7K@FE @J 9LDLC7K@M< 7E; N@CC EFK 8<
               @E9I<7J<; 8P K?< <O@JK<E9< F= DFI< K?7E FE< @E9@;<EK FI 9C7@D(
            S( )T@HQOFKJO >JA 0FIFP>PFKJO# J`^V [fcZdUZTeZ`_d U` _`e R]]`h eYV ViT]fdZ`_ `W TVceRZ_ hRccR_eZVd
               `c eYV ]Z^ZeReZ`_ `c ViT]fdZ`_ `W ]ZRSZ]Zej W`c TVceRZ_ UR^RXVd( 7TT`cUZ_X]j& d`^V `W eYV RS`gV
               ]Z^ZeReZ`_d R_U UZdT]RZ^Vcd ^Rj _`e Raa]j e` P`f( K` eYV VieV_e eYRe LSZbfZeZ ^Rj _`e& Rd R
               ^ReeVc `W Raa]ZTRS]V ]Rh& UZdT]RZ^ R_j Z^a]ZVU hRccR_ej `c ]Z^Ze Zed ]ZRSZ]ZeZVd& eYV dT`aV R_U
               UfcReZ`_ `W dfTY hRccR_ej R_U eYV VieV_e `W LSZbfZeZod ]ZRSZ]Zej hZ]] SV eYV ^Z_Z^f^ aVc^ZeeVU
               f_UVc dfTY Raa]ZTRS]V ]Rh(

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       7E; @KJ C@9<EJFIJ 7E; JLGGC@<IJ& 7E; K?<@I I<JG<9K@M< 7==@C@7K<J& F==@9<IJ&
       <DGCFP<<J& ;@I<9KFIJ& J?7I<?FC;<IJ& 7><EKJ FI C@9<EJFIJ =IFD 7E; 7>7@EJK
       7EP 7E; 7CC 9C7@DJ& C@78@C@K@<J& ;7D7><J& CFJJ<J& 9FJKJ& <OG<EJ<J 7E; =<<J
       $@E9CL;@E> I<7JFE78C< 7KKFIE<PJo =<<J% K?7K JL9? G7IK@<J D7P @E9LI 7J 7 I<JLCK
       F= FI 7I@J@E> =IFD 7 M@FC7K@FE F= K?@J <LC7(

 9---# )TLKNP 5BOPNF@PFKJO#
        R( P`f RT\_`h]VUXV eYRe eYV J`WehRcV Zd `W L(J( `cZXZ_( P`f cVacVdV_e R_U hRccR_e eYRe $Z% P`f dYR]]
           SV d`]V]j cVda`_dZS]V W`c T`^a]jZ_X hZeY R]] Via`ce ]Rhd R_U cVdecZTeZ`_d R_U cVXf]ReZ`_d&
           Z_T]fUZ_X L_ZeVU JeReVd Via`ce cVXf]ReZ`_d& dfTY Rd cVdecZTeZ`_d `W eYV ;VaRce^V_e `W
           9`^^VcTV& eYV L_ZeVU JeReVd ;VaRce^V_e `W KcVRdfcj FWrTV `W =`cVZX_ 7ddVed 9`_ec`]
           $"3*%'"% `c `eYVc W`cVZX_ RXV_Tj `c RfeY`cZejod cVXf]ReZ`_d $")TLKNP 0>SO"%& R_U P`f dYR]] _`e
           $ZZ% Via`ce& `c R]]`h eYV Via`ce `c cV'Via`ce `W& eYV J`WehRcV Z_ gZ`]ReZ`_ `W R_j dfTY cVdecZTeZ`_d&
           ]Rhd `c cVXf]ReZ`_d& `c RgRZ]RS]V Z_ R_j T`f_ecj Z_ T`_ecRgV_eZ`_ `W R_j <ia`ce CRhd& `c R_j
           `eYVc ]Rh& _`c $ZZZ% ^R\V eYV J`WehRcV RgRZ]RS]V Z_ R T`f_ecj W`c hYZTY R_ Via`ce ]ZTV_dV `c `eYVc
           X`gVc_^V_eR] Raac`gR] Zd cVbfZcVU hZeY`fe rcde `SeRZ_Z_X R]] _VTVddRcj ]ZTV_dVd `c `eYVc
           Raac`gR]d( P`f dYR]] `SeRZ_ R_U SVRc R]] ViaV_dVd cV]ReZ_X e` R_j _VTVddRcj ]ZTV_dVd R_U
           ViV^aeZ`_d hZeY cVdaVTe e` eYV Via`ce Wc`^ eYV L(J( `W eYV J`WehRcV e` R_j ]`TReZ`_(
        S( P`f RT\_`h]VUXV eYRe eYV L(J( X`gVc_^V_e ^RZ_eRZ_d V^SRcX`Vd R_U dR_TeZ`_d RXRZ_de TVceRZ_
           T`f_ecZVd& TfccV_e]j Z_T]fUZ_X eYV 9cZ^VR cVXZ`_ `W L\cRZ_V& 9fSR& @cR_& E`ceY B`cVR& JfUR_ R_U
           JjcZR& hYZTY ^Rj SV R^V_UVU Wc`^ eZ^V e` eZ^V& Z_T]fUZ_X hZeY cVdaVTe e` ]ZdeVU T`f_ecZVd5 R_U
           eYRe `eYVc T`f_ecZVd ^Rj YRgV ecRUV ]Rhd aVceRZ_Z_X e` Z^a`ce& fdV& Via`ce `c UZdecZSfeZ`_ `W eYV
           J`WehRcV( P`f RT\_`h]VUXV eYRe& Z_ VRTY TRdV& T`^a]ZR_TV hZeY eYV dR^V Zd P`fc cVda`_dZSZ]Zej(
           P`f cVacVdV_e R_U hRccR_e eYRe P`f RcV _`e R aVcd`_ `c V_eZej ]ZdeVU `_ R_j L_ZeVU JeReVd
           >`gVc_^V_e ]Zde `W ac`YZSZeVU `c cVdecZTeVU aRceZVd(

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        R( +KRBNJFJD 0>S$ .QNFOAF@PFKJ# KYZd <LC7 dYR]] _`e SV X`gVc_VU Sj eYV +32* L(E( 9`_gV_eZ`_ `_
           9`_ecRTed W`c eYV @_eVc_ReZ`_R] JR]V `W >``Ud5 cReYVc& eYZd <LC7 dYR]] SV X`gVc_VU Sj eYV ]Rhd `W
           eYV JeReV `W EVh P`c\& Z_T]fUZ_X Zed L_ZW`c^ 9`^^VcTZR] 9`UV& hZeY`fe cVWVcV_TV e` T`_sZTed
           `W ]Rhd acZ_TZa]Vd( 7_j RTeZ`_ `c ac`TVVUZ_X cV]ReZ_X e` eYZd <LC7 ^fde SV Sc`fXYe Z_ R WVUVcR]
           `c deReV T`fce ]`TReVU Z_ EVh P`c\ R_U VRTY aRcej ZccVg`TRS]j dfS^Zed e` eYV [fcZdUZTeZ`_ R_U
           gV_fV `W R_j dfTY T`fce Z_ R_j dfTY T]RZ^ `c UZdafeV& ViTVae eYRe LSZbfZeZ ^Rj dVV\ Z_[f_TeZgV
           cV]ZVW Z_ R_j T`fce YRgZ_X [fcZdUZTeZ`_ e` ac`eVTe Zed T`_rUV_eZR] Z_W`c^ReZ`_ `c Z_eV]]VTefR]
           ac`aVcej(
        S( +KRBNJIBJP 4QNLKOBO# KYV J`WehRcV hRd UVgV]`aVU d`]V]j Re acZgReV ViaV_dV R_U Zd R
           pT`^^VcTZR] ZeV^q T`_dZdeZ_X `W pT`^^VcTZR] T`^afeVc d`WehRcVq R_U pT`^^VcTZR] T`^afeVc
           d`WehRcV U`Tf^V_eReZ`_q hZeYZ_ eYV ^VR_Z_X `W eYV Raa]ZTRS]V TZgZ]ZR_ R_U ^Z]ZeRcj =VUVcR]
           RTbfZdZeZ`_ cVXf]ReZ`_d R_U R_j dfaa]V^V_ed eYVcVe`& Rd R^V_UVU Wc`^ eZ^V e` eZ^V( @W eYV fdVc
           `W eYV J`WehRcV Zd R_ RXV_Tj& UVaRce^V_e& V^a]`jVV `c `eYVc V_eZej `W eYV L_ZeVU JeReVd
           >`gVc_^V_e& T`_dZdeV_e hZeY .2 9(=(I( ,,1(1,*,'+ eYc`fXY ,,1(1*,'. $ALE< +33/%& eYV fdV&
           Ufa]ZTReZ`_& cVac`UfTeZ`_& cV]VRdV& ^`UZrTReZ`_& UZdT]`dfcV R_U ecR_dWVc `W eYV J`WehRcV&
           Z_T]fUZ_X eVTY_ZTR] UReR `c ^R_fR]d& Zd X`gVc_VU Sj eYV eVc^d R_U T`_UZeZ`_d T`_eRZ_VU Z_ eYZd
           <LC7(
        T( 6BRBN>?FHFPU# @W R_j `W eYV ac`gZdZ`_d& VZeYVc Z_ aRce `c Z_ Wf]]& `W eYZd <LC7 Zd YV]U Sj R T`fce `c
           `eYVc ecZSf_R] `W T`^aVeV_e [fcZdUZTeZ`_ e` SV f_V_W`cTVRS]V `c Z_gR]ZU& dfTY ac`gZdZ`_ dYR]] SV
           V_W`cTVU e` eYV ^RiZ^f^ VieV_e a`ddZS]V `c aVc^ZddZS]V R_U eYZd <LC7 hZ]] SV Z_eVcacVeVU d` Rd
           e` XZgV ^RiZ^f^ VWWVTe e` eYV `cZXZ_R] Z_eV_e `W eYV aRceZVd hZeY cVdaVTe e` eYV f_V_W`cTVRS]V
           ac`gZdZ`_& R_U eYV cV^RZ_Z_X a`ceZ`_d `W eYZd <LC7 dYR]] cV^RZ_ Z_ Wf]] W`cTV R_U VWWVTe(
        U( %OOFDJIBJP# P`f ^Rj _`e RddZX_ R_j `W P`fc cZXYed `c `S]ZXReZ`_d f_UVc eYZd <LC7 hZeY`fe
           LSZbfZeZod ViacVdd hcZeeV_ T`_dV_e( LSZbfZeZ ^Rj RddZX_ eYZd <LC7 hZeY`fe P`fc T`_dV_e
           ac`gZUVU eYRe dfTY RddZX_^V_e Zd e` R_ RWr]ZReVU T`^aR_j W`c^Z_X aRce `W eYV LSZbfZeZ Xc`fa `W
           T`^aR_ZVd(
        V( ;>FRBN# KYV hRZgVc Sj VZeYVc aRcej `W R_j UVWRf]e Sj eYV `eYVc aRcej dYR]] _`e hRZgV dfSdVbfV_e
           UVWRf]ed Sj dfTY `eYVc aRcej `W eYV dR^V `c UZWWVcV_e \Z_U( KYV WRZ]fcV `W VZeYVc aRcej e` V_W`cTV
           eYV ac`gZdZ`_d YVcV`W& Re R_j eZ^V `c W`c R_j aVcZ`U `W eZ^V& `c eYV WRZ]fcV `W VZeYVc aRcej e`
           ViVcTZdV R_j `aeZ`_ YVcVZ_& dYR]] _`e SV T`_decfVU Rd R hRZgVc `W dfTY ac`gZdZ`_ `c `aeZ`_ R_U
           dYR]] Z_ _` hRj RWWVTe eYRe aRcejod cZXYe e` V_W`cTV dfTY ac`gZdZ`_d `c ViVcTZdV dfTY `aeZ`_(
        W( 7EFNA 4>NPU &BJBW@F>NU# CZTV_d`cd R_U dfaa]ZVcd `W LSZbfZeZ R_U Zed RWr]ZReVd RcV eYZcU aRcej
           SV_VrTZRcZVd `W eYZd <LC7& R_U eYfd eYZd <LC7 Zd UZcVTe]j V_W`cTVRS]V Sj dfTY ]ZTV_d`cd R_U
           dfaa]ZVcd R_U eYVZc RWr]ZReVd(
        X( 6P>PQPB KC 0FIFP>PFKJO# P`f RXcVV eYRe cVXRcU]Vdd `W R_j deRefeV `c ]Rh e` eYV T`_ecRcj& R_j T]RZ^
           `c TRfdV `W RTeZ`_ P`f ^Rj YRgV RcZdZ_X `fe `W `c cV]ReVU e` fdV `W eYV J`WehRcV `c eYZd <LC7
           ^fde SV r]VU hZeYZ_ `_V $+% jVRc RWeVc dfTY T]RZ^ `c TRfdV `W RTeZ`_ Rc`dV `c SV W`cVgVc SRccVU(
        Y( -JPBNLNBP>PFKJ# 7d fdVU YVcVZ_& f_]Vdd eYV T`_eVie cVbfZcVd `eYVchZdV& eYV h`cU p`cq Zd _`e
           ViT]fdZgV R_U eYV h`cUd phZ]]&q phZ]] _`e&q pdYR]]&q R_U pdYR]] _`eq RcV ViacVddZ`_d `W T`^^R_U R_U

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             _`e ^VcV]j ViacVddZ`_d `W WfefcV Z_eV_e `c ViaVTeReZ`_( NYV_VgVc eYV h`cUd pZ_T]fUV&q
             pZ_T]fUVdq `c pZ_T]fUZ_Xq RcV fdVU Z_ eYZd <LC7& eYVj dYR]] SV UVV^VU e` SV W`]]`hVU Sj eYV
             h`cUd phZeY`fe ]Z^ZeReZ`_(q KYV dVTeZ`_ YVRUZ_Xd Z_ eYZd <LC7 RcV W`c T`_gV_ZV_TV `_]j R_U YRgV
             _` ]VXR] `c T`_ecRTefR] VWWVTe(

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  Kpvtqfwevkqp!cpf!Eqpegrv!

  Okitcvkqp!Uvgru!

  Ycttcpv{!cpf!Uwrrqtv!

  Ecrcdknkvkgu!cpf!Urgekhkecvkqpu!

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          Case:
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Kpvtqfwevkqp!cpf!Eqpegrv!
gROR!Gngxcvg!cnnqyu!vjg!pgvyqtm!qrgtcvqt-!d{!tgoqvgn{!qt!nqecnn{!uqhvyctg!writcfkpi!gcej!gROR!Gngxcvg.
eqorcvkdng!uwduetkdgt!fgxkeg!cpf!kpuvcnnkpi!cp!gROR!2111!qt!gROR!3111!ceeguu!rqkpv-!vq!tgegkxg!uwduvcpvkcn!
pgvyqtm!rgthqtocpeg!cpf!uecncdknkv{!dgpghkvu!ykvjqwv!tgswktkpi!pgy!uwduetkdgt!jctfyctg!qt!rj{ukecn!
kpuvcnncvkqpu/!Vjku!Swkem!Uvctv!Iwkfg!rtqxkfgu!iwkfcpeg!vjtqwij!vjg!rtgrctcvkqp!cpf!okitcvkqp!rtqeguu!wukpi!
gROR!Gngxcvg/!

Okitcvkqp!Uvgr!2<!!Tgxkgy!vjg!gROR!Gngxcvg!Rtgtgswkukvg!Ejgemnkuv!
Rngcug!tghgtgpeg!vjg!kphqtocvkqp!kp!vjku!ugevkqp!vq!gpuwtg!c!uoqqvj!gROR!Gngxcvg!okitcvkqp!gzrgtkgpeg/!

    !          Vjg!gROR!Gngxcvg!okitcvkqp!rtqeguu!fqgu!tgswktg!c!dtkgh!u{uvgo!qwvcig!fwtkpi!ceeguu!
rqkpv!vtcpukvkqp/!!Rngcug!rncp!okitcvkqp!ykpfqyu!crrtqrtkcvgn{!vq!okpkok|g!ewuvqogt!korcev/!!Ectghwn!
rtgrctcvkqp!cpf!fgxkeg!rtg.eqphkiwtcvkqp!yknn!tgfweg!tguwnvcpv!u{uvgo!fqypvkog/!

4TF.RCTV[!UWDUETKDGT!OQFWNG!TGSWKTGOGPVU0CEVKQPU!
   !
       Xkukv!vjg!                     !hqt!cp!wr.vq.fcvg!nkuvkpi!qh!gROR!Gngxcvg.eqorcvkdng!913/22p!fgxkegu/!!
       Cnn!uwduetkdgt!fgxkegu!owuv!dg!ecrcdng!qh!4tf.rctv{!uqhvyctg!)gROR!Gngxcvg*!kpuvcnncvkqp/!
       gROR!Gngxcvg!fgxkegu!oc{!qrgtcvg!qpn{!cu!uwduetkdgt!oqfwngu/!!gROR!Gngxcvg!fqgu!pqv!uwrrqtv!
       fgxkeg!qrgtcvkqp!kp!rqkpv.vq.rqkpv-!ceeguu!rqkpv-!qt!uvcpfctf!Yk.Hk!oqfgu/
   !
       ZO0ZY!uqhvyctg!xgtukqp!6/7/7!ku!tgeqoogpfgf/!!Qvjgt!uqhvyctg!xgtukqpu!pqv!qhhkekcnn{!vguvgf/

   !
       Kh!{qwt!ewttgpv!pgvyqtm!ku!qrgtcvkpi!kp!     !oqfg-!vjg!pgvyqtm!owuv!dg!eqphkiwtgf!vq!qrgtcvg!kp!
               oqfg!rtkqt!vq!gROR!Gngxcvg!vtcpukvkqp/!
                                                           /!
   !
       Cnn!uwduetkdgtu!owuv!dg!eqphkiwtgf!ykvj!c!ejcppgn!ykfvj!qh!        -!       -!qt!      !rtkqt!vq!gROR!
       Gngxcvg!vtcpukvkqp/!
   !

HTGSWGPE[!UWRRQTV!CPF!TGIWNCVQT[!EGTVKHKECVKQPU!!
Writcfgf!gROR!Gngxcvg!uwduetkdgt!oqfwngu!uwrrqtv!qrgtcvkqp!kp!vjg!htgswgpe{!tcpig!6261!!6;91!OJ|/!
Wrqp!writcfkpi!vq!gROR!Gngxcvg!uwduetkdgtu!yknn!dg!eqphkiwtgf!vq!uecp!cnn!cxckncdng!htgswgpekgu!vq!hceknkvcvg!
pgvyqtm!gpvt{/!

     !
Vjg!wugt!owuv!gpuwtg!vjcv!fgrnq{gf!gROR!rtqfwevu!qrgtcvg!kp!ceeqtfcpeg!vq!nqecn!tgiwncvqt{!nkokvu/!!gROR!
cpf!gROR!Gngxcvg.eqorcvkdng!fgxkegu!oc{!pqv!ujctg!tgiwncvqt{!egtvkhkecvkqpu!kp!cnn!tgikqpu/!
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Uqog!4tf.rctv{!tcfkq!fgxkegu!ygtg!qtkikpcnn{!HEE.egtvkhkgf!cpf!ncdgngf!vq!qrgtcvg!kp!vjg!6/9!IJ|!htgswgpe{!
tcpig!qpn{/!!Cp!gROR!Gngxcvg!writcfg!gpcdngu!4tf.rctv{!tcfkqu!vq!qrgtcvg!ykvjkp!vjg!W.PKK.2!vjtqwij!W.PKK.
5!htgswgpe{!dcpf!tcpig!6261!!6;91!OJ|/!!Vq!gpuwtg!HEE!tgiwncvqt{!eqornkcpeg!hqt!gROR!Gngxcvg.writcfgf!
tcfkq!fgxkegu<!
    2/! C!pgy!ncdgn!owuv!dg!crrnkgf!vq!vjg!fgxkeg!ykvj!vjg!wrfcvgf!HEE!KF!engctn{!xkukdng/!!4tf.rctv{!tcfkq!
        ocpwhcevwtgtu!uwrrqtv!HEE!ncdgn!tgswguvu!qpnkpg!)ncdgnu!ctg!ujkrrgf!fktgevn{*/!
    3/! HEE.cnnqygf!vtcpuokv!rqygt!kp!vjg!6/9!IJ|!dcpf!jcu!dggp!tgfwegf!ykvj!vjg!ncvguv!tgiwncvqt{!
        iwkfgnkpgu/!!gROR!Gngxcvg!cfjgtgu!vq!vjgug!HEE!rqygt!nkokvu-!cpf!cp!writcfg!vq!gROR!Gngxcvg!
        uqhvyctg!oc{!kpvtqfweg!c!tgfwevkqp!qh!vjg!fgxkegu!qrgtcvkpi!vtcpuokv!rqygt!vq!cfjgtg!vq!tgiwncvqt{!
        nkokvu!)cu!c!tguwnv!qh!vjg!gROR!ceeguu!rqkpvu!vtcpuokv!rqygt!eqpvtqn!ogejcpkuo*/!!!
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       Cnvjqwij!vjg!ceeguu!rqkpv!fqgu!f{pcokecnn{!eqpvtqn!uwduetkdgt!qwvrwv!rqygt-!vjg!uwduetkdgtu!
       eqphkiwtgf!vtcpuokv!rqygt!rctcogvgt!ku!pqv!cnvgtgf!wrqp!writcfg/!!!
       !
       Vjku!rqvgpvkcn!tgfwevkqp!qh!vtcpuokv!rqygt!oc{!jcxg!cp!korcev!qp!{qwt!pgvyqtmu!tcfkq!nkpm!dwfigvu/!!
       Ecodkwo!Pgvyqtmu!                !vqqn!cnnqyu!qrgtcvqtu!vq!oqfgn!nkpm!uegpctkqu!dcugf!qp!vtcpuokv!
       rqygt-!igqitcrj{-!fkuvcpeg-!cpvgppc!jgkijv-!cpf!qvjgt!hcevqtu/!!!
       !
Okitcvkqp!Uvgr!3<!!Rtg.eqphkiwtg!vjg!gROR!ceeguu!rqkpv!hqt!fgrnq{ogpv!
Vq!gpuwtg!c!swkem!uwduetkdgt!vtcpukvkqp!qh!gROR!Gngxcvg!fgxkegu!vq!vjg!gROR!ceeguu!rqkpv-!hqnnqy!vjg!
rtqegfwtg!dgnqy!vq!rtg.eqphkiwtg!vjg!gROR!ceeguu!rqkpv/!

CEEGUU!RQKPV!RTG.EQPHKIWTCVKQP!GSWKROGPV!CPF!VQQNU!
     gROR!2111!qt!gROR!3111!eqppgevqtk|gf!ceeguu!rqkpv!eqppgevgf!vq!RqG!rqygt!uwrrn{!rqtv!Ikicdkv!
   !
     Fcvc,Rqygt!d{!Gvjgtpgv!ecdng!
     RE!eqppgevgf!vq!RqG!rqygt!uwrrn{!rqtv!Ikicdkv!Fcvc!d{!Gvjgtpgv!ecdng
   !
     Rqygt!Uwrrn{!rqygtgf!qp
   !
     Uwrrqtvgf!dtqyugt!!Ejtqog!x3;-!Hktghqz!x35-!Kpvgtpgv!Gzrnqtgt!21-!Uchctk!x6!qt!ncvgt
   !
CEEGUU!RQKPV!RTG.EQPHKIWTCVKQP!RTQEGFWTGU!
Vq!gpuwtg!c!swkem!uwduetkdgt!vtcpukvkqp!qh!gROR!Gngxcvg!fgxkegu!vq!vjg!gROR!ceeguu!rqkpv-!hqnnqy!vjg!
rtqegfwtg!dgnqy!vq!rtg.eqphkiwtg!vjg!gROR!ceeguu!rqkpv/!

Ceeguu!Rqkpv!uqhvyctg!writcfg!
Vq!uwrrqtv!tgikuvtcvkqp!htqo!gROR!Gngxcvg!uwduetkdgtu-!vjg!gROR!owuv!dg!twppkpi!gROR!Uqhvyctg!Tgngcug!
4/3!qt!ncvgt/!
 2! Fqypnqcf!gROR!Uqhvyctg!Tgngcug!4/3!)qt!ncvgt*!htqo!vjg!
                                   /!!Hqt!gzcorng-!vjg!Uqhvyctg!
     Tgngcug!4/3!uqhvyctg!rcemcig!ku!pcogf!
                               /!
 3! Wukpi!c!ygd!dtqyugt-!pcxkicvg!vq!vjg!ceeguu!rqkpvu!
     fghcwnv!KR!cfftguu!               !
 4! Nqikp!vq!vjg!ceeguu!rqkpv!ygd!ocpcigogpv!kpvgthceg!
     ykvj!wugtpcog<!!cfokp!cpf!rcuuyqtf<!!cfokp/!!
 5! Pcxkicvg!vq!         @!                    cpf!enkem!vjg!
                dwvvqp!vq!ugngev!vjg!uqhvyctg!tgngcug!hkng!
     fqypnqcfgf!kp!uvgr!2/!
 6! Enkem!          -!vjgp!enkem!vjg!               !dwvvqp/!



Ceeguu!Rqkpv!nkegpug!igpgtcvkqp!cpf!kpuvcnncvkqp!
Vq!uwrrqtv!tgikuvtcvkqp!htqo!gROR!Gngxcvg!uwduetkdgtu-!vjg!
gROR!211103111!ceeguu!rqkpv!owuv!dg!eqphkiwtgf!ykvj!vjg!
crrtqrtkcvg!nkegpukpi/!!gROR!Gngxcvg!gpvkvngogpv!KFu!ctg!
gockngf!vq!qrgtcvqtu!d{!Ecodkwo!Pgvyqtmu!fkuvtkdwvqtu/!!Vjg!
gpvkvngogpv!KF!ku!wugf!vq!igpgtcvg!c!nkegpug!mg{!yjkej!ku!eqrkgf!
htqo!vjg!Ecodkwo!Pgvyqtmu!Nkegpug!Mg{!ygdukvg!cpf!rcuvgf!
vq!vjg!gROR!ceeguu!rqkpv!vq!wpnqem!gROR!Gngxcvg!hwpevkqpcnkv{/!

Igpgtcvg!nkegpug!xkc!vjg!Ecodkwo!Pgvyqtmu!Nkegpug!Mg{u!ygdukvg!
2! Pcxkicvg!vq!vjg!
                                  /
3! Gpvgt!{qwt!gpvkvngogpv!KFu!cpf!enkem!



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     owuv!dg!eqphkiwtgf!qp!cnn!pgvyqtm!uwduetkdgtu!vq!cnnqy!
     pgvyqtm!gpvt{/!
4!   Chvgt!eqphkiwtkpi!ceeguu!rqkpv!rctcogvgtu-!enkem!    vjgp!
     enkem!vjg!       dwvvqp/!
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Okitcvkqp!Uvgr!4<!!Kpuvcnn!cpf!rqygt!
qp!vjg!gROR!ceeguu!rqkpv!qp.ukvg!
!
Hqt!cffkvkqpcn!gROR!ceeguu!rqkpv!kpuvcnncvkqp!
tgswktgogpvu-!ugg!vjg!gROR!Wugt!Iwkfg-!cxckncdng!
jgtg<!!                         /!


                     !Yjgp!rquukdng-!kpuvcnn!vjg!
gROR!ceeguu!rqkpv!qpukvg!chvgt!rtg.eqphkiwtcvkqp/!!
Vjku!vgejpkswg!qhhgtu!vjg!dguv!qrrqtvwpkv{!vq!
okpkok|g!vjg!pgvyqtm!qwvcig!vkog!tgswktgf!wrqp!
uwduetkdgt!vtcpukvkqp!vq!vjg!gROR!ceeguu!rqkpv/!
!


          !!Cnvgtpcvkxgn{-!vjg!gROR!ceeguu!rqkpv!
oc{!dg!kpuvcnngf!cu!c!fktgev!tgrncegogpv!vq!vjg!
ewttgpvn{!qrgtcvkpi!ceeguu!rqkpv!wukpi!vjg!ucog!
oqwpvkpi!gswkrogpv!)yjgp!rquukdng*/!!Vjku!
vgejpkswg!yknn!tgswktg!oqtg!uwduetkdgt!fqypvkog!
vjcp!qrvkqp!2/!
!

!
Okitcvkqp!Uvgr!5<!!Writcfg!gROR!Gngxcvg.eqorcvkdng!uwduetkdgtu!
Kpuvcnnkpi!vjg!gROR!Gngxcvg!uqhvyctg!qp!uwrrqtvgf!uwduetkdgt!oqfwngu!cnnqyu!tgikuvtcvkqp!qh!vjg!uwduetkdgt!
vq!vjg!gROR!ceeguu!rqkpv/!!Vjku!rtqegfwtg!oc{!dg!eqorngvgf!tgoqvgn{!)qxgt.vjg.ckt-!fqgu!pqv!tgswktg!c!ukvg!
xkukv*!qt!nqecnn{!)xkc!fktgev!yktgf!Gvjgtpgv!eqppgevkqp!vq!gcej!uwduetkdgt!oqfwng-!tgswktgu!c!ukvg!xkukv*/!

    !           Vjg!gROR!Gngxcvg!okitcvkqp!rtqeguu!fqgu!tgswktg!c!dtkgh!u{uvgo!qwvcig!fwtkpi!ceeguu!
rqkpv!vtcpukvkqp/!!Qpeg!vjg!gROR!Gngxcvg!uqhvyctg!jcu!dggp!kpuvcnngf!qp!c!uwduetkdgt-!kv!yknn!pq!nqpigt!
tgikuvgt!vq!kvu!qtkikpcn!ceeguu!rqkpv-!cpf!pgvyqtm!gpvt{!yknn!qpn{!dg!cxckncdng!xkc!vjg!gROR!ceeguu!rqkpv/!!
Rngcug!rncp!okitcvkqp!ykpfqyu!crrtqrtkcvgn{!vq!okpkok|g!ewuvqogt!korcev/!!Ectghwn!rtgrctcvkqp!cpf!
fgxkeg!rtg.eqphkiwtcvkqp!yknn!tgfweg!tguwnvcpv!u{uvgo!fqypvkog/!

UWDUETKDGT!UQHVYCTG!WRITCFG!VQ!GROR!GNGXCVG!
 2! Fqypnqcf!gROR!Gngxcvg!uqhvyctg!)dcugf!qp!fgxkeg!v{rg*!htqo!vjg!                         /!
 3! Wukpi!c!ygd!dtqyugt-!pcxkicvg!vq!vjg!uwduetkdgt!oqfwngu!eqphkiwtgf!ocpcigogpv!KR!cfftguu/!
 4! Nqikp!vq!vjg!uwduetkdgt!oqfwng!wukpi!{qwt!eqphkiwtgf!wugtpcog!cpf!rcuuyqtf/!
 5! Writcfg!vjg!fgxkeg!uqhvyctg!wukpi!vjg!gROR!Gngxcvg!uqhvyctg!rcemcig!htqo!Uvgr!2/!




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Okitcvkqp!Uvgr!8<!!Tgoqxg!qtkikpcn!ceeguu!rqkpv!gswkrogpv!
Qpeg!vjg!gROR!nkpm!jcu!dggp!xcnkfcvgf-!vjg!qtkikpcn!ceeguu!rqkpv!gswkrogpv!oc{!dg!tgoqxgf/!

gROR!Gngxcvg!Ycttcpv{!cpf!Uwrrqtv!
Ecodkwo!Pgvyqtmu!uwrrqtvu!uqhvyctg!ockpvgpcpeg!qh!gROR!Gngxcvg-!cpf!gROR!Gngxcvg!uwduetkdgtu!ctg!
qrgtcvgf!cv!vjg!wugtu!qyp!tkum/!!Hqt!gROR!Gngxcvg!uqhvyctg!uwrrqtv!chvgt!okitcvkqp-!xkukv!vjg!
                           /!
!
Ecodkwo!Pgvyqtmu!fqgu!pqv!ceegrv!cp{!nkcdknkv{!hqt!tgnkcdknkv{!qt!kpvgthceg!tgurqpukxgpguu!qh!gROR!Gngxcvg.
eqorcvkdng!jctfyctg!writcfgf!ykvj!gROR!Gngxcvg/!
!
Ecodkwo!Pgvyqtmu!fqgu!pqv!ceegrv!cp{!nkcdknkv{!hqt!jctfyctg!fcocig!qt!tgrncegogpv/!

gROR!Gngxcvg!Ecrcdknkvkgu!cpf!Urgekhkecvkqpu!
Vjg!hqnnqykpi!vcdng!rtqxkfgu!fgvckn!qh!gROR!Gngxcvg!qrgtcvkqp!chvgt!kpuvcnncvkqp0writcfg<!
!

                                        231!uwduetkdgtu!

                                        gROR!211103111!ceeguu!rqkpvu!uwrrqtv!c!oczkowo!pwodgt!qh!
                                        gROR!Gngxcvg!uwduetkdgt!oqfwngu!dcugf!qp!vjg!rwtejcugf!gROR!
                                        Gngxcvg!nkegpukpi/!
                                        Ecodkwo!gROR!uwduetkdgt!oqfwngu!ctg!pqv!nkokvgf!d{!nkegpukpi-!
                                        cpf!oc{!dg!fgrnq{gf!wr!vq!vjg!rncvhqto!nkokv!)231!uwduetkdgtu-!
                                        kpenwukxg!qh!writcfgf!gROR!Gngxcvg!uwduetkdgt!oqfwngu*/!
                                        Cffkvkqpcn!nkegpugu!oc{!dg!rwtejcugf!cpf!kpuvcnngf!qp!vjg!gROR!
                                        211103111!ceeguu!rqkpv!vq!kpetgcug!vjg!ecrcekv{!qh!uwrrqtvgf!gROR!
                                        Gngxcvg!uwduetkdgtu/!

                                        VFF!)Vkog!Fkxkukqp!Fwrngz*!cpf!Hngzkdng!

                                        gROR!Gngxcvg!fgxkegu!oc{!qrgtcvg!qpn{!cu!uwduetkdgt!oqfwngu/!!
                                        gROR!Gngxcvg!fqgu!pqv!uwrrqtv!fgxkeg!qrgtcvkqp!kp!rqkpv.vq.rqkpv-!
                                        ceeguu!rqkpv-!qt!uvcpfctf!Yk.Hk!oqfgu/!
                                        6261!!6;91!OJ|!

                                            !Pqvg
                                        Vjg!cxckncdng!urgevtwo!hqt!qrgtcvkqp!fgrgpfu!qp!vjg!tgikqp/!Yjgp!
                                        eqphkiwtgf!ykvj!vjg!crrtqrtkcvg!eqwpvt{!eqfg-!vjg!wpkv!yknn!qpn{!
                                        cnnqy!qrgtcvkqp!qp!vjqug!ejcppgnu!yjkej!ctg!rgtokvvgf!d{!vjg!
                                        tgiwncvkqpu/!

                                        6-!21-!31-!51!OJ|!

                                        Kpxgpvqt{!ocpcigogpv-!fgxkeg!qpdqctfkpi-!fckn{!qrgtcvkqpu-!cpf!
                                        ockpvgpcpeg!qh!gROR!Gngxcvg!uwduetkdgt!oqfwngu!cpf!gROR!
                                        rtqfwevu!ku!uwrrqtvgf!d{!epOcguvtq!enqwf.dcugf!ocpcigogpv!
                                        uqhvyctg/!
                                        !
                                        gROR!Gngxcvg!uwduetkdgt!oqfwngu!oc{!cnuq!dg!ocpcigf!d{!qvjgt!
                                        vjktf.rctv{!Pgvyqtm!Ocpcigogpv0Gngogpv!Ocpcigogpv!u{uvgou!
                                        xkc!vjg!gROR!uqhvyctg!UPOR!rtqvqeqn!uwrrqtv/!
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Pqxgodgt!3127!                                                                                                8!
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Tgngcug!Pqvgu!

  U{uvgo!Tgngcug!4/6/2!
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  Ugevkqpu!kpenwfgf<!
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  Kpvtqfwevkqp!
  Rtqfwev!Tgngcugu!
  Ueqrg!
  Fghgev!Hkzgu!
  Mpqyp!Nkokvcvkqpu!
  Vgejpkecn!Uwrrqtv!
  Eqoowpkv{!Hqtwo!
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Kpvtqfwevkqp!
Vjku!fqewogpv!rtqxkfgu!kphqtocvkqp!hqt!vjg!Ecodkwo!Pgvyqtmu!gROR!Ugtkgu!U{uvgo!Tgngcug!4/6/2/!!!
!
Vjg!kphqtocvkqp!kp!vjku!fqewogpv!ku!uwdlgev!vq!ejcpig!ykvjqwv!pqvkeg/!Vjg!tgeqoogpfcvkqpu-!vgejpkecn!fcvc-!
eqphkiwtcvkqpu!cpf!uvcvgogpvu!kp!vjku!fqewogpv!ctg!dgnkgxgf!vq!dg!tgnkcdng!cpf!ceewtcvg-!dwv!ctg!rtgugpvgf!
ykvjqwv!kornkgf!qt!gzrtguu!ycttcpv{/!Wugtu!owuv!vcmg!hwnn!tgurqpukdknkv{!hqt!vjgkt!crrnkecvkqpu!qh!cp{!rtqfwev!
urgekhkgf!kp!vjku!fqewogpv/!Vjg!kphqtocvkqp!kp!vjku!fqewogpv!ku!rtqrtkgvct{!vq!Ecodkwo!Pgvyqtmu!Nvf/!
!



Rtqfwev!Tgngcugu!
Jctfyctg!

GROR!3111!



 E161;11C144C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)GW*!

 E169;11C243C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)HEE*!

 E161;11C142C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)pq!eqtf*!

 E161;11C342C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)GW!eqtf*!

 E161;11C242C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)WU!eqtf*!

 E161;11C444C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)GW*!)WM!eqtf*!

 E161;11C442C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)WM!eqtf*!

 E161;11C542C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Kpfkc!eqtf*!

 E161;11C642C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Ejkpc!eqtf*!

 E161;11C742C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Dtc|kn!eqtf*!

 E161;11C842C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*)Ctigpvkpc!eqtf*!

 E161;11C942C!          gROR!3111<!6!IJ|!CR!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*)CP\!eqtf*!

 E161;11N144C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)GW*!

 E169;11N243C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)HEE*!

 E161;11N142C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)pq!eqtf*!

 E161;11N342C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)GW!eqtf*!

 E161;11N242C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)WU!eqtf*!

 E161;11N444C!          gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)GW*!)WM!eqtf*!




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    E161;11N442C!      gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)WM!eqtf*!

    E161;11N542C!      gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Kpfkc!eqtf*!

    E161;11N642C!      gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Ejkpc!eqtf*!

    E161;11N742C!      gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Dtc|kn!eqtf*!
                       gROR!3111<!6!IJ|!CR!Nkvg!ykvj!Kpvgnnkigpv!Hknvgtkpi!cpf!U{pe!)TQY*!)Ctigpvkpc!
    E161;11N842C!
                       eqtf*!
!

GROR!2111!
Vjg!hqnnqykpi!vcdngu!rtqxkfgu!vjg!mg{!eqorqpgpvu!cxckncdng!hqt!rwtejcug<!


    E161;11C122C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!)TQY*!

    E161;11C124C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!)GW*!

    E169;11C223C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!)HEE*!

    E161;11C132C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!)TQY*!

    E161;11C134C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!)GW*!

    E169;11C233C!      gROR!2111<!6!IJ|!Eqppgevqtk|gf!Tcfkq!)HEE*!

    E161;11E142C!      gROR!2111<!6!IJ|!Kpvgitcvgf!Tcfkq!)TQY*!

    E161;11E144C!      gROR!2111<!6!IJ|!Kpvgitcvgf!Tcfkq!)GW*!

    E169;11E243C!      gROR!2111<!6!IJ|!Kpvgitcvgf!Tcfkq!)HEE*!

    E135;11C122C!      gROR!2111<!3/5!IJ|!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!

    E135;11C132C!      gROR!2111<!3/5!IJ|!Eqppgevqtk|gf!Tcfkq!

    E135;11E142C!      gROR!2111<!3/5!IJ|!Kpvgitcvgf!Tcfkq!
!

HQTEG!221!



    E169;11E153D!      gROR!Hqteg!221CT6.36!Jkij!Ickp!)36!fDk*!UO0RVR!Tcfkq!)HEE*!

    E161;11E154D!      gROR!Hqteg!221CT6.36!Jkij!Ickp!)36!fDk*!UO0RVR!Tcfkq!)GW*!

    E161;11E152D!      gROR!Hqteg!221CT6.36!Jkij!Ickp!)36!fDk*!UO0RVR!Tcfkq!)TQY*!

    E169;11D163C!      gROR!Hqteg!221!RVR!.!Jkij!Rgthqtocpeg!RVR!Tcfkq!)HEE*!

    E161;11D164C!      gROR!Hqteg!221!RVR!.!Jkij!Rgthqtocpeg!RVR!Tcfkq!)GW*!

    E161;11D162C!      gROR!Hqteg!221!RVR!.!Jkij!Rgthqtocpeg!RVR!Tcfkq!)TQY*!
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HQTEG!291!



    E169;11E183C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)HEE*!)WU!eqtf*!
    E161;11E182C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)pq!eqtf*!
    E161;11E184C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)GW*!)GW!eqtf*!
    E161;11E282C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)WU!eqtf*!
    E161;11E382C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)GW!eqtf*!
    E161;11E482C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)WM!eqtf*!
    E161;11E484C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)GW*!)WM!eqtf*!
    E161;11E582C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)Kpfkc!eqtf*!
    E161;11E682C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)Ejkpc!eqtf*!
    E161;11E782C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)Dtc|kn!eqtf*!
    E161;11E882C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)Ctigpvkpc!eqtf*!
    E161;11E982C!      gROR!6!IJ|!Hqteg!291!Kpvgitcvgf!Tcfkq!)TQY*!)CP\!eqtf*!

HQTEG!2;1!


    E169;11E193C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)HEE*!)WU!Eqtf*!

    E161;11E194C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)GW*!)GW!Eqtf*!

    E161;11E984C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)GW*!)WM!Eqtf*!

    E161;11E192C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)Pq!Eqtf*!

    E161;11E292C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)WU!Eqtf*!

    E161;11E392C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)GW!Eqtf*!

    E161;11E592C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)Kpfkc!Eqtf*!

    E161;11E692C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)Ejkpc!Eqtf*!

    E161;11E792C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)Dtc|kn!Eqtf*!

    E161;11E892C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)V{rg.P!Rnwi!Eqtf*!

    E161;11E992C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)CP\!Eqtf*!

    E161;11E;92C!      gROR!Hqteg!2;1!6!IJ|!Uwduetkdgt!Oqfwng!)TqY*!)Pq!RUW*!

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HQTEG!311!



    E169;11E173C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)HEE*!)WU!eqtf*!
    E161;11E172C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)pq!eqtf*!
    E161;11E174C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)GW*!)GW!eqtf*!
    E161;11E272C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)WU!eqtf*!
    E161;11E372C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)GW!eqtf*!
    E161;11E472C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)WM!eqtf*!
    E161;11E474C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)GW*!)WM!eqtf*!
    E161;11E572C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)Kpfkc!eqtf*!
    E161;11E672C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)Ejkpc0CP\!eqtf*!
    E161;11E772C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)Dtc|kn!eqtf*!
    E161;11E872C!      gROR!6!IJ|!Hqteg!311CT6.36!Jkij!Ickp!Tcfkq!)TQY*!)Ctigpvkpc!eqtf*!
    E135;11E272C!      gROR!3/5!IJ|!Hqteg!311CT3.36!Jkij!Ickp!Tcfkq!)WU!eqtf*!
    E135;11E372C!      gROR!3/5!IJ|!Hqteg!311CT3.36!Jkij!Ickp!Tcfkq!)GW!eqtf*!
    P111;11N132C!      gROR!Hqteg!311!Tcfqog!

CEEGUUQTKGU!



    E161;11F132C!      gROR!311102111<!6!IJ|!Ugevqt!Cpvgppc!.!;1²!0!231²!

    E161;11F131C!      gROR!3111<!6!IJ|!Uoctv!Cpvgppc!

    E161;11F113C!      gROR!2111<!6!IJ|!Ugevqt!Cpvgppc!.!231²!

    E161;11F114C!      gROR!2111<!6!IJ|!Ugevqt!Cpvgppc!.!;1²!

    E135;11F115C!      gROR!2111<!3/5!IJ|!Ugevqt!Cpvgppc!.!;1²!0!231²!

    P111;11N112D!      gROR!2111<!Urctg!Rqygt!Uwrrn{!hqt!Tcfkq!ykvj!Ikicdkv!Gvjgtpgv!)pq!eqtf*!

    P111;11N113C!      gROR!2111<!Urctg!Rqygt!Uwrrn{!hqt!Tcfkq!ykvj!211Odkv!Gvjgtpgv!)pq!eqtf*!

    P111;11N116C!      gROR!2111<!Urctg!IRU!Cpvgppc!
                       5!rcem!qh!E161;11F118D<!gROR!221C6.36!Fkuj!Cpvgppc!)36!fDk*!hqt!gROR!
    E161;11J118D!
                       Eqppgevqtk|gf!Tcfkq!
!
Godgffgf!Uqhvyctg!
TGNGCUG!UQHVYCTG!
Pgy!gROR!uqhvyctg!tgngcugu!oc{!dg!fqypnqcfgf!htqo!vjg!                            /!


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    Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!             gROR.IRUaU{pegf.x4/6/2/vct/i|!

    Kpvgitcvgf!Tcfkq!0!Eqppgevqtk|gf!Tcfkq!    gROR.PqpIRUaU{pegf.x4/6/2/vct/i|!

    EPWV!rcemcig!)hqt!cnn!tcfkqu*!             gROR.4/6/2/rmi4!
!
GROR!GNGXCVG!UQHVYCTG!
Vjg!hqnnqykpi!uqhvyctg!ku!rtqxkfgf!ykvj!gROR!Gngxcvg!kp!gROR!U{uvgo!Tgngcug!4/6/2<!



    gROR!Gngxcvg!)ZO!hktoyctg!fgxkegu*!
                                              WDPVZO.wdpvzo.uswcujhu.hcevqt{/dkp!

    gROR!Gngxcvg!)ZY!hktoyctg!fgxkegu*!
                                              WDPVZY.wdpvzy.uswcujhu.hcevqt{/dkp!


    gROR!Gngxcvg!)ZO!hktoyctg!fgxkegu*!       WDPVZO.x4/6/2/vct/i|!

    gROR!Gngxcvg!)ZY!hktoyctg!fgxkegu*!       WDPVZY.x4/6/2/vct/i|!
!

URGEKCN!UQHVYCTG!WRITCFG!PQVKEG!
Cnn!wugtu!qh!gROR!rtqfwev!ctg!gpeqwtcigf!vq!writcfg!vjg!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe-!Kpvgitcvgf!Tcfkq-!
Eqppgevqtk|gf!Tcfkq-!Hqteg!291-!Hqteg!2;1!cpf!Hqteg!311!wpkvu!vq!vjg!ncvguv!U{uvgo!Tgngcug!4/6/2/ gROR!
uqhvyctg!wrfcvgu!ecp!dg!fqypnqcfgf!htqo!vjg!                             /!Hqt!kpuvtwevkqpu!qp!writcfkpi!cp!
gROR!fgxkeg-!ugg!vjg!                 /!!


        !Pqvg!
    Yjkng!writcfkpi!c!                                !htqo!vjg!hcevqt{-!gpuwtg!dqvj!vjg!fgxkeg!uqhvyctg!
    dcpmu!ctg!wrfcvgf/!Writcfg!vq!vjg!ncvguv!uqhvyctg!       !uq!vjcv!dqvj!Cevkxg!'!Dcemwr!ctg!wrfcvgf/!
    Vjku!ku!PQV!tgswktgf!hqt!Kpvgitcvgf!qt!Eqppgevqtk|gf!Tcfkqu!ukpeg!vjgug!tcfkqu!fq!pqv!jcxg!vyq!
    uqhvyctg!dcpmu/!
    Yjkng!writcfkpi!fgxkegu!ykvj!U{uvgo!Tgngcug!2/1/4!qt!gctnkgt-!gpuwtg!vjcv!vjg!dtqyugt!ecejg!ku!engctgf!
    rtkqt!vq!vjg!writcfg/!
!
!

    Ecwvkqp!
gROR!tcfkqu!twppkpi!U{uvgo!Tgngcug!3/2!qt!gctnkgt!ecppqv!dg!fktgevn{!writcfgf!vq!U{uvgo!Tgngcug!4/6/2/!
Rngcug!writcfg!vq!U{uvgo!Tgngcug!3/7!hktuv-!vjgp!writcfg!vq!U{uvgo!Tgngcug!4/6/2/!Uvgrrkpi!vjtqwij!U{uvgo!
Tgngcug!3/7!ku!pqv!tgswktgf!kh!vjg!gROR!tcfkq!ku!twppkpi!U{uvgo!Tgngcug!3/3!qt!ncvgt/!




Fgegodgt!3128!                                                                                                7!
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WRITCFKPI!VJG!QP.DQCTF!IRU!EJKR!HKTOYCTG!
Dgikppkpi!ykvj!U{uvgo!Tgngcug!3/1-!wugtu!ecp!writcfg!vjg!hktoyctg!qh!vjg!qp.dqctf!IRU!ejkr!rtgugpv!qp!
vjg!                               /!Cnn!wugtu!ctg!uvtqpin{!gpeqwtcigf!vq!writcfg!vjg!qp.dqctf!IRU!ejkr!
hktoyctg!kp!qtfgt!vq!cxqkf!urqtcfke!nqem!wr!qh!vjg!ejkr!fwtkpi!pqtocn!qrgtcvkqp/!gROR!uqhvyctg!wrfcvgu!ecp!
dg!fqypnqcfgf!htqo!vjg!                              /!!
!

IRU!Ejkr!cpf!Uqhvyctg!Tghgtgpeg!
            !
            !

                                         !
                                                                        !                         !
                                     IRU!qpn{!
                                                                 IRU!,!INQPCUU!            IRU!,!INQPCUU!
                                         !
                                         !
                                                                        !                        !
                                   CZPa2/62a3912!
                                                                  CZPa4/31a9285!           CZPa4/31a9285!
                                         !
                                                               Qeecukqpcn!u{pe!nquu! Qeecukqpcn!u{pe!nquu!
                            IRU!ejkr!nqemgf-!tguwnvkpi!kp!        hqnnqykpi!nqy!        hqnnqykpi!nqy!
                           nquu!qh!u{pe!cpf!pq!fkurnc{!qh!      pwodgt!qh!vtcemgf!    pwodgt!qh!vtcemgf!
                                hktoyctg!xgtukqp!qt!               ucvgnnkvgu!hqt!       ucvgnnkvgu!hqt!
                              xkukdng0vtcemgf!ucvgnnkvgu!      ewuvqogtu!kp!CRCE!    ewuvqogtu!kp!CRCE!
                                                                cpf!Twuukc!tgikqpu!  cpf!Twuukc!tgikqpu!
                                   CZPa2/62a3949!                 CZPa6/2/a9285!            CZPa6/2/a9285!

                                          3/2!                          4/6/2!                   4/6/2!


                                        Pqpg!                           Pqpg!                    Pqpg!

!
!
Hqt!kpuvtwevkqpu!qp!writcfkpi!vjg!IRU!ejkr!hktoyctg-!ugg!dgnqy!qt!tghgt!vjg!                       /!!
!
Vq!writcfg!vjg!qp.dqctf!IRU!ejkr!qp!c!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!)2uv!Igpgtcvkqp!.!rwtejcugf!3126!
cpf!rtkqt*<!
     2/! Pcxkicvg!vq!                 !vq!ejgem!vjg!                      !vjcv!ku!ewttgpvn{!rtgugpv!qp!vjg!
         tcfkq/!!
     3/! Kh!vjg!IRU!Hktoyctg!Xgtukqp!fkurnc{u!                   cpf0qt!                              -!fq!
         pqvjkpi/!Vjg!qp.dqctf!IRU!ejkr!cntgcf{!jcu!vjg!ncvguv!hktoyctg/!
     4/! Kh!vjg!IRU!Hktoyctg!Xgtukqp!fkurnc{u!                  -!pcxkicvg!vq!                   !Writcfg!rcig/!!
     5/! Wpfgt!vjg!               !writcfg!ugevkqp-!ugngev!vjg!ucog!rcemcig!wugf!vq!writcfg!vjg!fgxkegu!
         hktoyctg!gz<!                                  !
     6/! Enkem!vjg!        !dwvvqp/!!
     7/! Vjg!writcfg!ecp!vcmg!wr!vq!4!okpwvgu/!Qpeg!vjg!writcfg!ku!fqpg-!vjg!tcfkqu!WK!rtqorvu!hqt!c!
         tgdqqv!cpf!vjg!tgdqqv!dwvvqp!yknn!dg!jkijnkijvgf/!!!
     8/! Enkem!vjg!Tgdqqv!dwvvqp!qp!vjg!vqr!tkijv!eqtpgt!qh!vjg!WK/!!
     9/! Qpeg!vjg!tcfkq!jcu!eqorngvgf!kvu!tgdqqv!rtqeguu-!ejgem!wpfgt!vjg!                    !rcig!vq!gpuwtg!
         vjcv!vjg!                         !fkurnc{u!                !
!




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Vq!writcfg!vjg!qp.dqctf!IRU!ejkr!qp!c!Eqppgevqtk|gf!Tcfkq!ykvj!U{pe!)3pf!Igpgtcvkqp!.!rwtejcugf!3127!
cpf!chvgt*<!
    2/! Pcxkicvg!vq!                 !vq!ejgem!vjg!                      !vjcv!ku!ewttgpvn{!rtgugpv!qp!vjg!
        tcfkq/!!
    3/! Kh!vjg!IRU!Hktoyctg!Xgtukqp!fkurnc{u!                 cpf0qt!                               -!fq!
        pqvjkpi/!Vjg!qp.dqctf!IRU!ejkr!cntgcf{!jcu!vjg!ncvguv!hktoyctg/!
    4/! Kh!vjg!IRU!Hktoyctg!Xgtukqp!fkurnc{u!                  -!pcxkicvg!vq!                   !Writcfg!rcig/!!
    5/! Wpfgt!vjg!               !writcfg!ugevkqp-!ugngev!vjg!ucog!rcemcig!wugf!vq!writcfg!vjg!fgxkegu!
        hktoyctg!gz<!                                  !
    6/! Enkem!vjg!        !dwvvqp/!!
    7/! Vjg!writcfg!ecp!vcmg!wr!vq!4!okpwvgu/!Qpeg!vjg!writcfg!ku!fqpg-!vjg!tcfkqu!WK!rtqorvu!hqt!c!
        tgdqqv!cpf!vjg!tgdqqv!dwvvqp!yknn!dg!jkijnkijvgf/!!!
    8/! Enkem!vjg!Tgdqqv!dwvvqp!qp!vjg!vqr!tkijv!eqtpgt!qh!vjg!WK/!!
    9/! Qpeg!vjg!tcfkq!jcu!eqorngvgf!kvu!tgdqqv!rtqeguu-!ejgem!wpfgt!vjg!                    !rcig!vq!gpuwtg!
        vjcv!vjg!                         !fkurnc{u!              !
!
!

        !Pqvg!
    Qp!qeecukqp!vjg!                      !wpfgt!                   !oc{!fkurnc{! /!Vjku!ogcpu!vjcv!
    vjg!IRU!ejkr!jcu!cntgcf{!nqemgf!wr!cpf!ku!pq!nqpigt!eqoowpkecvkpi!ykvj!vjg!ockp!rtqeguuqt/!
    Rgthqto!c!jctf!tgdqqv!)rqygt!e{eng!vjg!gpvktg!wpkv*!vq!tguvqtg!eqoowpkecvkqp/!Vjgp!rgthqto!
    uvgru!4!vjtqwij!9!cdqxg/!
    Vjku!ku!PQV!tgswktgf!hqt!Kpvgitcvgf!qt!Eqppgevqtk|gf!Tcfkqu!ukpeg!vjgug!tcfkqu!fq!pqv!jcxg!cp!
    qp.dqctf!IRU!ejkr/!
!

PGY!NQECN!KR!
Rtkqt!vq!U{uvgo!Tgngcug!3/2-!kp!dqvj!Dtkfig!cpf!PCV!oqfg-!vjg!gROR!Fgxkeg!ycu!rtgxkqwun{!ceeguukdng!
vjtqwij!c!nqecn!KR!qh!21/2/2/365!vjtqwij!vjg!NCP!rqtv/!Dgikppkpi!ykvj!U{uvgo!Tgngcug!3/2-!vjg!nqecn!KR!jcu!
dggp!wrfcvgf!vq!                   !

!

GROR!RQUV.WRITCFG!KR!CFFTGUUKPI!
Kh!                      !ku!ugv!vq!     !cpf!vjg!fgxkeg!ku!wpcdng!vq!tgvtkgxg!KR!cfftguu!kphqtocvkqp!xkc!
FJER-!vjg!fgxkeg!ocpcigogpv!KR!ku!ugv!vq!hcnndcem!KR!qh!            !)CR!oqfg*-!             !)UO!oqfg*-!
          !)Urgevtwo!Cpcn{|gt!oqfg*!qt!c!rtgxkqwun{!eqphkiwtgf!uvcvke!Fgxkeg!KR!Cfftguu/!Wpkvu!ecp!cnyc{u!
dg!ceeguugf!xkc!vjg!Gvjgtpgv!rqtv!ykvj!c!nqecn!KR!qh!          /!

!

URGEVTWO!CPCN[\GT!QP!UO!YJGP!WUKPI!RQTV!HQTYCTFKPI!QT!FO\!
Kh!rqtv!hqtyctfkpi!qt!FO\!ku!gpcdngf!qp!vjg!UO-!kv!ku!pgeguuct{!vq!cff!c!rqtv!hqtyctfkpi!gpvt{!hqt!vjg!
Urgevtwo!Cpcn{|gt!vq!yqtm/!Vjg!Urgevtwo!Cpcn{|gt!wugu!rqtv!9112!cpf!vjku!owuv!dg!gzrnkekvn{!cffgf!kp!vjg!
rqtv!hqtyctfkpi!vcdng!wpfgt!                                      - qp!vjg!tcfkqu!IWK/!Kp!cffkvkqp-!qpeg!vjg!
Urgevtwo!Cpcn{|gt!ku!ncwpejgf!qp!vjg!enkgpv!RE-!ugngev!vjg!Rqtv!Hqtyctfkpi!KR!cu!vjg!fgxkeg!KR!cfftguu!wpfgt!
                   -!qp!vjg!Urgevtwo!Cpcn{|gt!Lcxc!vqqn/!Fgrgpfkpi!qp!vjg!pgvyqtm!eqphkiwtcvkqp-!vjg!
igpgtcvkqp!eqphkiwtcvkqp!uejgog!owuv!dg!




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!

URGEVTWO!CPCN[\GT!YJGP!OCPCIGOGPV!XNCP!KU!GPCDNGF!
Yjgp!Ocpcigogpv!XNCP!ku!gpcdngf!qp!vjg!gROR!tcfkq-!vjg!Urgevtwo!Cpcn{|gt!enkgpv!owuv!dg!ncwpejgf!
htqo!vjg!ucog!pgvyqtm!cu!vjg!Ocpcigogpv!XNCP/!!
!
!

EJTQOG!0!HKTGHQZ!YGD!OCPCIGOGPV!KPVGTHCEG!CEEGUU!!URGEKCN!PQVKEG!HQT!UQHVYCTG!
TGNGCUG!4/5!0!4/5/2!
Kh!ceeguu!vq!vjg!ygd!ocpcigogpv!kpvgthceg!ku!nquv!chvgt!writcfkpi!vq!Uqhvyctg!Tgngcug!4/5!qt!4/5/2-!kv!ku!
tgeqoogpfgf!vq!engct!vjg!dtqyugt!eqqmkgu!cpf!ecejg!vq!tgickp!ceeguu/!!Vjku!yqtmctqwpf!ku!qpn{!crrnkecdng!
vq!fgxkegu!yjkej!jcxg!dggp!nqcfgf!ykvj!Uqhvyctg!Tgngcug!4/5!qt!4/5/2/!
!
Kpuvtwevkqpu!hqt!engctkpi!eqqmkgu!0!ecejg!kp!Iqqing!Ejtqog<!!
                                                                                           !
!
Kpuvtwevkqpu!hqt!engctkpi!eqqmkgu!0!ecejg!kp!Oq|knnc!Hktghqz<!
                                                                                !
!


epOcguvtq!
  Ocguvtq!ku!c!enqwf.dcugf!qt!qp.ukvg!rncvhqto!fgukipgf!vq!oqpkvqt-!eqphkiwtg-!qrgtcvg-!writcfg-!ocpcig!
cpf!oqpkvqt!gROR!u{uvgou/!!Hqt!oqtg!kphqtocvkqp-!ugg!vjg!                     /!
!                             !




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Pgy!Hgcvwtgu!
gROR!Gngxcvg!Hnqcvkpi!Nkegpug!
Ugtxgt!Qhhkekcn!Tgngcug!
Uqhvyctg!Tgngcug!4/6/2!kpvtqfwegu!qhhkekcn!uwrrqtv!
hqt!vjg!gROR!Gngxcvg!Hnqcvkpi!Nkegpug!Ugtxgt!
hwpevkqpcnkv{/!!Vjgtg!ctg!vyq!v{rgu!qh!gROR!Gngxcvg!
nkegpug!ocpcigogpv!ogejcpkuou!cxckncdng!qp!vjg!
gROR!fgxkeg!!Hngzkdng!cpf!Hkzgf-!cu!fguetkdgf!
dgnqy<!
!
!
!
!
!




                                                                                    !
!
Vjg!CRu!                           rcig!ku!wugf!vq<!
     "!   Kpuvcnn!nkegpukpi!hqt!gROR!Gngxcvg!uwduetkdgt!ceeguu!cnnqvogpvu!
     "!   Eqpxgtv!vjg!CR!htqo!Nkvg!)21!uwduetkdgt*!vq!Hwnn!)231!uwduetkdgt*!
     "!   Eqphkiwtg!vjg!Eqwpvt{!Eqfg!GVUK.nqemgf!fgxkegu!
!

    !Pqvg!
gROR!4/5/2!cpf!gctnkgt!Tgngcugu!uwrrqtv!qpn{!Hkzgf!Nkegpukpi/!
Gngxcvg!Hngzkdng!Nkegpukpi!ku!cxckncdng!qpn{!hqt!gROR!CR!fgxkegu!ykvj!IRU!u{pe/!
!
!                               !




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Eqwpvt{! Eqfg! eqphkiwtcvkqp! hqt! GVUK!
nqemgf!fgxkeg!cpf!Hwnn!Ecrcekv{!Mg{u!hqt!
CR! Nkvg! fgxkegu! ctg! cxckncdng! qpn{! xkc!
Hkzgf! Nkegpug! Ocpcigogpv/!! Gngxcvg! ku!
cxckncdng! xkc! Hkzgf! qt! Hngzkdng! Nkegpug!
Ocpcigogpv/!
!

    !Pqvg!
Vq!wug!hngzkdng!nkegpukpi-!vjg!CR!owuv<!
2/! dg!cdng!vq!ocmg!JVVRU!tgswguvu!qwv!
    vq!vjg!Kpvgtpgv!
3/! dg!twppkpi!hktoyctg!xgtukqp!4/6/2!qt!itgcvgt!
4/! jcxg!cp!ceewtcvg!PVR!vkog!uqwteg!!
!
CR!ygd!ocpcigogpv!kpvgthceg!hngzkdng!nkegpukpi!rctcogvgtu<!!

Cvvtkdwvg!                Ogcpkpi!



Nkegpug!Ugtxgt!Cigpv! Fkucdngf<!!Pq!eqoowpkecvkqp!ykvj!vjg!Nkegpug!Ugtxgt!ku!guvcdnkujgf!
                          Gpcdngf<!!Gpcdngu!Nkegpug!Ugtxgt!hwpevkqpcnkv{!vq!qdvckp!vjg!pwodgt!qh!
                          cnnqygf!gROR!Gngxcvg!UOu!vq!dg!eqppgevgf!vq!vjg!CR!

Enqwf!Nkegpukpi!KF!       Vjku!hkgnf!tgrtgugpvu!c!Ecodkwo!Pgvyqtmu!ewuvqogt!kfgpvkhkecvkqp!wugf!
                          hqt!CR!kfgpvkhkecvkqp!qp!vjg!Nkegpug!Ugtxgt/!!Vjku!kfgpvkhkgt!ku!igpgtcvgf!
                          wrqp!Nkegpug!Gpvkvngogpv!cevkxcvkqp!cv!vjg!Ecodkwo!Pgvyqtmu!ygd.
                          dcugf!Uwrrqtv!Egpvgt/!

Eqppgevkqp!Uvcvwu!        Vjg!                     fkurnc{u!vjg!Nkegpug!Ugtxgt!rtqeguu!uvcvg!yjgp!
                                                !ku!        /!!Vjku!uvcvwu!oc{!cnuq!dg!tghgtgpegf!qp!
                          vjg!fgxkeg!       !rcig/!

Tghtguj!Tgswguvu!         Vjg!pwodgt!qh!hckngf!tghtguj!)rqnnkpi*!tgswguvu!vq!vjg!Nkegpug!Ugtxgt/!!
Hckngf!                   Vjg!                                        !tgugvu!vq!2!chvgt!vjg!4tf!hckngf!
                          tghtguj!tgswguv/!

Wrfcvg!Tgswguvu!          Vjg!pwodgt!qh!hckngf!wrfcvg!)nkegpukpi!kphqtocvkqp!vtcpuhgt*!tgswguvu!vq!
Hckngf!                   vjg!Nkegpug!Ugtxgt/!!Vjg!                                       tgugvu!vq!
                                       vj
                          2!chvgt!vjg!6 !hckngf!wrfcvgf!tgswguv/!!

PVR!Uvcvwu!               Tgrtgugpvu!yjgvjgt!qt!pqv!vjg!ewttgpv!vkog!cpf!fcvg!jcxg!dggp!
                          tgvtkgxgf!htqo!vjg!eqphkiwtgf!PVR!ugtxgt!

gROR!Gngxcvg!             Vjg!pwodgt!qh!gROR!Gngxcvg!fgxkegu!cnnqygf!vq!tgikuvgt!vq!vjg!CR!
Uwduetkdgt!Oqfwng!
Nkokv!
!
!



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YRC3!Ugewtkv{!Xwnpgtcdknkv{!Hkz!)MTCEM*!
Uqhvyctg!Tgngcug!4/6/2!kpenwfgu!ugewtkv{!kortqxgogpvu!vq!rtgxgpv!Mg{!Tgkpuvcnncvkqp!cvvcemu!vctigvgf!cv!
gROR!tcfkq!pgvyqtmu/!!!
!
Vjku!ugewtkv{!kortqxgogpv!kpenwfgu<!
    "! Rtgxgpvkqp!qh!tgkpuvcnncvkqp!qh!vgorqtcn!mg{u!)KIVM-!IVM*!fwtkpi!YRC!mg{!jcpfujcmg!
        !

Uwrrqtv!hqt!O{cpoct!Eqwpvt{!Eqfg!
Vjg!O{cpoct!Eqwpvt{!Eqfg!ku!pqy!uwrrqtvgf!hqt!gROR!ykvj!vjg!hqnnqykpi!qrgtcvkqp<!
!



    3/5!      3511!!     3518!!35;3!OJ|!       3523!!3598!OJ|!      3533!!3588!OJ|!        47!fDo!
    IJ|!      3611!OJ|!   )gxgt{!6!OJ|*!         )gxgt{!6!OJ|*!        )gxgt{!6!OJ|*!
    6/9!      6836!!     6841!!6981!OJ|!       6846!!6976!OJ|!      6856!!6966!OJ|!        41!fDo!
    IJ|!      6986!OJ|!   )gxgt{!6!OJ|*!         )gxgt{!6!OJ|*!        )gxgt{!6!OJ|*!
!
!
Hqteg!2;1!GVUK!Tgikqp!FHU!Uwrrqtv!
Dgikppkpi!ykvj!Uqhvyctg!Tgngcug!4/6/2-!Hqteg!2;1!fgxkegu!ctg!uwrrqtvgf!kp!GVUK!tgiwncvqt{!gpxktqpogpvu/!!
Vjg!Hqteg!2;1!wpkvu!wug!tgikqp.urgekhke!F{pcoke!Htgswgpe{!Ugngevkqp!)FHU*!ogejcpkuou!dcugf!qp!vjg!
fgxkeg!       !rctcogvgt!ugvvkpi/!
!
        !Pqvg!
    Yjgp!qrgtcvkpi!kp!c!tgikqp!yjkej!tgswktgu!FHU-!gpuwtg!vjcv!vjg!CR!)DJO*!ku!eqphkiwtgf!ykvj!
    cnvgtpcvg!htgswgpekgu!cpf!vjcv!vjg!UO!)DJU*!ku!eqphkiwtgf!vq!uecp!hqt!vjgug!htgswgpekgu!vq!cxqkf!
    nqpi!qwvcigu/!

!
!                                !




Fgegodgt!3128!                                                                                             28!
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                                                                             Fghgevu!kp!itggp!ctg!tguqnxgf!
Fghgev!Hkzgu!)U{uvgo!Tgngcug!4/6/2*!                                         Fghgevu!kp!dncem!ctg!qrgp!
!

               Cnn!Gngxcvg!UOu!gzegrv!2!ctg!ftqrrgf!chvgt!writcfg!tgswguv!yjgp!Nkegpugf!ecrcekv{!ku!
    26144!
               gzeggfgf!
    25;9;!
               IRU!ejkr!kphqtocvkqp!ku!pqv!fkurnc{gf!ykvj!vffuvcvu!ENK!eqoocpf!
    25;;5!
    26123!     Pqv!rquukdng!vq!writcfg!IRU!hktoyctg!qp!3/6!IJ|!cpf!7!IJ|!tcfkqu!
    25;81!     Wpgzrgevgf!tgdqqv!qh!Hqteg!291!0!Hqteg!311!kp!eqnf!eqpfkvkqpu!
    25;39!     Urgevtwo!Cpcn{|gt!vgtokpcvgu!chvgt!vyq!okpwvgu!qh!qrgtcvkqp!
    25;23!     ]Gngxcvg_!PcpqUvcvkqp!Nqeq!O3!)dqctf/u{ukf?1zg978*!pqv!uwrrqtvgf!
    25;74!     ]Gngxcvg_!PcpqUvcvkqp!Nqeq!O3!)dqctf/u{ukf?1zg977*!pqv!uwrrqtvgf!
    256;;!     KRx7!Icvgyc{!pqv!hwpevkqpkpi!
    25;32!     Ncvkvwfg!cpf!Nqpikvwfg!hkgnfu!fq!pqv!ceegrv!pqp.kpvgigt!xcnwgu!
    25669!
               IWK!gttqt!yjgp!ucxkpi!TCFKWU!Wugt!Egtvkhkecvg!
    25;46!
    259;5!
               IWK!gttqt!yjgp!ejcpikpi!fgxkeg!KR!Cfftguu!
    25881!
    25999!     ]gROR!3111_!NNFR!pgkijdqtu!pqv!fgvgevgf!d{!gROR!3111!CR!
    248;1!     FJER!Tgrn{!htqo!UO!oc{!dg!ftqrrgf!d{!CR!
    23864!     FHU!Uwrrqtv!hqt!Hqteg!2;1!
               ]Gngxcvg_!ZO!fgxkegu!kp!pgvyqtm!oc{!jcxg!vjg!ucog!Ugrctcvg!Yktgnguu!Ocpcigogpv!
    25;56!
               Kpvgthceg!OCE!cfftguu!cuukipogpvu!
               Tcfkq!dgeqogu!kpceeguukdng!yjgp!uykvejkpi!htqo!Dtkfig!vq!PCV!oqfg!ykvj!Ugrctcvg!
    25;21!
               Ocpcigogpv!KR!cpf!Ocpcigogpv!XNCP!gpcdngf!
    255;4!     Wpcdng!vq!nqi!kpvq!fgxkeg!hqt!3!okpwvgu!chvgt!hcevqt{!fghcwnv!rtqegfwtg!
    25;33!     O{cpoct!eqwpvt{!eqfg!uwrrqtv!
    2594;!     UPOR!OKD!rctcogvgt!u{uNqecvkqp!ku!pqv!uwrrqtvgf!
    25983!     ]Gngxcvg_!Pcpqdtkfig!O6!ZO!cnyc{u!fkurnc{u!Gvjgtpgv!Rqtv!Uvcvwu!cu!Fqyp!
               KR!cfftguu!qh!Yktgnguu!Icvgyc{!qdvckpgf!htqo!RRRqG!ugtxgt!ku!pqv!fkurnc{gf!qp!IWK!)yjgp!
    25;15!
               Ugrctcvg!Ocpcigogpv!KR!gpcdngf!cpf!XNCP!tgvtkgxgf!xkc!TCFKWU!XUC!
    25;29!     UPOR!u{uQdlgevKF!fqgu!pqv!tgvwtp!Jctfyctg!UMW!
    25998!     ]Gngxcvg_!Uqhvyctg!writcfg0fqypitcfg!pqv!hwpevkqpcn!hqt!Gngxcvg!ZO!tcfkqu!
    25;79!     gROR!mg{!tgkpuvcnncvkqp!cvvcem!ugewtkv{!kortqxgogpvu!

!
Mpqyp!Rtqdngou!qt!Nkokvcvkqpu!)U{uvgo!Tgngcug!4/6/2*!
!


               ]Gngxcvg_!CR!ftqru!Gngxcvg!tcfkq!eqppgevkqpu!yjgp!uykvejkpi!htqo!Hkzgf!vq!Hngzkdng!
      26115!
               nkegpukpi!



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               Ytqpi!FHU!uvcvwu!fkurnc{gf!qp!gROR!UO!Jqog!rcig!yjgp!fgxkeg!qrgtcvgu!qp!GVUK!pqp.
      25;;8!
               FHU!ejcppgn!
               Igpgtcn!gttqt!fkurnc{gf!qp!nqikp!rcig!chvgt!tgfktgevkpi!vq!tg.eqphkiwtgf!fgxkeg!KR!cfftguu!
      25;73!
               Yqtmctqwpf<!!Tgnqcf!ygd!rcig!
      26127!   CR0UO!fqgu!pqv!qdvckp!KR!cfftguu!xkc!FJERx7!ugtxgt!
               Ugrctcvg!Ocpcigogpv!KR!tgvtkgxgf!htqo!FJER!ugtxgt!chvgt!eqphkiwtkpi!KR!Cuukipogpv!vq!
      26128!
               Uvcvke!
               ]Gngxcvg_!FPU!cpf!Icvgyc{!ugvvkpiu!oc{!pqv!dg!ecttkgf!qxgt!yjgp!writcfkpi!vq!gROR!
      26118!
               Gngxcvg!
               UO!kp!PCV!oqfg!)Ugrctcvg!Ocpcigogpv!KR!cpf!RRRqG!gpcdngf-!TCFKWU!cwvjgpvkecvkqp!
               ykvj!XNCP!XUC!tgvtkgxcn*!ecppqv!dg!writcfgf0fqypitcfgf-!tcfkq!eqppgevkqp!ftqru!gxgt{!21!
      2611;!
               okpwvgu!
               Yqtmctqwpf<!!Fkucdng!TCFKWU!cwvjgpvkecvkqp!
               Crrn{kpi!ku!fkurnc{gf!qp!IWK!hqt!cp!gzvgpfgf!rgtkqf!yjgp!ucxkpi!ejcpigu!qp!vjg!Ugewtkv{!
      25;;7!
               rcig!
               ]Gngxcvg_!Urgevtwo!Cpcn{|gt!oc{!fkueqppgev!chvgt!31!ugeqpfu!kh!Uvcvke!KR!Cuukipogpv!jcu!
      26121!   dggp!oqfkhkgf!htqo!qtkikpcn!ugvvkpi!
               Yqtmctqwpf<!!Enkem!Eqppgev!cpf!tguvctv!urgevtwo!uecp!
      26117!   Ucvgnnkvgu!vcdng!ku!gorv{!qp!IRU!I{pe!CR!eqphkiwtgf!kp!UO!oqfg!

!
Fghgev!Hkzgu!)U{uvgo!Tgngcug!4/6*!
!

    255;1!     ]gROR!3111_!Enqem!ecnkdtcvkqp!dgvyggp!gROR!cpf!gROR!Gngxcvg!fgxkegu!
    25566!     3pf!Ocpcigogpv!kpvgthceg!qdvckpu!Hcnndcem!KR!ykvj!XNCP!gpcdngf!
    25882!     Tgnkcdng!Ownvkecuv!rctcogvgtu!tgoqxgf!htqo!gRVR!oqfg!
               ]Gngxcvg_!!Cwvqocvke!yqtmctqwpf!vq!tgugv!fgxkeg!yjgp!Gngxcvg!ZY!Pcpquvcvkqp!Nqeq!O6!
    25678!
               uwduetkdgt!Gvjgtpgv!NCP!rqtv!iqgu!fqyp!
    21235!     Gvjgtpgv!ycvejfqi!gttqt!qp!UO!
    2599;!     #^#!u{odqn!hqt!FgxkegPcog!etcujgu!ygd!ocpcigogpv!kpvgthceg!
    25832!     ]Gngxcvg_!Wpuwrrqtvgf!Gngxcvg!oqfgnu!tgoqxgf!htqo!OKD!hkng!
    24419!     ]Gngxcvg!3/5_!TCFKWU!IWK!Cwvjgpvkecvkqp!pqv!hwpevkqpcn!
    255;8!     Gttqpgqwu!xcnkfcvkqp!hcknwtg!dgvyggp!Ncp!KR!cfftguu!cpf!Ncp!Icvgyc{!KR!cfftguugu!
    25845!     Hkzgf!verfwor!xwnpgtcdknkv{!vq!ickp!tqqv!ENK!ceeguu!

!
Mpqyp!Rtqdngou!qt!Nkokvcvkqpu!)U{uvgo!Tgngcug!4/6*!
!


               Nkpm!vguv!gttqt!oguucig!yjgp!twp!ykvj!oqtg!vjcp!39!UOu!eqppgevgf!vq!gROR3111!CR/!
      25973!
               Yqtmctqwpf<!!Tguvctv!vjg!nkpm!vguv!



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             Rtkoct{!Htgswgpe{!Ecttkgt!ku!pqv!ucxgf!vq!/eqphki!hkng!kh!CEU!ku!uvctvgf!chvgt!ugngevkpi!
    25979!   Eqwpvt{/!!
             Yqtmctqwpf<!Fgxkeg!tgdqqv!qt!tg.twp!CEU!
             Ucxg!cpf!Wpfq!dwvvqpu!ctg!jkijnkijvgf!chvgt!korqtvkpi!LUQP0DKPCT[!eqphkiwtcvkqp!ykvj!
    25977!   CEU!Gpcdngf/!!
             Yqtmctqwpf<!Ygd!ocpcigogpv!kpvgthceg!tghtguj!
             ]Gngxcvg!3/5_!gROR!Gngxcvg!PcpqDtkfig!O3!ZO!cnyc{u!fkurnc{u!Gvjgtpgv!Uvcvwu!Fqyp/!
    25983!
             Fkurnc{.qpn{!kuuwg-!Gvjgtpgv!rqtv!ku!hwpevkqpcn/!)hkzgf!kp!4/6/2*!
             ]Gngxcvg!3/5_!Gttqt!oguucig!(Rngcug!rgthqto!fgxkeg!tgdqqv!dghqtg!Writcfkpi!uqhvyctg/(!ku!
    25957!   ujqyp!qp!IWK!fwtkpi!UY!writcfg/!!
             Yqtmctqwpf<!Ygd!ocpcigogpv!kpvgthceg!tghtguj!
    25999!   NNFR!pgkijdqtu!ctg!pqv!uggp!d{!gROR!3111!CR!)hkzgf!kp!4/6/2*!
             #Crrn{kpi#!dwvvqp!ku!rtgugpv!hqt!c!nqpi!vkog!kp!PCV!oqfg!kh!vjg!#qoowpkv{!Uvtkpi!jcu!
    25883!   ejcpigf!dghqtg/!!
             Yqtmctqwpf<!Ygd!ocpcigogpv!kpvgthceg!tghtguj!
             #Crrn{kpi#!dwvvqp!ku!rtgugpv!hqt!c!nqpi!vkog!kh!KR!cfftguu!tgegkxgf!htqo!FJER!xkc!XNCP!
    259;2!   kpvgthceg!ykvj!gpcdngf!NNFR/!!
             Yqtmctqwpf<!Fkucdng!NNFR!hwpevkqpcnkv{!
             Uykvejkpi!KR!cuukipogpv!vq!F{pcoke!etgcvgu!ugeqpf!wugt!IWK!uguukqp/!!
    25927!
             Yqtmctqwpf<!Fgxkeg!tgdqqv!
             Chvgt!tgugv!vq!hcevqt{!fghcwnvu!UO!kp!Uvcpfctf!YkHk!oqfg!ecppqv!eqppgev!vq!CR!eqphkiwtgf!kp!
    25887!
             Uvcpfctf!YkHk!oqfg!qp!31!OJ|!ejcppgn!dcpfykfvj/!
             Ygd!ocpcigogpv!kpvgthceg!ujqyu!gttqt!oguucig!yjgp!vt{kpi!vq!ejcpig!KR!cfftguu/!
    259;5!
             Yqtmctqwpf<!Fgxkeg!tgdqqv!)hkzgf!kp!4/6/2*!
    25984!   Ecppqv!korqtv!dkpct{!eqphkiwtcvkqp!ykvj!pqp.xcnkf!Nkegpug!Mg{/!!
             Yktgnguu!Icvgyc{!ku!ujqyp!cu!gorv{!qp!gROR!UO!ygd!ocpcigogpv!kpvgthceg!kh!qdvckpgf!
    25;15!
             htqo!RRRqG!ugtxgt!ykvj!Ugrctcvg!Ocpcigogpv!KR!cpf!XUC!eqphkiwtgf/!)hkzgf!kp!4/6/2*!
             Pgy!KR!Cfftguu!ecppqv!dg!cuukipgf!kh!vjg!Eqoowpkv{!Uvtkpi!jcu!dggp!rtgxkqwun{!ejcpigf/!!
    25881!
             Yqtmctqwpf<!Fgxkeg!tgdqqv!)hkzgf!kp!4/6/2*!
             Wpcdng!vq!hqteg!Ugevqt!Cpvgppc!qp!gROR3111!CR!xkc!UPOR/!!
    25;17!
             Yqtmctqwpf<!Wug!ygd!ocpcigogpv!kpvgthceg!vq!hqteg!Ugevqt!Cpvgppc!
             Cfokp!rcuuyqtf!gttqpgqwun{!crrnkgf!vq!Hwnn!CR!tcfkq!chvgt!gzrqtvkpi!eqphkiwtcvkqp!htqo!Nkvg!
    25894!
             CR!tcfkq!
             Ygd!ocpcigogpv!kpvgthceg!yknn!pqv!ujqy!gttqt!chvgt!korqtvkpi!dkpct{!eqphkiwtcvkqp!ykvj!
    25984!
             pqp.xcnwg!nkegpug!mg{!

!
Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/5/2*!

             Fgxkeg!dgeqogu!cxckncdng!chvgt!uykvejkpi!htqo!Dtkfig!vq!PCV!oqfg!vjgp!gpcdnkpi!Ugrctcvg!
    25;21!   Ocpcigogpv!KR!cpf!XNCP/!
             Yqtmctqwpf<!!Rqygt!tgugv!vjg!fgxkeg!)hkzgf!kp!4/6/2*!
    25722!   ]Gngxcvg!3/5_!#UO!fkucuuqekcvgf!htqo!CR/!Tgcuqp!43044059#!fwtkpi!Uvcdknkv{!vguv!}ZY•!
    25724!   Kpeqttgev!rtqeguukpi!uvcvwu!qp!IWK!yjgp!Nkpm!Vguv!ku!hckngf!
    2571;!   Jqog!Wugt!gttqpgqwun{!cdng!vq!eqphkiwtg!pgvyqtm!eqphkiwtcvkqp!)hkzgf!kp!4/6*!
    25725!   Vjg!Rkpi!wvknkv{!fqgu!pqv!ujqy!ncvgpe{!kh!wug!nguu!vjcp!9!qh!(Dwhhgt!Uk|g(!



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    25723!   ]Gngxcvg!3/5_!Nkpm!Vguv!ku!pqv!eqorngvgf!rtqrgtn{!)hkzgf!kp!4/6*!
!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/5*!

             Pqv!cdng!vq!nqikp!vq!vjg!IWK!chvgt!ejcpikpi!vjg!KR/!Yqtmu!ykvj!Ejtqog!dwv!pqv!ykvj!Hktghqz/!
             Jqygxgt-!qpeg!{qw!engct!vjg!ecejg!cpf!eqqmkgu-!kv!yqtmu!ykvj!Hktghqz/!)hkzgf!kp!4/5/2*!
    256;2!   !
             Ugg!ugevkqp!
                                   !hqt!cffkvkqpcn!kphqtocvkqp/!
             Writcfg!qh!3/5!cpf!6!IJ|!gROR!Gngxcvg!fgxkegu!vq!4/5!yknn!ujqyu!cu!hckngf!yjgp!writcfgf!
    2569;!   xkc!epOcguvtq/!Jqygxgt-!vjg!fgxkegu!fq!writcfg!cpf!c!tghtguj!qp!vjg!epOcguvtq!uetggp!yknn!
             ujqy!vjcv!vjg!fgxkegu!ctg!twppkpi!4/5!chvgt!c!uweeguuhwn!writcfg/!)hkzgf!kp!4/5/2*!
    25581!   ]gROR!Gngxcvg!3/5_!Wpgzrgevgf!dgjcxkqwt!qh!Rqtv!Urggf!Ugvvkpiu!
             ]gROR!Gngxcvg!3/5_!TCFKWU!IWK!Cwvjgpvkecvkqp<!Cwvjgpvkecvkqp!pqv!hwpevkqpcn!kh!wugf!
    24419!
             TCFKWU!cwvjgpvkecvkqp!ogvjqf!)hkzgf!kp!4/6*!
             FJER!Ugtxgt!qp!UO!ugpfu!jquv!pcog!cu!ngcug!vkog!kh!qpn{!fkikvu!ctg!wugf!hqt!FJER!enkgpv!
    25588!
             pcog!
    25621!   Wpcdng!vq!Gzrqtv!gFgvgev!uecp!tguwnvu!kp!Ejtqokwo!dtqyugt!ykvj!CfDnqem!gzvgpukqp!
    25669!   IWK!ujqyu!gttqt!oguucig!chvgt!ucxkpi!Wugt!Egtvkhkecvg!hqt!TCFKWU!Ugtxgt!)hkzgf!kp!4/6/2*!
             ]gROR!Gngxcvg!3/5-!ZO_!Ecodkwo!Gngxcvg!qrgtcvkpi!Vz!Rqygt!gzeggfu!qtkikpcn!pqp.
    25569!
             Ecodkwo!uqhvyctg.eqphkiwtgf!Vz!Rqygt!d{!2/6!!4!fDo!

!
Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/4*!

    24349!   ]gROR!Gngxcvg_!gROR!Gngxcvg!fgxkegu!ctg!pqv!uwrrqtvgf!d{!EPWV!
             ]gROR!Gngxcvg_!Fgxkeg!pcog!cpf!pgvyqtm!ugvvkpiu!ctg!pqv!eqrkgf!htqo!qtkikpcn!fgxkeg!
    24457!
             eqphkiwtcvkqp!)tguqnxgf!d{!gROR!Gngxcvqt!vqqn*!
             ]gROR!Gngxcvg_!Pqv!rquukdng!vq!eqphkiwtg!Wrnkpm!Ocz!Tcvg!vq!cp{!OEU!gzegrv!8vj!qp!ukping!
    243;;!
             uvtgco!fgxkegu!
             Chvgt!eqphkiwtkpi!vjg!UO!fgxkeg!kpvq!PCV!oqfg!cpf!tgeqphkiwtkpi!vjg!YCP!KR!cfftguu-!vjg!
    25127!
             Urgevtwo!Cpcn{|gt!vqqn!ku!qpn{!cxckncdng!xkc!rtgxkqwun{.eqphkiwtgf!Dtkfig!oqfg!KR!cfftguu!
             Wpcdng!vq!cff!pgy!CR!vq!Rtghgttgf!CRu!vcdng!yjgp!kp!Ujqy!Fgvcknu!xkgy/!!Cu!c!
    25141!
             yqtmctqwpf-!cff!pgy!CRu!vq!vjg!vcdng!yjgp!kp!Ujqy!Nkuv!xkgy/!)hkzgf!kp!4/5*!
             ]KRx7_!CR!cpf!UO!Ugrctcvg!Ocpcigogpv!Kpvgthceg!fqp(v!fkurnc{!qdvckpgf!FJER!cfftguu!qp!
    25242!
             ykvjqwv!ocpwcn!tghtguj!)hkzgf!kp!4/5*!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/3/3*!

             Kv!ku!pqv!rquukdng!vq!ejcpig!vjg!UOu!Pgvyqtm!eqphkiwtcvkqp!htqo!Dtkfig!vq!Tqwvgt!oqfg!xkc!
    24957!
             UPOR/!!)hkzgf!kp!4/4*!
             IWK!kpfkecvgu!Kp.Ugtxkeg.Oqpkvqtkpi!FHU!uvcvwu!hqt!6.21!ugeqpfu!chvgt!uykvejkpi!vq!pqp.FHU!
    24936!
             ejcppgn/!



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Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/3/2*!

    24894!   Wugt!ecppqv!nqikp!vq!IWK!d{!FPU!cfftguu!kh!WTN!eqpvckpu!fcuj!).*/!!)hkzgf!kp!4/4*!
    24627!   ]gROR!Gngxcvg_!ZO!jctfyctg!!Urgevtwo!Cpcn{|gt!pqv!uwrrqtvgf!!)hkzgf!kp!4/4*!
             ]gROR!Gngxcvg_!ZY!jctfyctg!!Kh!cp!gROR!Gngxcvg!oqfwng!ku!kpvgttwrvgf!fwtkpi!cp!gROR!
    24454!   uqhvyctg!writcfg-!VHVR!hncuj!tgeqxgt{!qh!gROR!Gngxcvg!uqhvyctg!oc{!hckn/!!Cu!c!yqtmctqwpf-!
             nqcf!vjg!pcvkxg!fgxkeg!uqhvyctg-!vjgp!writcfg!cickp!vq!gROR!Gngxcvg!
             ]gROR!Gngxcvg_!Chvgt!ejcpikpi!vjg!fgxkeg!ocpcigogpv!KR!cfftguu-!vjg!dtqyugt!oc{!pqv!
    24663!   cwvqocvkecnn{!tgfktgev!vq!vjg!pgy!KR!cfftguu/!!Yqtmctqwpf<!!Gpvgt!vjg!pgy!ocpcigogpv!KR!
             cfftguu!kp!vjg!dtqyugt!cfftguu!dct/!)hkzgf!kp!4/4*!
             ]gROR!Gngxcvg_!Wrqp!fqypitcfkpi!htqo!Tgngcug!4/3/2!vq!Tgngcug!4/3-!vjg!Tgoqvg!
    24741!   Ocpcigogpv!rctcogvgt!oc{!dg!ugv!vq!Fkucdngf/!!Yqtmctqwpf<!!Tg.gpcdng!vjg!Tgoqvg!
             Ocpcigogpv!rctcogvgt!chvgt!fqypitcfkpi!htqo!Tgngcug!4/3/2!vq!Tgngcug!4/3/!
!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/3*!

             ]gROR!Gngxcvg_!Wrfcvgu!vq!ZO!jctfyctg!Gvjgtpgv!rqtv!kpvgthceg!OCE!cfftguu!cuukipogpv!
    24583!
             )hkzgf!kp!4/3/2*!
             Kpxcnkf!yctpkpi!crrgctu!qp!ygd!ocpcigogpv!kpvgthceg!yjgp!Uwduetkdgt!Oqfwng!Vctigv!
    2439;!
             Tgegkxg!Ngxgn!ku!eqphkiwtgf!cdqxg!.71!fDo!)hkzgf!kp!4/3/2*!
             UO!kp!PCV!oqfg!ykvj!Ugrctcvg!Ocpcigogpv!KR!cpf!Ocpcigogpv!XNCP!ku!pqv!ceeguukdng!d{!
    24276!
             Ugrctcvg!Ocpcigogpv!KR!cfftguu!)hkzgf!kp!4/3/2*!
             Ygd!ocpcigogpv!kpvgthceg!ku!pqv!ceeguukdng!chvgt!cp!writcfg!cvvgorv!ykvj!kpxcnkf!uqhvyctg!
    24339!
             ctejkxg/!!Yqtmctqwpf<!!tgdqqv!vjg!fgxkeg!vq!tgickp!ocpcigogpv!ceeguu/!
             gFgvgev!oc{!pqv!fkurnc{!kpvgthgtkpi!fgxkegu!cv!nqygt!tgegkxgf0fgvgevgf!rqygt!ngxgnu!)hkzgf!kp!
    24428!
             4/4*!
             Wrqp!eqphkiwtcvkqp!tguvqtg-!c!dtqyugt!tghtguj!ku!tgswktgf!vq!fkurnc{!wrfcvgf!rctcogvgt!
    24298!
             xcnwgu!)hkzgf!kp!4/3/2*!
             ]gROR!Gngxcvg_!gROR!Gngxcvg!uwduetkdgt!oc{!fkueqppgev!wpfgt!nqcf!fwg!vq!jctfyctg!
    24385!
             nkokvcvkqpu/!!Vjku!fkueqppgev!ku!hqnnqygf!d{!cp!koogfkcvg!tg.tgikuvtcvkqp/!)hkzgf!kp!4/3/3*!
             ]gROR!Gngxcvg_!!ZO!fgxkegu<!!Yjgp!fqypnkpm!TUUK!ku!uvtqpigt!vjcp!.41!fDo-!vjg!ygd!
    238;2!
             ocpcigogpv!kpvgthceg!kpeqttgevn{!tgrqtvu!TUUK!qh!367!fDo!cpf!UPT!cu!1!fD!)hkzgf!kp!4/3/2*!
             ]gROR!Gngxcvg_!!Tqemgv!O6!)ZO!cpf!ZY*<!!Vjg!ygd!ocpcigogpv!rtqxkfgu!qrvkqpu!hqt!
    23;2;!   eqphkiwtkpi!vjg!fgxkeg!kp!CR!qt!gRVR!oqfg/!!Vjgug!oqfgu!ctg!pqv!uwrrqtvgf!d{!gROR!
             Gngxcvg!uqhvyctg!cpf!ujqwnf!pqv!dg!wvknk|gf/!)hkzgf!kp!4/3/2*!
             Qp!qeecukqp-!chvgt!writcfkpi!cp!gROR!UO!vq!Tgngcug!4/3-!vjg!UOu!ygd!ocpcigogpv!
    24443!   kpvgthceg!oc{!fkurnc{!Dqctf!uvknn!kp!tgdqqv!uvcvg!qt!vjg!kpvgthceg!oc{!pqv!dg!ceeguukdng/!!
             Yqtmctqwpf<!!tgdqqv!qt!rqygt!e{eng!vjg!UO/!)hkzgf!kp!4/4*!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/2*!

    24331!   Uwrrqtv!hqt!wug!qh!ujkhv!mg{!vq!ugngev!ownvkrng!htgswgpekgu!kp!vjg!Uecp!Nkuv!)hkzgf!kp!4/3/2*!
    24276!   UO!fqgu!pqv!etgcvg!uvcvke!tqwvg!hqt!ugrctcvg!ocpcigogpv!kpvgthceg!)hkzgf!kp!4/3/2*!




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             gROR!3111!fgxkeg!eqphkiwtgf!kp!UO!oqfg!tgrqtvu!kpeqttgev!CR!htgswgpe{!cpf!fqgu!pqv!
   24228!
             tgikuvgt!)hkzgf!kp!4/3/2*!
   2351;!    Ykvj!tctg!qeewttgpeg-!UO!uecpu!ykvjqwv!tgikuvtcvkqp!
   2381;!    gROR!3111<!!Ecppqv!hcevqt{!fghcwnv!xkc!rqygt!e{eng!ugswgpeg!)hkzgf!kp!4/3/2*!
             Vjtqwijrwv!Ejctv<!!Wrqp!ejcpikpi!Vjtqwijrwv!Ogcuwtgogpv!Rgtkqf-!eqpvtqn!rqkpvu!)jqxgt!
   238;3!
             vctigvu*!pqv!ujqyp!)hkzgf!kp!4/3/2*!
   23948!    Ykvj!egtvckp!eqphkiwtcvkqpu-!IRU.u{pejgf!uqhvyctg!ecp!dg!nqcfgf!qpvq!Hqteg!311!oqfwng!
   23989!    gROR!fgxkeg!tgdqqvu!vykeg!chvgt!hcevqt{!fghcwnv!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/1/2*!

             gROR!ygd!ocpcigogpv!kpvgthceg!vguv!vqqn!Rkpi!)Vqqnu!@!Rkpi*!fqgu!pqv!gzgewvg!ykvj!
   23496!
             oczkowo!dwhhgt!uk|g!)76618*!
             gROR!fgxkegu!ykvj!ucxgf!epOcguvtq!etgfgpvkcnu!yjkej!ctg!pqv!qp.dqctfgf!d{!epOcguvtq!hqt!
   2354;!
             oqtg!vjcp!23!jqwtu!yknn!uvc{!kp!uvcvg!Fgxkeg!Crrtqxcn!Rgpfkpi!
             Vtcpuokvvgt!Qwvrwv!Rqygt!tghgtgpeg!vcdngu!fwrnkecvgf!kp!ygd!ocpcigogpv!kpvgthceg!
   23624!
             pqvkhkecvkqp!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!4/1*!

   238;5!    Hcnug!tcfct!fgvgevkqp!qp!FHU!ejcppgn!HEE2433!V{rg2!33!)hkzgf!kp!4/3/2*!
   238;4!    Hcnug!tcfct!fgvgevkqp!qp!FHU!ejcppgn!HEE2433!V{rg2!35!)hkzgf!kp!4/3/2*!
             Yjgp!kp!GVUK!tgikqp!cpf!6/5!IJ|!dcpf!wukpi!NDV-!kh!vjg!UO!ku!uwdlgevgf!vq!xgt{!jkij!
   23236!
             kpvgthgtgpeg-!kv!oc{!ecwug!c!tgdqqv!ykvj!c!etcuj!ukipcvwtg!ctsvzatydahtqoaydwh/!
             Vjg!Kpvgtpgv!Inqdg!keqp!qp!vjg!vqr!tkijv!qh!vjg!IWK!rcig!oc{!vcmg!wr!vq!51!ugeqpfu!vq!vwtp!
   22;84!
             itggp!qpeg!c!FPU!ugtxgt!jcu!tgurqpfgf/!
             Yjgp!gROR!3111!ku!kp!Uvcpfctf!YkHk-!c!Wdkswkvk!Pcpqdgco!oc{!pqv!tgikuvgt/!Vjgtg!ku!
   225;2!
             ewttgpvn{!pq!yqtmctqwpf/!!
             Yjgp!wukpi!6!OJ|!ejcppgnu!qp!gROR!3111!kp!VFF!oqfg-!VER!fqypnkpm!vjtqwijrwv!oc{!
   22517!
             fgitcfg!d{!wr!vq!31&/!!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!3/7/3*!

             Yjgp!vjgtg!ctg!oqtg!vjcp!239!gpvtkgu!kpvq!vjg!Dtkfig!Vcdng-!vjg!vcdng!oc{!fkurnc{!cu!cp!
   22;89!
             gorv{!vcdng/!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!3/7*!

             Yjgp!kp!CR!YkHk!oqfg!cpf!vjg!UO!eqppgevgf!ku!cp!913/22c!UO-!vjg!fqypnkpm!vjtqwijrwv!
   21;18!
             ecp!dg!nqygt!d{!31&/!)hkzgf!kp!4/4*!
             Yjgp!gfkvkpi!vjg!OCE!Cfftguugu!gpvtkgu!kp!vjg!Yktgnguu!OCE!Hknvgtkpi!vcdng!wukpi!vjg!
   21815!    eqphkiwtcvkqp!hkng!wrnqcf-!ectg!owuv!dg!vcmgp!vq!gpuwtg!OCE!cfftguu!hqtocv!kpvgitkv{/!Vjg!
             gROR!fgxkeg!yknn!pqv!xcnkfcvg!vjg!hqtocv/!!!



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Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!3/5/4*!

              Qp!qeecukqp-!rkpiu!ctg!nquv!yjgp!eqpvkpwqwun{!rkpikpi!vjg!UO!htqo!vjg!CR/!Vjg!rkpi!nquu!
    ;;62!     ecp!qeewt!hqt!c!rgtkqf!qh!41.71!ugeqpfu!dghqtg!kv!qrgtcvgu!pqtocnn{/!Wugt!vtchhke!oc{!cnuq!dg!
              nquv!fwtkpi!vjku!vkog!cpf!c!tgdqqv!qh!vjg!UO!oc{!dg!tgswktgf!vq!tgeqxgt!vjg!UO/!!

Mpqyp!rtqdngou!qt!nkokvcvkqpu!)U{uvgo!Tgngcug!3/5*!

              Qp!qeecukqp-!uvcng!CTR!gpvtkgu!ctg!pqv!engctgf!htqo!vjg!CTR!vcdng!)wpfgt!Oqpkvqt@pgvyqtm*!
    92;9!     qp!vjg!UO/!Vjg!gpvtkgu!ujqwnf!dg!engctgf!kp!6!okpwvgu!dwv!kv!oc{!vcmg!wr!vq!21!okpwvgu!hqt!
              vjgo!vq!dg!engctgf/!!!
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Vgejpkecn!Uwrrqtv!
!
Hqt!vgejpkecn!uwrrqtv-!ugg!
jvvr<00yyy/ecodkwopgvyqtmu/eqo0uwrrqtv0


Ecodkwo!Pgvyqtmu!Eqoowpkv{!Hqtwo!
!
Lqkp!vjg!eqpxgtucvkqp!
jvvr<00eqoowpkv{/ecodkwopgvyqtmu/eqo0!
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                Partial Transcription of November 30, 2016 ePMP Elevate Webinar
* Webinar may be accessed either at (1) https://www.youtube.com/watch?v=UCxpPmXtp-8 or (2)
http://community.cambiumnetworks.com/t5/ePMP-Elevate/ePMP-Elevate-webinar-replay/m-p/62777.
[Note: Times refer to webinar presentation time]
1:20 – 1:35 – “This is Sakid Ahmed speaking, along with me we have we have Alex Marchum who is the
Product Manager of the ePMP program. Dmitry Moiseev, he is a system architecture engineer and a
system architect engineer, principal engineer with the ePMP team.”
2:26 – Displays slide showing use with Ubiquiti.
3:04 – 3:28 – “Offer a backwards compatibility or interoperability mode for existing subscriber modules
that are potentially not Cambium are based on 802.11 n-base subscribers and build a virtual ePMP system
where some subscribers are of a different flavor sitting alongside Cambium native ePMP subscribers.”
3:35 – Webinar Slide:

            #   Allows ePMP Elevate software to run on non-Cambium Networks 802.11n-based
                subscriber models
            #   ePMP Elevate subscribers function as ePMP subscribers – with all the ePMP benefits
            #   Comparable performance to all-ePMP networks, despite different subscriber hardware;
                industry-first hardware-agnostic networks
        (Emphasis in original.)
3:39 – 3:52 – “So, with the combination of ePMP and other third party hardware in the same network, this
is what we’re referring to as the first hardware-agnostic, network solution in the WISP [wireless Internet
service provider] industry today.”
4:30 – 4:46 – “Many WISPs have existing deployed infrastructure, significant number of subscriber
modules from other vendors that are very expensive to replace. So the network, hardware migration still
remains very challenging for WISPs today.”
4:33 – Webinar Slide (Portion):

            #   But many WISPs have older deployed gear
                    " Network hardware migration remains challenging
4:48 – Webinar Slide:

            #   Why is network hardware migration hard?
                  " Cost of new hardware
                  " Installation cost – truck rolls
                  " Customer satisfaction impact
                           " Service credits
                           " Arranging installations where indoor access required
                           " Downtime and teething troubles
                (Emphasis in original.)
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8:17 – Webinar Slide (Portion):

            #   ePMP Elevate is the only solution offering a pain-free network migration path to the
                next level:
                    " Frequency re-use enabled by GPS Synchronization
                    " Smart Beamforming and Intelligent Filtering
                    " All without changing subscriber hardware
                (Emphasis in original.)
8:58 – 9:11 – “Take your existing hardware that has been stagnant . . . and [have] new life breathed into it
with ePMP elevate.”
11:35 – Webinar Slide:

            #   ePMP Elevate is first available in Release 3.2
            #   Release 3.2 consists of:
                   " 5 GHz support only
                   " XW-based Ubiquiti hardware (2013 – current)
                   " XM-based Ubiquiti hardware (2013 and prior)
                   " 17 supported models
11:48 – 12:00 – “We will support XW firmware-based Ubiquiti hardware from 2013-current XM-based
Ubiquiti hardware from 2013 and prior, which totals 17 support models today.”
12:20 – Webinar Slide:

            #   ePMP Elevate will continue to be developed
            #   Some future identified items are:
                   " Mikrotik support
                   " Support for more Ubiquiti subscriber modules
                   " 2.4 GHz support
                (Emphasis in original.)
12:25 – 12:27 – Goal for future is “support for greater number of Ubiquiti subscriber models.”
13:01 – Webinar Slide:

            #   Lists pricing: ePMP Elevate: 1 Subscriber License $35 (MSRP) (USD)
15:15 – “Live upgrade of a [third party subscriber] unit” (demonstrated by Dmitry Moiseev)
15:53 – 16:14 – “In web browser, you can see the well-known model from Ubiquiti . . . running XW
Firmware. What I’m going to do, I’m going just to update it through the regular web update procedure.”
18:11– 18:20 – (Video of Ubiquiti Units) “What you see are ePMP 1000 generation subscribers as well as
some Ubiquiti subscriber units connected and passing traffic.”
21:44 – 21:53 – “Warranty is specific to hardware. ePMP Elevate is a software solution so therefore any
hardware specific defects should be reported to the corresponding manufacturer.”
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25:24 – 25:47 – “Will we be able to use a former Ubiquiti SM and DMS channels? . . . Yes, we will be
able to. . . Ubiquiti hardware is DMS approved and it will be available.”
27:07 – 27:15 – “ePMP Elevate solution does not, and I repeat does not replace the plans you have to
install new hardware.”
29:42 – 29:54 – “If issue with hardware unit, is it Cambium support issue or Ubiquiti support issue? . . . If
it is hardware problem, that is responsibility of hardware manufacturer.”
36:52 – 37:17 – “If you upgrade a subscriber module to ePMP Elevate, you are always able to revert back
to the original manufacturer’s software . . . support same hardware reset functionality on all those units
and you can always return back to the original manufacture’s software if you so desire. And that answers
the question whether the upgrade step is reversible so we won’t go through that again.”
38:25 – 38:30 – “Is there any possibility of Ubiquiti blocking the ability to allow third-party firmware?
Absolutely, there is.”
41:29 – Screenshot of Cambium Networks User Interface displaying NanoBeam-M5 with Cambium
Networks copyright notice.
47:53 – 47:58 – “Is upgrade reversible and can you move back to Ubiquiti?. . . . Yes, you can.”
48:28 – 48:35 – “Once again warranties are hardware specific so therefore any hardware failures should
be referred to the manufacturer.”
49:56 – 50:03 – “Once you’ve uploaded ePMP Elevate . . . old manufacturers’ firmware is not operating
in any form.”
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  /.++*-)!,(%'.10#!*+#!>W^MUJMZ!+(%!*()-!h!3IUJQ]U!>M\_WZS[%!I!TMILQVO!OTWJIT!
  XZW^QLMZ!WN!_QZMTM[[!VM\_WZSQVO![WT]\QWV[%!\WLIa!IVVW]VKML!M@=@"!5TM^I\M%!I!
  [WN\_IZM![WT]\QWV!ITTW_QVO!W]\LWWZ!_QZMTM[[!JZWILJIVL!VM\_WZS[!\W!OIQV!\PM!XW_MZN]T!
  [QOVI\]ZM!KIXIJQTQ\QM[!WN!3IUJQ]U!>M\_WZS[d!M@=@!XTI\NWZU%!QVKT]LQVO!NZMY]MVKa!
  ZM][M!MVIJTML!Ja!7@C!CaVKPZWVQbI\QWV!IVL!CUIZ\!2MIUNWZUQVO%!M^MV!WV!VWV&
  3IUJQ]U!>M\_WZS[!.(*'))V&JI[ML!PIZL_IZM'!GQ\P!M@=@!5TM^I\M%!WXMZI\WZ[!KIV!JZQVO!
  QVL][\Za&TMILQVO!XMZNWZUIVKM!IVL![KITIJQTQ\a!\W!M`Q[\QVO!QVNZI[\Z]K\]ZM!_Q\PW]\!\PM!
  \QUM!IVL!KW[\!WN!ZMXTIKQVO!VM\_WZS!MY]QXUMV\'




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  1[!Q\!JMKWUM[!QVKZMI[QVOTa!QUXWZ\IV\!NWZ!_QZMTM[[!VM\_WZS!WXMZI\WZ[!\W!SMMX!]X!_Q\P!
  K][\WUMZ!LMUIVL[%!\PM!KW[\!IVL!\QUM!WN!\ZILQ\QWVIT!VM\_WZS!UQOZI\QWV!UM\PWL[!KIV!
  JM!UIRWZ!XIQV!XWQV\['!DPM!TI]VKP!WN!M@=@!5TM^I\M!\ISM[!VM\_WZS!UQOZI\QWV!\W!\PM!VM`\!
  TM^MT%![WT^QVO!\PM!KPITTMVOM[!WN!\ZILQ\QWVIT!VM\_WZS!UQOZI\QWV!UM\PWL[!I\!I!NZIK\QWV!WN!
  \PM!KW[\!IVL!\QUM'!>M\_WZS!WXMZI\WZ[![QUXTa!VMML!I![QVOTM!M@=@!IKKM[[!XWQV\!IVL!\W!
  TWIL!\PMQZ!LMXTWaML![]J[KZQJMZ!UWL]TM[!_Q\P!M@=@!5TM^I\M![WN\_IZM'!DPMQZ!PIZL_IZM!
  QV^M[\UMV\!Q[!XZW\MK\ML%!IVL!\PMQZ!M`Q[\QVO!QVNZI[\Z]K\]ZM!Q[!OQ^MV!I!VM_!TMI[M!WV!TQNM!\W!
  []XXWZ\!ZM^MV]M&OMVMZI\QVO!IXXTQKI\QWV[!NWZ!aMIZ[!\W!KWUM'!1LLQ\QWVITTa%!VM\_WZS!
  WXMZI\WZ[!IZM!IJTM!\W!KWVNQLMV\Ta!M`\MVL!PQOP&[XMML!KWVVMK\Q^Q\a!IVL!QVKZMI[M!LMV[Q\a!
  \W!UMM\!K][\WUMZ!LMUIVL!_Q\PW]\!\PM!\QUM!IVL!M`XMV[M!WN!LQ[XI\KPQVO!\MKPVQKQIV[!
  \W!MIKP![]J[KZQJMZ!TWKI\QWV'


  e6WZ!aMIZ[!_M!PI^M!WXMZI\ML!Ja!TQUQ\QVO!W]Z[MT^M[!\W!VW!UWZM!\PIV!*,![]J[KZQJMZ[!XMZ!
  1@!_Q\PW]\![MMQVO!I!ZIXQL!LMKTQVM!QV!W^MZITT!1@!XMZNWZUIVKM%f![IQL!9IV!5TTQ[WV%!3D?%!
  G9C@5B!9V\MZVM\!IVL!3W&?_VMZ!WN!2<9@!>M\_WZS['!eDPZW]OP!XZQWZ!\M[\QVO!IVL!
  LMXTWaUMV\!_Q\P!M@=@%!_M!SVM_!\PI\!7@C![aVKPZWVQbI\QWV!_W]TL!QUXZW^M!W]Z!
  VM\_WZS![\IJQTQ\a!IVL![XMK\ZIT!MNNQKQMVKa%!J]\!_M!PIL!IV!MY]QXUMV\!IVL!TIJWZ!
  QV^M[\UMV\!QV!\PM!QV[\ITTML!JI[M'!M@=@!5TM^I\M!ITTW_ML!][!\W!IKPQM^M![aVKPZWVQbI\QWV!
  IVL!NZMY]MVKa!ZM&][M!IKZW[[!W]Z!MV\QZM!VM\_WZS!Ja!R][\!ZMXTIKQVO!\PM!1@['!9\d[!
  INNWZLIJTM%!QUXZW^M[!VM\_WZS!XMZNWZUIVKM%!JWW[\[!K][\WUMZ![I\Q[NIK\QWV%!IVL!UW[\!
  QUXWZ\IV\Ta!ITTW_ML!][!\W!]XOZILM!W]Z!QVNZI[\Z]K\]ZM!_Q\PW]\!KW[\Ta!\Z]KS!ZWTT[!\W!
  ZMXTIKM!K][\WUMZ!MY]QXUMV\'f


  eM@=@!5TM^I\M!Q[!I![WN\_IZM![WT]\QWV!\PI\!Q[!PIZL_IZM!IOVW[\QK%f![IQL!1\]T!2PI\VIOIZ%!
  @ZM[QLMV\!IVL!35?!WN!3IUJQ]U!>M\_WZS['!e>M\_WZS!WXMZI\WZ[!_Q\P!ZILQW!PIZL_IZM!
  NZWU!WVM!WZ!U]T\QXTM!^MVLWZ[!KIV!VW_!WXMZI\M!WVM!VM\_WZS!_Q\P!I!KWUUWV!
  UIVIOMUMV\![a[\MU!_Q\PW]\!ZMXTIKQVO!QV[\ITTML!3@5!PIZL_IZM'f


  eGQZMTM[[!JZWILJIVL!VM\_WZS!WXMZI\WZ[!IZW]VL!\PM!_WZTL!PI^M!JMMV!I[SQVO!NWZ!\PQ[%f!
  [IQL!CISQL!1PUML%!FQKM!@ZM[QLMV\%!M@=@!2][QVM[[%!I\!3IUJQ]U!>M\_WZS['!e=IVa!
  [\IZ\ML!W]\!aMIZ[!IOW!_Q\P![UITT!VM\_WZS[%!J]\!I[!LMUIVL!NWZ!KWVVMK\Q^Q\a!PI[!OZW_V%!
  \PMQZ!M`Q[\QVO!VM\_WZS[!KIVVW\!MNNMK\Q^MTa![KITM'!M@=@!5TM^I\M!ILL[!KZQ\QKIT!NMI\]ZM[!\W!
  \PMQZ!.(*'))V&JI[ML!QV[\ITTML!MY]QXUMV\!IVL!XW[Q\QWV[!\PMU!NWZ!OZW_\P!IVL!
  QVKZMI[ML!K][\WUMZ![I\Q[NIK\QWV'f




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  M@=@!5TM^I\M!VM\_WZS[!KIV!JM!UIVIOML!Ja!KV=IM[\ZW'!DPQ[!KTW]L&JI[ML!WZ!WV&
  XZMUQ[M!XTI\NWZU!XZW^QLM[!MVL&\W&MVL!UIVIOMUMV\%!LM^QKM!WVJWIZLQVO%!IVL!
  UIQV\MVIVKM![]XXWZ\!NWZ!_QZMTM[[!JZWILJIVL!VM\_WZS[!NZWU!I![QVOTM%!MI[a&\W&][M!
  QV\MZNIKM'


  3IUJQ]U!>M\_WZS[!Q[!PW[\QVO!I!NZMM!_MJQVIZ!WV!M@=@!5TM^I\M!\W!XZM[MV\!\PM!
  NMI\]ZM[%!JMVMNQ\[%![PIZM!IK\]IT!NQMTL!XMZNWZUIVKM%!IVL!LQ[K][[!LMXTWaUMV\![\ZI\MOQM['!
  DPM!_MJQVIZ!_QTT!JM!PMTL!WV!GMLVM[LIa%!>W^MUJMZ!+(%!I\!/0((!I'U'!EC!3CD'


  %39>=!&2836>8!-5=?9;7<$


  3IUJQ]U!>M\_WZS[!Q[!I!TMILQVO!OTWJIT!XZW^QLMZ!WN!\Z][\ML!_QZMTM[[![WT]\QWV[!\PI\!
  KWVVMK\!\PM!]VKWVVMK\ML!g!@MWXTM%!@TIKM[!IVL!DPQVO['!DPZW]OP!Q\[!M`\MV[Q^M!XWZ\NWTQW!
  WN!ZMTQIJTM%![KITIJTM!IVL![MK]ZM!_QZMTM[[!VIZZW_JIVL!IVL!JZWILJIVL!XTI\NWZU[%!
  3IUJQ]U!>M\_WZS[!UISM[!Q\!XW[[QJTM!NWZ!ITT![MZ^QKM!XZW^QLMZ[!IVL!QVL][\ZQIT%!
  MV\MZXZQ[M!IVL!OW^MZVUMV\!VM\_WZS!WXMZI\WZ[!\W!J]QTL!INNWZLIJTM%!ZMTQIJTM%!PQOP&
  XMZNWZUIVKM!KWVVMK\Q^Q\a'!DPM!KWUXIVa!K]ZZMV\Ta!PI[!W^MZ![Q`!UQTTQWV!ZILQW[!LMXTWaML!
  QV!\PW][IVL[!WN!LMUIVLQVO!VM\_WZS[!QV!UWZM!\PIV!),(!KW]V\ZQM['!8MILY]IZ\MZML!
  W]\[QLM!3PQKIOW!IVL!_Q\P!B#4!KMV\MZ[!QV!\PM!E'C'%!E';'!IVL!9VLQI%!3IUJQ]U!>M\_WZS[!
  [MTT[!\PZW]OP!I!ZIVOM!WN!\Z][\ML!OTWJIT!LQ[\ZQJ]\WZ['


  6WZ!UWZM!QVNWZUI\QWV%!^Q[Q\!___'KIUJQ]UVM\_WZS['KWU!IVL!
  ___'KWVVMK\QVO\PM]VKWVVMK\ML'WZO'




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  ;MMX!]X!WV!W]Z!IT_Ia[!M^WT^QVO!XZWL]K\!NMI\]ZM[!IVL!\MKPVWTWOa'

  5V\MZ!aW]Z!MUIQT!IVL![]J[KZQJM!\W!W]Z!KWUU]VQKI\QWV['!




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Wireless Fabric
Connectivity Solutions




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Cambium Networks’ Wireless Fabric                                                                            www.cambiumnetworks.com




                                                                                                    GLOBAL SUPPORT



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Breakthrough Technologies                                                                                                                                                   www.cambiumnetworks.com




                                                             Cloud and Network Management

LINKPlanner                                               cnMaestro                                                            cnArcher
• Free, network design tool for                           • Cloud management                                                   • Free android app
  RF environments                                         • Secure, end-to-end network control                                 • Allows field techs to configure
• Tens of thousands of links deployed                                                                                            PMP networks




              Point-to-Point                    Point-to-Multipoint                                           ePMP                                                 Wi-Fi

   PTP 650/670                          cnMedusa (PMP 450m)                                  ePMP 1000/2000                                      cnPilot e4/5/6xx
   • Launched in November
                                        • Launched in September 2016                         • Launched in October 2013                          • Launched in July 2015,
     2013/2017
                                        • Breakthrough 14x14 Massive                         • High quality, affordable                            cloud-savvy
   • Replacement for legacy PTP
                                          MU-MIMO                                              platform
     600 which was the “gold                                                                                                                     • Affordable yet
     standard” for almost a             • Will drive continued PMP
                                                                                                                                                   uncompromising quality
     decade                               growth for next several years




   PTP 550                              PMP 450i                                             ePMP 3000                                           cnPilot e430W
   • Launched January 2018
                                        • Launched in September                              • Launching December Q2                             • Launching Q1 2018
   • Exceptional headline data            2012/2016                                            2018
     rate (1.4 Gbps)                                                                                                                             • Wall Plate AP for
                                        • Long awaited replacement to                        • 4x4 MU-MIMO & 80 MHz
                                          flagship PMP product line                            Channel Support
                                                                                                                                                   Hospitality
                                        • Top performing Cambium                             • Higher Capacity and Spectral                      • Managed Service Provider
                                          product                                              Efficiency                                          enaber




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cnPilot Wi-Fi Portfolio Overview                                                                                                                                                              www.cambiumnetworks.com



Provide




                                r190W                            r190V                            e410                                  e600                   e500                               e430W
Key Statement          Indoor residential and small to medium business Wi-Fi access                      Enterprise indoor access points           Enterprise outdoor access        Enterprise wall plate
                                                                                                                                                   point with options for antenna
                                                                                                                                                   coverage:
                                                                                                                                                   • E500 - omnidirectional
                                                                                                                                                   • e501S - 90° - 120°
                                                                                                                                                   • e502S - 30°


Typical Application   Indoor Wi-Fi coverage                                           Enterprise Wi-Fi coverage for indoor locations:              Wi-Fi coverage for outdoor       Hospitality
                      • Residential                                                   • Enterprise                                                 areas
                      • Small and medium business                                     • Hospitality                                                • Enterprise
                                                                                      • Industry                                                   • Hospitality
                                                                                      • Public Wi-Fi                                               • Industry
                                                                                      • Retail                                                     • Public Wi-Fi



Wi-Fi Standard                  802.11n                          802.11n                    802.11ac Wave 2                     802.11ac Wave 2               802.11ac                     802.11ac Wave 2

Frequency                                                                                     2.4 and 5 GHz                       2.4 and 5 GHz            2.4 and 5 GHz                    2.4 AND 5 GHz

Max Throughput                 300 Mbps                         300 Mbps                        867 Mbps                            1.3 Gbps                 1.01 Gbps                            1.01 Gbps

Tx Power                        24 dBm                           24 dBm                     24 dBm at 2.4 GHz                  24 dBm at 2.4 GHz         29 dBm at 2.4 GHz                22 dBm at 2.4 GHz
                                                                                             25 dBm at 5 GHz                    28 dBm at 5 GHz           28 dBm at 5 GHz                  21 dBm at 5 GHz

Concurrent Users                   64                               64                             256                                   512                    256                                 256

SSID                               4                                4                               16                                     16                    16                                  16

Mesh Capability                    No                               No                             Yes                                  Yes                     Yes                                 Yes

Ethernet ports                  4 LAN                             4 LAN                           1 LAN                                 2 LAN                  2 LAN                            3 LAN
                                1 WAN                             1 WAN                                                                                                                      1 LAN + PoE

Roaming                            No                               No                             Yes                                  Yes                     Yes                                 Yes


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PMP 450 Platform Overview                                                                                                                                                                                                    www.cambiumnetworks.com




                                                                   Access Points                                PMP 450i 900 MHz                                                                                          Subscriber Modules




       450m              5 GHz 450i   3 GHz 450i               450i        PMP 450 AP             900 AP with         900 SM with Yagi          450b                    450b          450i                450i         450 SM          450 SM with
                                                           Connectorized                            Sector                                     Mid-gain               High Gain    Integrated         Connectorized   Integrated      Reflector Dish


                                                                             Access Points                                                                                        Subscriber Modules
                                         450m cnMedusa                                   450i                                450                                450b                               450i                               450
Frequency Bands                             3 GHz*, 5 GHz                     900 MHz, 3 GHz, 5 GHz                        2.4 GHz                         3 GHz*, 5 GHz                    3 GHz, 5 GHz                     900 MHz, 2.4 GHz

Channel Size                           5|7|10|15|20|30|40 MHz                 5|7|10|15|20|30|40 MHz                5|10|15|20|30|40 MHz           5|7|10|15|20|30|40 MHz             5|7|10|15|20|30|40 MHz              5|7|10|15|20|30|40 MHz

Physical Layer                        14 x 14 MU-MIMO / OFDM                    2 x 2 MIMO / OFDM                    2 x 2 MIMO / OFDM                2 x 2 MIMO / OFDM                 2 x 2 MIMO / OFDM                   2 x 2 MIMO / OFDM

Interface                                    Gigabit, SFP                               Gigabit                            100 Mbit                            Gigabit                            Gigabit                           100 Mbit

                                       2nd Ethernet port PoE out             2nd Ethernet port PoE out                                                                               2nd Ethernet port PoE out

Environmental                                 IP 67, IP 66                          IP 67, IP 66                         IP 67, IP 66                      IP 55 (Mid-gain),                    IP 67, IP 66                         IP 55
                                                                                                                                                          IP 67 (High Gain)


Latency                                            7-10 ms                              3-5 ms                             3-5 ms                              3-5 ms                             3-5 ms                            3-5 ms

Performance                                    1.2 Gbps+                            300+ Mbps                            200+ Mbps                           300+ Mbps                          300+ Mbps                          100+ Mbps

Powering Methods                                   56V PoE                              30V PoE                           30V PoE                             30V PoE                            30V PoE                           30V PoE

                                         Cambium Proprietary                            802.3af                 Cambium Proprietary Standard   Cambium Proprietary Standard        Cambium Proprietary Standard       Cambium Proprietary Standard
                                                                                                                       PoE Pinouts                    PoE Pinouts                         PoE Pinouts                        PoE Pinouts

Power Consumption                      85 W Max, 70 W Typical                 19 W Max, 16 W Typical               15 W max, 12 W typical           12 W max, 9 W typical             19 W max, 16 W typical               12 W max, 9 W typical

Max Power                                   +42 dBm EIRP                          +44 dBm EIRP                       +22 dBm Tx Power             +44 dBm EIRP (mid-gain)                  +50 dBm EIRP                     +22 dBm Tx Power
                                                                                +27 dBm Tx Power                                                  +51 dBm EIRP (High gain)               +27 dBm Tx Power

Antenna                                     90°/120° Sector                   90°/120° Sector: 17 dBi                 Connectorized or                 17 dBi: Mid-Gain                    23 dBi (5 GHz)               9 dBi: Integrated (2.4 GHz)
                                                                                                                        external 60°              24 dBi: High Gain (5 GHz)                19 dBi (3 GHz)
                                                                                 Connectorized or                      Sector Antenna             19 dBi: High Gain (3 GHz)*            Integrated Flat Panel                Connectorized or
                                                                                external 60° Sector                                                                                                                         external 12 dBi Yagi
                                                                                Antenna (900 MHz)                                                                                                                                (900 MHz)

SMs Supported Per Sector                             238                                  238                                238

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                                  Portfolio Overview                                                                                                                                                                                                 www.cambiumnetworks.com




                    ePMP 1000                                2.4 GHz               ePMP 1000                                                                  5 GHz              ePMP 2000 5 GHz                            ePMP 3000                               5 GHz




                                                                                                                                                                                                                                                                     Access Point
                    GPS                                                         GPS                            Bridge-                                                        Access Point with Intelligent Filtering                                                    with
                 Sync Radio     Connectorized   Integrated      Force 200    Sync Radio     Connectorized     in-a-Box     Force 180          Force 190        Force 200                   and Sync                     CSM 300       Force 300-16   Force 300-25     MU-MIMO
                                                                                                                                                                                                                           Q2/18           Q2/18        Q4/17            Q2/18

                                                                                                                                                                                                                             Force 300-16
                        Connectorized |                                           Bridge-                                                                                            Access Point                            Force 300-25                 Access Point
                          Integrated              GPS Sync Radio                 in-a-Box                   Force 180          Force 190                    Force 200          with Intelligent Filtering                      CSM 300                    with MU-MIMO
Frequency              2.4 GHz, 5 GHz               2.4 GHz, 5 GHz                5 GHz                      5 GHz                5 GHz                   2.4 GHz, 5 GHz       solution with beam steering,                        5 GHz                         5 GHz
Band(s)            2.4/2.5 GHz (Brazil, NZ)                                                                                                                                          intelligent 5 GHz
                      6.4 GHz (Russia)
Channel Size             5|10|20|40 MHz             5|10|20|40 MHz            5|10|20|40 MHz           5|10|20|40 MHz        5|10|20|40 MHz               5|10|20|40 MHz               5|10|20|40 MHz                       20 | 40 | 80 MHz              20 | 40 | 80 MHz

Physical Layer       2 x 2 MIMO / OFDM            2 x 2 MIMO / OFDM         2 x 2 MIMO / OFDM        2 x 2 MIMO / OFDM     2 x 2 MIMO / OFDM         2 x 2 MIMO / OFDM              2 x 2 MIMO / OFDM                     2 x 2 MIMO / OFDM             4 x 4 MIMO / OFDM
                      802.11n – 64QAM              802.11n – 64QAM           802.11n – 64QAM          802.11n – 64QAM       802.11n – 64QAM           802.11n – 64QAM                802.11n – 64QAM                       802.11ac Wave 2               802.11ac Wave 2
                                                                                                                                                                                                                                256QAM                        256QAM
Interface                   100 Mbit                     Gigabit                  Gigabit                    Gigabit            100 Mbit                      Gigabit                       Gigabit                                Gigabit                  Gigabit/SFP
                  2nd   Ethernet port PoE out
Environmental                 IP55                           IP55                  IP55                       IP55                IP55                         IP55                           IP55                                  IP55                          IP55

Latency                     15~17ms                      5~7ms                   15~17ms                     5~7ms               2~3ms                        2~3ms                         5~7ms                                  5~7ms                         5~7ms
Performance                200+ Mbps                   200+ Mbps                200+ Mbps                   200+ Mbps          200+ Mbps                    200+ Mbps                     200+ Mbps                            600+ Mbps                        1+ Gbps
Powering                30V PoE                         30V PoE                 30V PoE               30V PoE              30V PoE              30V PoE                                    56V PoE                              30V PoE                         56V PoE
Methods             Cambium Proprietary                  802.3af            Cambium Proprietary Cambium Proprietary Cambium Proprietary Cambium Proprietary                                 802.3at                                                              802.3at
                                                                              Standard PoE      Standard PoE Pinouts Standard PoE Pinouts Standard PoE Pinouts
                                                                                 Pinouts
Power               7 W max, 5 W typical        10 W max, 7.5 W typical       10 W max, 5 W         10 W max, 5 W typical 8 W max, 5 W typical 10 W max, 5 W typical                      20 W max                                 12 W                         21 W max
Consumption                                                                       typical

Max Tx Power                +30 dBm                     +30 dBm                  +30 dBm                    +30 dBm             +27 dBm                      +30 dBm                       +30 dBm                              +27 dBm               MCS0, VHT80: +25 dBm
                                                                                                                                                                                                                                                      MCS9, VHT80: +21 dBm

Antenna                 Integrated:             90°/120° Sector: 18 dBi      Integrated: 16 dBi       Integrated: 16 dBi       Dish: 22 dBi                    Dish:         90/120° Sector: 17dBi                      300-16: Integrated 16 dBi 90/120° Sector: 17 dBi
                     2.4 GHz – 11 dBi             or 3rd party antenna                                                                                    2.4 GHz - 17 dBi   Optional Beamforming                         300-25: Dish 25 dBi     4 x 4 MU-MIMO
                      5 GHz – 14 dBi                                                                                                                       5 GHz – 25 dBi                                                  CSM 300: RP-SMA        Optional Beamforming
                   Connectorized: 3rd party

Modes               AP: 120 Subscribers          AP: 120 Subscribers          Bridge-in-a-Box:                                                                                      AP: 120 Subscribers                                                 AP: 120 Subscribers
                            SM                                                                                SM                   SM                          SM                                                                   SM
                           PTP                               PTP                   PTP                        PTP                  PTP                         PTP                            PTP                                   PTP                           PTP



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ePMP elevate                                                                                                                                                                                           www.cambiumnetworks.com



Leverage an existing 802.11-based installed network and add synchronization without the cost of replacing the entire network

                                                                                                                                                                         ePMP 2000
                                                                                                                                                                         2.4 & 5 GHz




                                                                                                                                                                  Access Point with Intelligent Filtering
                                                                                                                                                                               and Sync


                                                                       ePMP elevate
                                                                                                                                                                     Industry’s most affordable
                                                                                                                                                                  filtering and all the benefits of
                                                                                                                                                                             GPS sync
                                                                                                                                                                          Access Point
                                                                                                                                                                    with Intelligent Filtering
                                                                                                                                                Frequency                    2.4 & 5 GHz
    Typical Application         Saving the cost and time of a total network replacement, an operator simply installs an ePMP Access Point and   Band(s)
                                                    loads ePMP Elevate software onto their deployed subscriber modules.
                                                                                                                                                Channel Size              5|10|20|40 MHz

                                                                                                                                                Physical Layer          2 x 2 MIMO / OFDM
                                                                                                                                                                         802.11n – 64QAM
                                                                                                                                                Interface                       Gigabit

                                                                                                                                                Performance                  200+ Mbps

    Products Supported         • For Ubiquiti® XW/XM and Mikrotik SXT5-Lite Devices                                                             Powering                       56V PoE
                                                                                                                                                Methods                         802.3at
                                                                                                                                                Power                         20 W max
                                                                                                                                                Consumption
                                                                                                                                                Max Tx Power                   +30 dBm
                                                                                                                                                Antenna          90/120° Sector: 17dBi
                                                                                                                                                                 Optional Beamforming
                                                                                                                                                                 3rd party horn
                                                                                                                                                Modes               AP: 120 Max Subscribers
                                                                                                                                                                       GPS synchronized
                                                                                                                                                                              PTP
                                                                                                                                                                    Scheduling: ePTP | TDD |
                                                                                                                                                                            Flexible




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cnReach / IIoT Overview                                                                                                                                                                                         www.cambiumnetworks.com



Simplify the migration to an all-IP network and maximize the use of spectrum while reducing operating costs




                                N500 900 MHz                              N500 700 MHz                              N500 450 MHz                              N500 220 MHz                             N500 I/O Expander
Key Statement         For outdoor critical infrastructure operations, cnReach transports process monitoring and control data from the remote sensor or PLC/RTU back to the operations center supporting
                      real-time automated decision making and on-going analytics. Covering large geographic areas, hard to reach terrain and challenging spectrum environments, cnReach delivers reliable, secure connectivity to the
                      petrochemical, electric utility, water/wastewater/stormwater, rail and transportation industries. cnReach eases the migration to modern networks by
                      combining legacy serial and analog/digital I/O with TCP/IP and Ethernet connectivity.



Region                NA/CALA/Australia/NZ                      US                                        Global                                    US                                        Global

Frequency Bands       ISM mode: 902 - 928 MHz; (915-928         757-758 MHz and 787-788 MHz               406 – 430 MHz and 450 – 470 MHz           217 – 222 MHz
                      MHz in Australia)
                      MAS mode: 928 - 960 MHz

Channel Size          ISM: 76 / 154 / 207 / 310 / 600 / 1200    12.5, 25, 50, 100, 200, 250 kHz           12.5 / 25 kHz ( 50 / 100 kHz available    12.5 / 15 / 25 / 50 / 100 / 200 kHz
                      kHz                                                                                 regulations permitting)
                      MAS: 12.5 / 25 / 50 kHz

Modulations           MSK / 2FSK / BPSK / QPSK / 8PSK /         MSK / QPSK / 8PSK / 16QAM / 32QAM         MSK / QPSK / 8PSK / 16QAM / 32QAM         MSK / QPSK / 8PSK / 16QAM / 32QAM
                      16PSK / 16QAM / 32QAM

Max Tx Power          Up to 1 W (30 dBm) (ISM)                  Up to 10W (40 dBm)                        FCC: 406.1 - 430 MHz (up to 2 W / 33      217-220: Up to 2W
                      Up to 4 W (36 dBm) (MAS)                                                            dBm); 450-470 MHz (up to 8 W / 39         220-222 Up to 5W
                                                                                                          dBm);
                                                                                                          ETSI: Up to 8W (39 dBm)

Adaptive modulation   Yes                                       Yes                                       Yes                                       Yes

Security                                                                             128/256-bit AES encryption and secure management interfaces (HTTPS, SNMPv3)

Interfaces            Two Ethernet                              Two Ethernet                              Two Ethernet                              Two Ethernet                              Two Ethernet
                      Two Serial (RS-232/422/485)               Two Serial (RS-232/422/485)               Two Serial (RS-232/422/485)               Two Serial (RS-232/422/485)               Two Serial (RS-232/422/485)
                      Optional Analog/Digital GPIO              Optional Analog/Digital GPIO              Optional Analog/Digital GPIO              Optional Analog/Digital GPIO              Analog/Digital GPIO

LINKPlanner           Y                                         Y                                         Y                                         Y

cnMaestro             Y                                         Y                                         Y                                         Y


Cambium Networks offers a complete set of accessories for cnReach including power supplies, antennas and adaptors.
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                                                                FULL OUTDOOR                                                                       SPLIT MOUNT




                                             PTP820S                                  PTP820C                            PTP820G + RFU-C                         PTP820G + RFU-A
Frequency Band                                6 – 38 GHz                               6 – 38 GHz                               6 – 38 GHz                               6, 11 GHz
Channel Size                                 3.5 - 80 MHz                             3.5 - 80 MHz                             3.5 - 60 MHz                            3.5 - 60 MHz
Number of Carriers                              Single                                    Dual                                Single and Dual                         Single and Dual
XPIC                                        Not Supported                              Supported                                Supported                               Supported
MIMO                                        Not Supported                            2x2 / 4x4 MIMO                           Not Supported                           Not Supported
Traffic Interface                   1 x 10/100/1000 Base T (RJ 45)           1 x 10/100/1000 Base T (RJ 45)           4 x 10/100/1000 Base T (RJ 45)          4 x 10/100/1000 Base T (RJ 45)
                                         2 x 1000 BaseX - SFP                     1 x 1000 BaseX - SFP                     2 x 1000 BaseX - SFP                    2 x 1000 BaseX - SFP
MTU                                           9600 Bytes                               9600 Bytes                               9600 Bytes                              9600 Bytes
QoS                              VLAN ID, p-bits, IPv4, DSCP, IPv6 TC,    VLAN ID, p-bits, IPv4, DSCP, IPv6 TC,    VLAN ID, p-bits, IPv4, DSCP, IPv6 TC,   VLAN ID, p-bits, IPv4, DSCP, IPv6 TC,
                                              MPLS EXP                                 MPLS EXP                                 MPLS EXP                                MPLS EXP
                                           8 priority queues                        8 priority queues                        8 priority queues                       8 priority queues
                                  configurable up to 64 Mbit per queue     configurable up to 64 Mbit per queue     configurable up to 64 Mbit per queue    configurable up to 64 Mbit per queue
Configuration                                     1+0                                  1+0 to 4+0                               1+0 to 2+0                              1+0 to 2+0
                                               1+1 HSB                               1+1 / 2+2 HSB                            1+1 / 2+2 HSB                           1+1 / 2+2 HSB
                                            2+0, Non-XPIC                               2+0 XPIC                                 2+0 XPIC                                2+0 XPIC
                                                                                         2+2 SD                              1+1 HSB with SD                         1+1 HSB with SD
Performance (Layer 2)                596 Mbps - No Compression                 1.2 Gbps - No Compression                 1 Gbps - No Compression                 1 Gbps - No Compression
                                    833 - Multi-Layer Compression           2 Gbps - Multi-Layer Compression         2 Gbps - Multi-Layer Compression        2 Gbps - Multi-Layer Compression
Modulation                            QPSK to 2048 OAM w/ACM                   QPSK to 2048 OAM w/ACM                   QPSK to 2048 OAM w/ACM                  QPSK to 2048 OAM w/ACM
Multi Carrier Link Aggregation                    N/A                                   MC-ABC                                   MC-ABC                                  MC-ABC
Power Consumption                           6-11 GHz: 40W                           6 & 11 GHz: 65W                     IDU: 23.5W(single modem)                IDU: 23.5W(single modem)
                                                                                      7 GHz: 75W                         IDU: 26.4W(Dual modem)                  IDU: 26.4W(Dual modem)
                                           13-38 GHz: 35W                     13-15 GHz & 26-38 GHz: 55W          RFU-C 6-26 GHz: 22W (1+0), 39W (1+1)        RFU-Ae: 77W (1+0), 101W(1+1)
                                                                                    18-24 GHz: 48W                RFU-C 28-38 GHz: 26W (1+0), 43W (1+1)      RFU-Aep: 90W (1+0), 114W(1+1)
Maximum Tx Power                                29 dBm                                   28 dBm                                   26 dBm                                  35 dBm


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Point to Point Sub 6 GHz: Product at a Glance                                                                                                                                       www.cambiumnetworks.com




                          Bridge-in-a-Box                 F300-25                    PTP 450                       PTP 450i                   PTP 550 (Dual Carrier)               PTP 670
Frequency Range (GHz)          4.9 to 5.97               5.15 to 5.97          3.5 /3.65/ 5.4 to 5.8 GHz          4.90 to 5.925                      5.15 – 5.97                   4.9 to 6.05

Channel BW (MHz)               5/10/20/40                 20/40/80                    5/10/20/30                 5/10/15/20/30/40                    2x 20/40/80               5/10/15/20/30/40/45

Technology                      802.11n               802.11ac Wave 2                Proprietary                   Proprietary                    802.11ac Wave 2                  Proprietary

Line of Sight                     LoS                        LoS                         LoS                           LoS                              LoS                     LoS, nLoS, NLoS

Environmental                     IP55                      IP55                         IP55                        IP66/67                          IP66/67                        IP66/67

Latency                          3-6 ms                    3-6 ms                      3-5 ms                        3-5 ms                            3-5 ms                        1-3 ms

Performance                     200 Mbps                  600 Mbps                    300 Mbps                      300 Mbps                          1.4 Gbps                      450 Mbps

Top Modulation                  64 QAM                    256 QAM                     256 QAM                       256 QAM                           256 QAM                       256 QAM

Max Frame Size                 1700 Bytes                1700 Bytes                  1700 Bytes                    1700 Bytes                        1700 Bytes                    9600 Bytes

Spectrum Management     Standby Spectrum Analyzer   Live Spectrum Analyzer   Standby Spectrum Analyzer      Standby Spectrum Analyzer         Dynamic Channel Selection   Dynamic Spectrum Optimization
                                                                                                                                                                                     (DSO)

Dynamic Filter                     No                        No                           No                           Yes                               No                            No

IEEE 1588v2 & SyncE                No                        No                           No                           No                                No                           Yes

TDD Sync                           No                        No                          Yes                           Yes                              Yes                           Yes

Encryption                      AES 128                   AES 128                     AES 128                       AES 128                           AES 128                   AES 128/AES 256

QOS                              3 Level                   3 Level                     2 Level                       4 Level                           3 Level                      8 Levels

Power Consumption                 7W                        12 W                        12 W                         < 25 W                            < 25 W                        <30 W

Max Tx Power                     30 dBm                    27 dBm                      22 dBm                        27 dBm                           27 dBm                         27 dBm

Integrated Antenna               16 dBi                25 dBi or 16 dBi                 14 dBi                       23 dBi                            23 dBi                        23 dBi




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Planning and Management Overview                                                                                                                                                                            www.cambiumnetworks.com




                                        LINKPlanner                                                     cnArcher                                                               cnMaestro
                          Quickly design networks for optimal deployment and cost    Raise the bar on installation accuracy with cnArcher™, the     cnMaestro™ is a cloud-based or on-premises software platform for secure, end-
                                          effectiveness with ease.                   free Android app that gives field techs the information they                             to-end network control.
                                                                                    need to configure and properly align Cambium Networks PMP
                                                                                              wireless broadband subscriber modules.




Typical Application             LINKPlanner allows you to model scenarios                   Designed with input from field technicians and                      cnMaestro wireless network manager simplifies device
                                 – based on geography, distance, antenna              years of experience on our millions of wireless broadband                management by offering full network visibility. View and
                                 height, transmit power, and other factors –           modules deployed, cnArcher validates configuration and               perform a full suite of wireless network management functions
                                   to optimize system performance before                                alignment in seconds.                                     in real time. Optimize system availability, maximize
                                    purchase. Quickly design networks for                                                                                      throughput, and meet emerging needs of business and
                                optimal deployment and cost effectiveness                    Increase the number of installs done right the                                       residential customers.
                               with ease. Available for Microsoft® Windows®           first time, and increase customer satisfaction. Eliminate
                                and Mac® systems, LINKPlanner is a free,              problems, and focus your manpower on connecting new
                                        user-friendly link-design tool.                           subscribers as your network grows.




Products Supported    •    cnPilot                                                  • PMP                                                           • cnPilot
                      •    ePMP                                                                                                                     • ePMP
                      •    PMP                                                                                                                      • cnReach
                      •    PTP
                      •    cnReach




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Cambium Networks Wireless Network Fabric                                                                     www.cambiumnetworks.com




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 •   Purpose Built
 •   2m to 246km
 •   Kb to Mb to Gb
 •   Indoor and Outdoor
 •   PTP PMP Wi-Fi LTE
 •   Licensed and Unlicensed
 •   Scalable
 •   Concept to Commissioning
 •   Single Pane of Glass


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  Cambium Networks Community          >   Forums    >   ePMP     >   ePMP Elevate
  >   Issues elevating Ubiquiti devices with firmware higher than 5.6.15


                                                                                            Options


      This board               Search all content
                                                                                            cancel




      Issues elevating Ubiquiti devices with
      firmware higher than 5.6.15
       SOLVED
                                                                                 Go to solution




              georgehbb Occasional Contributor                                             10-06-2017 09:47




       Issues elevating Ubiquiti devices with firmware higher than 5.6.15

      

      Hi Everyone,


      We are trying to elevate some devices here in the office before we test them in
      the field.
      We could easily elevate Nanostations 2.4, but we are having issues with the
      PowerBeams.
      I made sure we were using the XW firmware, I did read a bunch of forum
      discussions about it. I also tried to use the elevator tool available at this link:
      https://www.dropbox.com/sh/2ja5jwsids1p9k8/AAAFMn_Us8qlnMBaMbM5FFW



https://community.cambiumnetworks.com/t5/ePMP-Elevate/Issues-elevating-Ubiquiti-devi... 5/31/2018
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      La?dl=0


      Tried with different Elevate firmwares:
      From XW 3.5 to XW 3.2


      Unfortunately the Ubiquiti interface says:
       This firmware is not trusted by airOS. To maintain security, it will not be
       loaded. Please load trusted firmware.


      I tried to upgrade the Powerbeam to 6.1.0 and downgrade it to 5.6.15 (the
      lowest firmware Ubiquiti would allow you to use) to no success.


      Any suggestion? Thank you.


         Solved! Go to Solution.




          0 Kudos                                                                    Reply




    2 REPLIES                                All forum topics    Previous Topic   Next Topic 




                     Luis Cambium Employee                                             10-06-2017 02:45




      Re: Issues elevating PowerBeam 2.4 with firmware 5.6.15 


      Hello,




https://community.cambiumnetworks.com/t5/ePMP-Elevate/Issues-elevating-Ubiquiti-devi... 5/31/2018
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      Please check this thread to see if it helps your situation.


      Regards




         2 Kudos                                                                     Reply




              georgehbb Occasional Contributor                                         10-10-2017 09:09




       Re: Issues elevating PowerBeam 2.4 with firmware 5.6.15 


      I found the solution myself. I hope this will help others in my same situation.


      The bottom line here is that AS OF NOW (please check the date of this post)
      you CANNOT downgrade a ubiquiti device to a firmware lower than 5.6.15.


      In order to elevate a Ubiquiti device you need to have it (ideally) on 5.6.6


      Some guy from Nepal shared some BETA firmware that allowes you to
      downgrade any device to 5.6.6
      I put the file on this link https://www.justbeamit.com/mz6rr




      Procedure: (works on both XM and XW)


      1) Downgrade device to 6.0.6 beta




https://community.cambiumnetworks.com/t5/ePMP-Elevate/Issues-elevating-Ubiquiti-devi... 5/31/2018
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      2) Downgrade to 6.0.4 (beta)
      3) Downgrade to regular 5.6.6
      4) Install elevate firmware (3.5 it's the most updated as of now)


      Works like charm


      You will be able to elevate any Nanostation or PowerBeam by following this
      procedure.




         2 Kudos                                                                     Reply




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      Ubiquiti new firmware 6.0.6 is trying to
      put stop on Elevate plans?

               jperez Occasional Contributor                                                07-10-2017 07:54




      Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate plans?


      the release notes of the new firmware looks like Ubiquiti trying to stop Elevate
      plans.

        6.0.6 (XM/XW/TI) Changelog / July 5, 2017
        ====


        New:
        - Signed firmware support (Users are not able to downgrade below v6.0.6 unless
        using TFTP)
        - Upgrade libpcap to 1.8.1
        - Additional statistics for AC2 agent




http://community.cambiumnetworks.com/t5/ePMP-Elevate/Ubiquiti-new-firmware-6-0-6-is... 8/3/2018
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          0 Kudos                                                                    Reply




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              Chris_Bay Valued Contributor                                              07-10-2017 08:08




      Re: Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate
      plans?


      Figured they would at soms point.... im sure elivate took a lot of business from
      them.




          0 Kudos                                                                    Reply




              Eric Ozrelic Trusted Contributor                                          07-10-2017 11:22




      Re: Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate
      plans?

      




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      There is a work-around at the moment... if you've already loaded 6.0.6 final
      onto a radio, you can load 6.0.6 beta, and then you can load 6.0.4 which will
      allow you to upload Elevate. You can find the beta HERE. You can find 6.0.4
      HERE.


      Please note that with 6.0.6 beta, UI firmware downgrades are restricted to
      5.6.15, 6.0.3 and 6.0.4




          1 Kudo                                                                     Reply




              mohannadda1996 New Member                                                 07-21-2017 12:19




      Re: Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate
      plans?

      

      I cant download beta version.......



           22312.jpg 161 KB




          0 Kudos                                                                    Reply




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              Mike99 Contributor                                                        07-25-2017 10:20




      Re: Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate
      plans?




      The radio is already sold so it's hard to took buisness in this case but it could
      slow the old technology replacement. Anyway, N vs AC difference is not
      enough to worth changing gears but MU-MIMO could worth it.




          0 Kudos                                                                    Reply




              fgoldstein Contributor                                                    07-25-2017 10:54




      Re: Ubiquiti new firmware 6.0.6 is trying to put stop on Elevate
      plans?


      To download the 6.0.6-beta, you first have to sign up for the beta program.
      Instructions on on UBNT's forums. They're giving that out as general advice,
      not just ot people who normally woudl try a beta.




http://community.cambiumnetworks.com/t5/ePMP-Elevate/Ubiquiti-new-firmware-6-0-6-is... 8/3/2018
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          0 Kudos                                                                    Reply




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            4 Декабря 2017           Акция – лицензии ePMP Elevate бесплатно!!!
                                                                    Компания Cambium Networks проводит акцию, призванную помочь
  Ссылки
                                                                    владельцам беспроводных сетей, построенных на оборудовании
  Главная страница                                                  Ubiquiti, модернизировать свою сеть, заменив старое оборудование на
  О компании                                                        базовую станцию серий ePMP1000 или ePMP 2000. При покупке нового
  Контакты                                                          оборудования ePMP вы получаете лицензии Elevate в подарок!!!
  Новости
                                                                    Программа ePMP Elevate – недорогой, простой и быстрый способ
  Оборудование
                                                                    значительного увеличения производительности существующей сети
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                                                                    беспроводного    широкополосного     доступа,    развернутой    на
  Ресурсы                                                           оборудовании стандарта 802.11n.

                                     При этом нет необходимости в замене абонентских устройств! Вы меняете только вашу старую
                                     точку доступа на высокопроизводительную базовую станцию Cambium серии ePMP1000 или
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                                          При покупке базы 2.4 GHz or 5 GHz ePMP 1000 – 10 бесплатных лицензий Elevate!
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                                     Акция действует до 31 декабря 2017 года!

                                     Более подробная информация об акции предоставляется по запросу, который можно направить по
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